Almodovar v. Guevara, et al.
Case No. 18 CV 2341

Negron v. Guevara, et al.
Case No. 18 CV 2701




                            EXHIBIT 
∑1∑∑∑∑∑IN THE UNITED STATES DISTRICT COURT
∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF ILLINOIS
∑2∑∑∑∑∑∑∑∑∑∑EASTERN DIVISION

∑3∑∑ROBERTO ALMODOVAR, JR.,∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑4∑∑∑∑∑∑∑∑∑Plaintiff,∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑5∑∑∑∑∑∑vs.∑∑∑∑∑∑∑∑)∑∑No. 18 CV 2341
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑6∑∑REYNALDO GUEVARA, et al.,∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑7∑∑∑∑∑∑∑∑∑Defendants.∑∑)
∑∑∑--------------------------∑)
∑8∑∑WILLIAM NEGRON,∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑9∑∑∑∑∑∑∑∑∑Plaintiff,∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
10∑∑∑∑∑∑vs.∑∑∑∑∑∑∑∑)∑∑No. 18 CV 2701
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
11∑∑REYNALDO GUEVARA, et al.,∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
12∑∑∑∑∑∑∑∑∑Defendants.∑∑)

13

14∑∑∑∑∑∑The video-recorded deposition of

15∑WILLIAM NEGRON, taken pursuant to the Federal Rules

16∑of Civil Procedure, before Kathleen A. Hillgard,

17∑Certified Shorthand Reporter No. 084-004093, via

18∑Zoom, on Monday, September 27, 2021, commencing

19∑at 10:07 a.m. pursuant to notice.

20

21

22

23

24
WILLIAM NEGRON, 09/27/2021                                                                                      Page 2..5
                                                  Page 2                                                            Page 4
∑1∑∑∑∑APPEARANCES:                                         ∑1∑∑∑∑∑∑∑∑∑∑∑∑I N D E X
∑2∑∑∑∑∑∑BONJEAN LAW GROUP, by                              ∑2
∑∑∑∑∑∑∑MS. JENNIFER BONJEAN                                ∑∑Witness:∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Page
∑3∑∑∑∑∑∑MS. ASHLEY COHEN                                   ∑3
∑∑∑∑∑∑∑(750 Lexington Avenue, 9th Floor
                                                           ∑∑∑∑∑WILLIAM NEGRON
∑4∑∑∑∑∑∑∑New York, New York 10022
                                                           ∑4
∑∑∑∑∑∑∑∑718.875.1850
∑5∑∑∑∑∑∑∑Jennifer@bonjeanlaw.com                           ∑∑∑∑∑∑∑Examination by:
∑∑∑∑∑∑∑∑Ashley@bonjeanlaw.com)                             ∑5
∑6∑∑∑∑∑∑∑∑appeared on behalf of the plaintiff              ∑∑∑∑∑∑∑Mr. Engquist.................∑∑∑6
∑∑∑∑∑∑∑∑∑Roberto Almodovar, Jr.;                           ∑6∑∑∑∑∑∑Ms. Bonjean..................∑∑198
∑7                                                         ∑∑∑∑∑∑∑Ms. Hagy.....................∑∑208
∑∑∑∑∑∑∑LOEVY & LOEVY, by                                   ∑7∑∑∑∑∑∑Mr. Engquist.................∑∑213
∑8∑∑∑∑∑∑MS. LINDSAY HAGY                                   ∑∑∑∑∑∑∑Ms. Bonjean..................∑∑216
∑∑∑∑∑∑∑(311 North Aberdeen Street, Suite 3                 ∑8
∑9∑∑∑∑∑∑∑Chicago, Illinois∑60607
                                                           ∑9
∑∑∑∑∑∑∑∑312.243.5900
10∑∑∑∑∑∑∑Lindsay@loevy.com)                                10
∑∑∑∑∑∑∑∑∑appeared on behalf of the plaintiff               ∑∑∑∑∑∑∑∑∑∑∑E X H I B I T S
11∑∑∑∑∑∑∑∑William Negron;                                  11
12∑∑∑∑∑∑ROCK FUSCO & CONNELLY, LLC, by                     ∑∑∑No.∑∑Description∑∑∑∑∑∑∑∑Marked/Referenced
∑∑∑∑∑∑∑MS. THERESA B. CARNEY                               12
13∑∑∑∑∑∑(321 North Clark Street, Suite 2200                ∑∑∑∑1∑Court Reported Statement...............∑46
∑∑∑∑∑∑∑∑Chicago, Illinois∑60610                            13∑∑∑2∑2018 Presentence Investigation Report..∑55
14∑∑∑∑∑∑∑312.494.1000                                      ∑∑∑∑3∑Social Assessment......................∑61
∑∑∑∑∑∑∑∑Tcarney@rfclaw.com)
                                                           14∑∑∑4∑03/09/91 Vehicle Theft Case Report..... 112
15∑∑∑∑∑∑∑∑appeared on behalf of the defendant
                                                           ∑∑∑∑5∑07/19/91 Case Report................... 114
∑∑∑∑∑∑∑∑∑City of Chicago;
16                                                         15∑∑∑6∑11/19/92 Recovered Vehicle Report...... 116
∑∑∑∑∑∑∑LEINENWEBER BARONI & DAFFADA, LLC                   ∑∑∑∑7∑Affidavit of Methods................... 178
17∑∑∑∑∑∑MS. MEGAN K. McGRATH                               16∑∑∑8∑Northwestern Letter.................... 183
∑∑∑∑∑∑∑(120 North LaSalle Street, Suite 2000               17
18∑∑∑∑∑∑∑Chicago, Illinois 60602                           ∑∑∑∑∑∑∑∑(Exhibits attached/scanned.)
∑∑∑∑∑∑∑∑312.663.3003                                       18
19∑∑∑∑∑∑∑Megan@ilesq.com)                                  19∑∑∑∑∑∑∑∑∑∑∑∑∑- - -
∑∑∑∑∑∑∑∑∑appeared on behalf of the defendant
                                                           20
20∑∑∑∑∑∑∑∑Reynaldo Guevara;
                                                           21
21
22                                                         22
23                                                         23
24                                                         24


                                                  Page 3                                           Page 5
∑1∑∑∑∑APPEARANCES: (Cont'd)                                ∑1∑∑∑∑THE VIDEOGRAPHER:∑Good morning.∑We are now
∑2∑∑∑∑∑∑SOTOS LAW FIRM, PC, by
                                                           ∑2∑on the video record.
∑∑∑∑∑∑∑MR. JOSH M. ENGQUIST
∑3∑∑∑∑∑∑(141 West Jackson Boulevard, Suit 1240A
                                                           ∑3∑∑∑∑∑∑∑∑∑My name is Juan Ordonez.∑I'm a
∑∑∑∑∑∑∑∑Chicago, Illinois∑60604                            ∑4∑videographer in association with Urlaub Bowen &
∑4∑∑∑∑∑∑∑630.735.3300                                      ∑5∑Associates.
∑∑∑∑∑∑∑∑Jengquist@jsotoslaw.com)
                                                           ∑6∑∑∑∑∑∑∑∑∑The date is September 27th, 2021, at
∑5∑∑∑∑∑∑∑∑appeared on behalf of the individual
∑∑∑∑∑∑∑∑∑defendants.
                                                           ∑7∑the time of 10:05 a.m.
∑6                                                         ∑8∑∑∑∑∑∑∑∑∑We are present here today remotely
∑∑∑∑∑ALSO PRESENT:                                         ∑9∑with reference to the case entitled Roberto
∑7
                                                           10∑Almodovar, Jr. v. Reynaldo Guevara, et al.∑This
∑∑∑∑∑∑∑Mr. Roberto Almodovar, Jr.
∑8∑∑∑∑∑∑Mr. Juan Ordonez, Legal Videographer
                                                           11∑case is filed in the United States District Court,
∑9∑∑∑∑∑∑∑∑∑∑*∑*∑*∑*∑*∑* *                                  12∑Northern District of Illinois, Eastern Division,
10                                                         13∑Case Number 18 CV 2341.∑The witness is William
11
                                                           14∑Negron.
12
13
                                                           15∑∑∑∑∑∑∑∑∑Will the attorneys please identify
14                                                         16∑themselves for the record?
15                                                         17∑∑∑∑MR. ENGQUIST:∑Josh Engquist on behalf of
16
                                                           18∑defendants Olszewski, Mingey, and Halvorsen.
17
18
                                                           19∑∑∑∑MR. CARNEY:∑Theresa Carney on behalf of the
19                                                         20∑defendant City of Chicago.
20                                                         21∑∑∑∑MS. McGRATH:∑Megan McGrath on behalf of
21
                                                           22∑defendant Guevara.
22
23
                                                           23∑∑∑∑MS. BONJEAN:∑Jennifer Bonjean on behalf of
24                                                         24∑plaintiff Roberto Almodovar.


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                                                                                                                             YVer1f
WILLIAM NEGRON, 09/27/2021                                                                                      Page 6..9
                                                         Page 6                                                            Page 8
∑1∑∑∑∑MS. HAGY:∑And Lindsay Hagy on behalf of                     ∑1∑∑∑∑A.∑∑That's fine.
∑2∑Mr. William Negron.                                            ∑2∑∑∑∑Q.∑∑Okay.∑Also, you're entitled to a break
∑3∑∑∑∑MS. BONJEAN:∑I think it's probably worth                    ∑3∑whenever you really want one during this
∑4∑pointing out that he is a party to this lawsuit                ∑4∑deposition.∑The only thing we ask is that if
∑5∑rather than a witness, which is what the                       ∑5∑there's a question pending, you answer that
∑6∑videographer just stated.∑So I don't know if                   ∑6∑question before you take a break.∑All right?
∑7∑anyone --                                                      ∑7∑∑∑∑A.∑∑Okay.
∑8∑∑∑∑MR. ENGQUIST:∑I was actually -- I was                       ∑8∑∑∑∑Q.∑∑If you don't understand a question, let
∑9∑actually going to say that, just to be clear for               ∑9∑us know, and whoever's asking the questions will do
10∑the record.                                                    10∑their best to rephrase it, repeat it, slow down, or
11∑∑∑∑∑∑∑∑∑Mr. Negron is a plaintiff in his own                   11∑whatever we need to do so you understand it.∑All
12∑lawsuit which is consolidated for the purposes of              12∑right?
13∑discovery to this case.∑It's Negron v. The City of             13∑∑∑∑A.∑∑Okay.
14∑Chicago, et al., 18 CV 2701.                                   14∑∑∑∑Q.∑∑If you don't understand a question,
15∑∑∑∑THE VIDEOGRAPHER:∑Sorry about that.                         15∑just let us know.∑Okay?
16∑∑∑∑∑∑∑∑∑Will the court reporter please swear                   16∑∑∑∑A.∑∑Okay.
17∑in the witness.                                                17∑∑∑∑Q.∑∑If you answer a question, we're going
18∑∑∑∑∑∑∑∑∑∑∑(Witness sworn.)                                     18∑to assume you understood it; is that fair?
19∑∑∑∑∑∑∑∑∑∑∑WILLIAM NEGRON                                       19∑∑∑∑A.∑∑It's fair.
20∑called as a witness herein, having been first duly             20∑∑∑∑Q.∑∑Okay.∑Also, there'll be times during
21∑sworn, was examined and testified as follows:                  21∑this deposition that you'll probably know exactly
22∑∑∑∑∑∑∑∑∑∑∑EXAMINATION                                          22∑where I'm going with a question; however, the court
23∑BY MR. ENGQUIST:                                               23∑reporter can really only take down one voice at a
24∑∑∑∑Q.∑∑Sir, could you please state your name                   24∑time.∑So we really shouldn't -- we really can't


                                                         Page 7                                                            Page 9
∑1∑and spell your last name for the record.                       ∑1∑speak over each other.
∑2∑∑∑∑A.∑∑William Negron, W-i-l-l-i-a-m                           ∑2∑∑∑∑∑∑∑∑∑So if you wait until I'm done asking
∑3∑N-e-g-r-o-n.                                                   ∑3∑the question before you start answering, that'll
∑4∑∑∑∑Q.∑∑And, Mr. Negron, what's your date of                    ∑4∑make it a clearer -- clearer transcript.∑Okay?
∑5∑birth?                                                         ∑5∑∑∑∑A.∑∑Okay.
∑6∑∑∑∑A.∑∑November 18, 1976.                                      ∑6∑∑∑∑Q.∑∑Also, I'll do my best to wait until
∑7∑∑∑∑Q.∑∑Okay.∑Mr. Negron, have you ever given                   ∑7∑you're done answering before I ask the next
∑8∑a deposition before?                                           ∑8∑question.∑Okay?
∑9∑∑∑∑A.∑∑No.                                                     ∑9∑∑∑∑A.∑∑Okay.
10∑∑∑∑Q.∑∑All right.∑I'm going to go through a                    10∑∑∑∑Q.∑∑Also, I'm assuming there'll be
11∑few of the ground rules just so we're kind of on               11∑objections during -- during this deposition, and
12∑the same page and also just some things to keep in             12∑I don't want to speak for your lawyer, but I know
13∑mind since we're all doing this via Zoom.∑Okay?                13∑for most of the objections you'll be answering
14∑∑∑∑A.∑∑Yes.                                                    14∑anyway over the objections.∑Okay?
15∑∑∑∑Q.∑∑Okay.∑First thing, nodding of the                       15∑∑∑∑A.∑∑Okay.
16∑head, shrugging of the shoulders, saying um-hmm and            16∑∑∑∑Q.∑∑Also, you probably want to take a
17∑uhn-uhn doesn't come across clear on the record.               17∑little bit of a beat before you answer just so you
18∑So if you're going to be giving me a yes or no or a            18∑have time for other people to object, just because
19∑yes or no to anybody else during questioning, it's             19∑if they start objecting over your testimony it gets
20∑best that it's just oral and out loud.∑All right?              20∑more and more confusing.∑All right?
21∑∑∑∑A.∑∑Okay.                                                   21∑∑∑∑A.∑∑Okay.
22∑∑∑∑Q.∑∑Okay.∑If you don't answer orally, then                  22∑∑∑∑Q.∑∑And, once again, the objections are for
23∑we're probably going to be asking you is that a yes            23∑the record only.∑Okay?∑Since we don't have a
24∑or no.∑Is that okay?                                           24∑judge here.∑Okay?


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                                                                                                                                    YVer1f
WILLIAM NEGRON, 09/27/2021                                                                            Page 10..13
                                                       Page 10                                                 Page 12
∑1∑∑∑∑A.∑∑Okay.                                                  ∑1∑∑∑∑A.∑∑No.∑Just now.
∑2∑∑∑∑Q.∑∑All right.∑Any questions so far?                       ∑2∑∑∑∑Q.∑∑Okay.∑Your address there in Norridge,
∑3∑∑∑∑A.∑∑No.                                                    ∑3∑do you live with anybody?
∑4∑∑∑∑Q.∑∑Sir, have you had anything alcoholic to                ∑4∑∑∑∑A.∑∑Yes.∑My wife.
∑5∑drink today?                                                  ∑5∑∑∑∑Q.∑∑And that was just -- actually, you just
∑6∑∑∑∑A.∑∑No.                                                    ∑6∑got married recently; is that correct?
∑7∑∑∑∑Q.∑∑Okay.∑Have you had any kinds of drug,                  ∑7∑∑∑∑A.∑∑Correct.
∑8∑either prescription or otherwise, that would affect           ∑8∑∑∑∑Q.∑∑When did you get married?
∑9∑your ability to be able to answer questions today?            ∑9∑∑∑∑A.∑∑Friday.
10∑∑∑∑A.∑∑No.                                                    10∑∑∑∑Q.∑∑Friday?
11∑∑∑∑Q.∑∑Okay.∑Where do you currently reside,                   11∑∑∑∑A.∑∑Yeah.
12∑sir?                                                          12∑∑∑∑Q.∑∑Congratulations.
13∑∑∑∑A.∑∑Currently in Chicago.                                  13∑∑∑∑A.∑∑Thanks.
14∑∑∑∑Q.∑∑Okay.∑Can you give me the                              14∑∑∑∑Q.∑∑So you had a weekend honeymoon, then
15∑neighborhood, please?                                         15∑you're here doing a dep.
16∑∑∑∑A.∑∑It's close by Norridge.∑It's on                        16∑∑∑∑A.∑∑Yes.
17∑Oleander Avenue.                                              17∑∑∑∑Q.∑∑Okay.∑What's your wife's last name?
18∑∑∑∑Q.∑∑Oh, okay.∑You took your mask off.                      18∑∑∑∑A.∑∑Cindy Flores.
19∑Yeah, if you feel -- if you feel more comfortable             19∑∑∑∑Q.∑∑And how long have you known Cindy?
20∑with your mask on, let us know, but apparently you            20∑∑∑∑A.∑∑Close to two years.
21∑feel okay without the mask on now.                            21∑∑∑∑Q.∑∑So did you -- you didn't know her
22∑∑∑∑A.∑∑Yeah.∑It's fine without it.                            22∑before you were released from prison; is that fair
23∑∑∑∑Q.∑∑Okay.∑Now, prior to this deposition,                   23∑to say?
24∑did you review any documents in preparation for the           24∑∑∑∑A.∑∑Yeah.∑Yes, it's fair.

                                                       Page 11                                                 Page 13
∑1∑dep?                                                          ∑1∑∑∑∑Q.∑∑Okay.∑Are you currently employed?
∑2∑∑∑∑A.∑∑Just glanced a few here and there.                     ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑∑∑Q.∑∑Okay.∑And when did you glance at a few                 ∑3∑∑∑∑Q.∑∑Where?
∑4∑documents here and there?                                     ∑4∑∑∑∑A.∑∑A company called World Carrier.
∑5∑∑∑∑A.∑∑Not too long ago.∑Before we started.                   ∑5∑∑∑∑Q.∑∑And what do you do for World Carrier?
∑6∑∑∑∑Q.∑∑Was it today?                                          ∑6∑∑∑∑A.∑∑I'm a delivery driver for them. I
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑operate a 26-footer truck.
∑8∑∑∑∑Q.∑∑Okay.∑And what documents did you                       ∑8∑∑∑∑Q.∑∑Okay.∑So I'm assuming you have your
∑9∑glance over?                                                  ∑9∑commercial driver's license; is that correct?
10∑∑∑∑A.∑∑Those that -- the interrogatories,                     10∑∑∑∑A.∑∑Yes.∑My Class C.
11∑Olszewski's, I can't really pronounce his name, and           11∑∑∑∑Q.∑∑And how long have you been with World
12∑Mingey's.                                                     12∑Carrier?
13∑∑∑∑Q.∑∑Anything else?                                         13∑∑∑∑A.∑∑Since April this year.
14∑∑∑∑A.∑∑No.                                                    14∑∑∑∑Q.∑∑And have you ever been employed at any
15∑∑∑∑Q.∑∑Okay.∑Did you -- and what you're                       15∑other place since your release other than World
16∑talking about, you're talking about your answer to            16∑Carrier?
17∑their interrogatories, correct?                               17∑∑∑∑A.∑∑Yes.∑I used to work for UPS.∑I used
18∑∑∑∑A.∑∑Yes.                                                   18∑to work for Everflora when I was first released. I
19∑∑∑∑Q.∑∑Okay.∑Did you meet with anybody prior                  19∑used to work for different agencies doing little
20∑to the deposition in order to prepare for the                 20∑part-time jobs.∑I've also worked for a -- it was a
21∑deposition?                                                   21∑food company.∑It was called Various -- they were
22∑∑∑∑A.∑∑No.                                                    22∑kind of having problems with the name, so at the
23∑∑∑∑Q.∑∑You didn't meet with your lawyer at                    23∑end it was like called all day food.
24∑all?                                                          24∑∑∑∑Q.∑∑Okay.∑What did do you for UPS?


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                                                                                                                         YVer1f
WILLIAM NEGRON, 09/27/2021                                                                             Page 14..17
                                                        Page 14                                                  Page 16
∑1∑∑∑∑A.∑∑I was a driver as well.                                 ∑1∑of different restaurants.
∑2∑∑∑∑Q.∑∑And when did you work for UPS?∑What                     ∑2∑∑∑∑Q.∑∑Okay.∑And what -- what was the
∑3∑was the range, date range?                                     ∑3∑timeframe of when you worked for All Day Kitchen?
∑4∑∑∑∑A.∑∑It was around 2020 from -- I would say                  ∑4∑∑∑∑A.∑∑Three months.
∑5∑from June to maybe September.                                  ∑5∑∑∑∑Q.∑∑But what were the dates?∑Do you
∑6∑∑∑∑Q.∑∑September of?                                           ∑6∑remember the months?
∑7∑∑∑∑A.∑∑2020.                                                   ∑7∑∑∑∑A.∑∑It was around from March of 2021
∑8∑∑∑∑Q.∑∑2020?                                                   ∑8∑through I want to say like late January.
∑9∑∑∑∑A.∑∑Yes.                                                    ∑9∑∑∑∑Q.∑∑Oh, so January to March of 2021?
10∑∑∑∑Q.∑∑Okay.∑Why did you stop working for UPS                  10∑∑∑∑A.∑∑Yes.
11∑as a driver in September 2020?                                 11∑∑∑∑Q.∑∑Okay.∑And you had Everflora.∑When did
12∑∑∑∑A.∑∑They -- they had a policy which was                     12∑you work for Everflora?
13∑called scratch.∑And everything else I passed                   13∑∑∑∑A.∑∑Everflora, I started working for them
14∑except the scratch, which way was based on time.               14∑in 2019.∑That was around in October of 2019.∑And
15∑You would start, in their definition, like your                15∑I -- it was a project as well that they were trying
16∑punch-in time at starting deliveries is at                     16∑to expand.∑I was hired there from an agency.∑It
17∑9:00 a.m.∑You have 140 packages.∑You have to be                17∑was -- I started from October and ended in December
18∑done like at 1:06 p.m. or before.                              18∑of the same year.
19∑∑∑∑Q.∑∑So, I'm sorry, that scratch policy, was                 19∑∑∑∑Q.∑∑And you were also delivery driver for
20∑that if you didn't meet your work deadlines for                20∑them, correct?
21∑when you had to be completed, it would count                   21∑∑∑∑A.∑∑No.∑During the time I was more of
22∑against you and you were discharged; is that right?            22∑production, dealing with production.∑It was like
23∑∑∑∑MS. BONJEAN:∑Objection; form, foundation,                   23∑labor job.
24∑misstates prior testimony.                                     24∑∑∑∑Q.∑∑Was that your -- okay.∑Maybe we should

                                                        Page 15                                                  Page 17
∑1∑BY MR. ENGQUIST:                                               ∑1∑try to keep things in order so I don't miss
∑2∑∑∑∑Q.∑∑Sir, you can still answer the question.                 ∑2∑something.
∑3∑∑∑∑A.∑∑It was based on, just to clarify, if                    ∑3∑∑∑∑∑∑∑∑∑What was your first employment after
∑4∑you passed 1:06, that's -- you already basically               ∑4∑being released from prison?
∑5∑violated their policy, so it was more of a time of             ∑5∑∑∑∑A.∑∑Everflora.
∑6∑speed.                                                         ∑6∑∑∑∑Q.∑∑Okay.∑And after Everflora, what was
∑7∑∑∑∑Q.∑∑Okay.∑So you were -- you were                           ∑7∑next?
∑8∑discharged from there, correct?                                ∑8∑∑∑∑A.∑∑After Everflora, I had worked with
∑9∑∑∑∑A.∑∑Yes.                                                    ∑9∑different agencies, so it was like different
10∑∑∑∑Q.∑∑And what employment did you have from                   10∑project jobs.∑Some of them was not -- it wasn't
11∑September 2020 until April of this year when you               11∑titled, like say you would work at a Walmart or
12∑came on with World Carrier?                                    12∑something.∑It was different like construction
13∑∑∑∑A.∑∑From before, you mean, of World Carrier.                13∑companies, they needed assistance, and so they
14∑∑∑∑Q.∑∑Well, you have UPS from June of 2020 to                 14∑would forward me there.
15∑September of 2020.∑And I know you've been at World             15∑∑∑∑Q.∑∑Okay.∑And how long did you do these
16∑Carrier since April of this year.∑I'm wondering                16∑project jobs for these different agencies?
17∑what you did in between UPS and World Carrier?                 17∑∑∑∑A.∑∑It was like different -- different
18∑∑∑∑A.∑∑There was a company called All Day                      18∑jobs or like different months, I'll be called.∑So
19∑Kitchen.∑I worked there for maybe three months.                19∑it'll -- some will vary for like a month, some will
20∑It was like a project that they were trying to come            20∑vary to like two months.
21∑from California to here and trying to bring the                21∑∑∑∑Q.∑∑Do you remember the name of the agency
22∑business here, which I don't even think it pretty              22∑or agencies you were getting these jobs through?
23∑much too much survived.∑It was based on the same               23∑∑∑∑A.∑∑It was like Express Employment and
24∑thing of deliveries to other like food departments             24∑first one was Upper Deck Staffing.


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WILLIAM NEGRON, 09/27/2021                                                                      Page 18..21
                                                Page 18                                                  Page 20
∑1∑∑∑∑Q.∑∑Okay.∑So Express Employment is an               ∑1∑∑∑∑Q.∑∑Okay.∑All right.∑Prior to your
∑2∑agency that -- for jobs and then Upper Deck is also    ∑2∑incarceration when you were I believe 17, did you
∑3∑a staffing job -- staffing agency, correct?            ∑3∑have any employment?
∑4∑∑∑∑A.∑∑Correct.                                        ∑4∑∑∑∑A.∑∑Yes.∑I used -- in Cook County, I was
∑5∑∑∑∑Q.∑∑Okay.∑And after the series of project           ∑5∑just basically like a janitorial.∑They would, you
∑6∑jobs to these different employment agencies, what      ∑6∑know, just request us if we wanted to work with
∑7∑was the next employment that you had?                  ∑7∑them pertaining to the sheriff's.∑So we would just
∑8∑∑∑∑A.∑∑I started -- oh, I thought somebody             ∑8∑pass out food if we needed to or clean the day
∑9∑said something.                                        ∑9∑room.∑Anything that needed cloning.
10∑∑∑∑∑∑∑∑∑After that, I started trying to                10∑∑∑∑Q.∑∑That was while you were in custody at
11∑obtain my Class C and went to a company called         11∑the Cook County Jail?
12∑Morey Milk.                                            12∑∑∑∑A.∑∑Correct.
13∑∑∑∑Q.∑∑What was that again?                            13∑∑∑∑Q.∑∑Okay.∑Prior to your being arrested and
14∑∑∑∑A.∑∑I went to a company called Morey Milk           14∑brought into Cook County Jail, did you have any
15∑after obtaining my Class C.                            15∑employment?
16∑∑∑∑Q.∑∑Morey Milk?                                     16∑∑∑∑A.∑∑Yes.∑I worked in the cafeteria
17∑∑∑∑A.∑∑Yes.                                            17∑department in Stateville, Menard, and in Pontiac.
18∑∑∑∑Q.∑∑Okay.∑And what did you do for Morey             18∑∑∑∑Q.∑∑Okay.∑Putting aside employment that
19∑Milk?                                                  19∑you had while you were in incarcerated, either at
20∑∑∑∑A.∑∑I started my job as a delivery driver.          20∑Cook County Jail or the Illinois Department of
21∑∑∑∑Q.∑∑And how long were you a delivery driver         21∑Correction, did you have any other employment
22∑for Morey Milk?                                        22∑before being arrested and incarcerated?
23∑∑∑∑A.∑∑Two months.                                     23∑∑∑∑A.∑∑No.
24∑∑∑∑Q.∑∑And why did you leave there?                    24∑∑∑∑Q.∑∑How far did you go in school, sir?

                                                Page 19                                                  Page 21
∑1∑∑∑∑A.∑∑COVID.                                          ∑1∑∑∑∑A.∑∑Before I got incarcerated?
∑2∑∑∑∑Q.∑∑And just to be clear, you left because          ∑2∑∑∑∑Q.∑∑Yes.
∑3∑the pandemic basically made your job disappear or      ∑3∑∑∑∑A.∑∑Sophomore.
∑4∑you had COVID yourself?                                ∑4∑∑∑∑Q.∑∑And where were you a sophomore at?
∑5∑∑∑∑A.∑∑No.∑I was informed that my grandmother          ∑5∑∑∑∑A.∑∑Roberto Clemente High School.
∑6∑possibly could have had and contracted COVID, so I     ∑6∑∑∑∑Q.∑∑And why did you stop going to school at
∑7∑informed my boss.∑He still wanted me to come in        ∑7∑your sophomore year?
∑8∑regardless.∑I basically asked the man if I could       ∑8∑∑∑∑A.∑∑I was kicked out.
∑9∑just get checked because they work under Dean's        ∑9∑∑∑∑Q.∑∑I'm sorry.∑And how old were you
10∑milk company and I did not want to pass this along,    10∑were -- when you were a sophomore when you got
11∑if I did have it.∑So he just wanted me to come in      11∑kicked out of Roberto Clemente?
12∑regardless.                                            12∑∑∑∑A.∑∑Around the age of 14, 15 I'll say.
13∑∑∑∑Q.∑∑Okay.∑So did you get fired or did you           13∑∑∑∑Q.∑∑And why were you kicked out?
14∑quit because -- over that?                             14∑∑∑∑A.∑∑Fighting.
15∑∑∑∑A.∑∑Basically I quit.                               15∑∑∑∑Q.∑∑Was this just one fight which caused
16∑∑∑∑Q.∑∑And what was after Morey Milk?                  16∑you to be expelled or was it a series of fights?
17∑∑∑∑A.∑∑I went to UPS.                                  17∑∑∑∑A.∑∑It was just because of the fight.∑The
18∑∑∑∑Q.∑∑Okay.∑So then after UPS, that's where           18∑principal was trying to I guess put some type of
19∑you are now, correct?                                  19∑policy that zero exemptions.∑And so since I was in
20∑∑∑∑A.∑∑Yes.                                            20∑the middle of a fight, I was just expelled.
21∑∑∑∑Q.∑∑After UPS?                                      21∑∑∑∑Q.∑∑Okay.∑Was it just one fight that
22∑∑∑∑A.∑∑Well, yeah.                                     22∑caused you to get expelled?
23∑∑∑∑Q.∑∑World Carrier?                                  23∑∑∑∑A.∑∑Far as I know, yes.
24∑∑∑∑A.∑∑Yes.                                            24∑∑∑∑Q.∑∑Do you recall the reason for this one


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WILLIAM NEGRON, 09/27/2021                                                                          Page 22..25
                                                Page 22                                                           Page 24
∑1∑fight?                                                 ∑1∑∑∑∑A.∑∑Little Man.
∑2∑∑∑∑A.∑∑The guy was making fun of another               ∑2∑∑∑∑Q.∑∑Do you remember Little Man's name,
∑3∑gentleman that was in a class with us, how he          ∑3∑government name, I guess?
∑4∑talked.∑And I just felt like the guy was bullying      ∑4∑∑∑∑A.∑∑No.∑I don't no his name like that.
∑5∑him.∑So I asked him what was his problem, why is       ∑5∑∑∑∑Q.∑∑Okay.∑And what year was that or what
∑6∑he picking on him, and it escalated from there.        ∑6∑was the timeframe in which you were going to --
∑7∑∑∑∑Q.∑∑Okay.∑So it wasn't gang involved at             ∑7∑where you were deciding whether or not to become a
∑8∑all?                                                   ∑8∑YLOD?
∑9∑∑∑∑A.∑∑No.                                             ∑9∑∑∑∑A.∑∑It was around -- I would say around the
10∑∑∑∑Q.∑∑Okay.∑Did you have any education,               10∑time of my freshman year in high school.
11∑formal education, after your sophomore year at         11∑∑∑∑Q.∑∑And you said this was -- I guess Little
12∑Roberto?                                               12∑Man was the one that was going to initiate you into
13∑∑∑∑A.∑∑Yes.                                            13∑the gang, into the YLODs?
14∑∑∑∑Q.∑∑I'm sorry.∑Putting to one side I know           14∑∑∑∑A.∑∑Yes.
15∑you got your commercial driver's license.∑We           15∑∑∑∑Q.∑∑Okay.∑Do you remember what section of
16∑already talked about that.                             16∑the YLODs or where he -- where he hung out was?
17∑∑∑∑∑∑∑∑∑Anything else?                                 17∑∑∑∑A.∑∑He was trying to initiate me for an
18∑∑∑∑A.∑∑Yes.∑I got my diploma while I was in            18∑area called the -- two streets were Richmond and
19∑prison.                                                19∑George.
20∑∑∑∑Q.∑∑And when did you get your GED?                  20∑∑∑∑Q.∑∑And where did you live your freshman
21∑∑∑∑A.∑∑At around in 2010.                              21∑year in high school?
22∑∑∑∑Q.∑∑Okay.∑Other than your GED in prison,            22∑∑∑∑A.∑∑Doing the freshman, if I recall
23∑any other formal education?                            23∑correctly, it was living on Fairfield and Augusta.
24∑∑∑∑A.∑∑No.                                             24∑∑∑∑Q.∑∑Okay.∑And did you live there the


                                                Page 23                                                           Page 25
∑1∑∑∑∑Q.∑∑Sir, before your incarceration in 1994,         ∑1∑entire time that you were in high school your
∑2∑before you were arrested in 1994, did you belong to    ∑2∑freshman and sophomore year?
∑3∑a street gang?                                         ∑3∑∑∑∑A.∑∑No.∑In sophomore more year I was -- my
∑4∑∑∑∑A.∑∑Yes.∑I used to be an Insane Dragon.             ∑4∑mother had -- within around that range, my mother
∑5∑∑∑∑Q.∑∑And when did you join the Insane                ∑5∑decided to move to Kimball and Belle Plaine.
∑6∑Dragons, what age?                                     ∑6∑∑∑∑Q.∑∑Kimball and Belle Plaine as a
∑7∑∑∑∑A.∑∑It was around I would say maybe 13.             ∑7∑sophomore, that's where you moved to?
∑8∑∑∑∑Q.∑∑Did you ever belong to any other gang           ∑8∑∑∑∑A.∑∑Yeah.∑It's around the time within
∑9∑other than the Insane Dragons?                         ∑9∑freshman and sophomore, but for sure sophomore.
10∑∑∑∑A.∑∑Before the Insane Dragons, I was going          10∑∑∑∑Q.∑∑Okay.∑Was there a certain gang that
11∑to be a YLOD.                                          11∑was more prevalent near the Kimball and Belle
12∑∑∑∑Q.∑∑Okay.∑You said you were going to be a           12∑Plaine address that you lived?
13∑YLOD.∑Did you ever become a YLOD?                      13∑∑∑∑MS. BONJEAN:∑Objection; form, foundation.
14∑∑∑∑A.∑∑No.                                             14∑∑∑∑MS. HAGY:∑You can answer.
15∑∑∑∑Q.∑∑And why did you not join the YLODs?             15∑∑∑∑THE WITNESS:∑I believe it was the Simon City
16∑∑∑∑A.∑∑First, a guy that was going to try to           16∑Royals.
17∑initiate me, I got jumped by another gang, and he      17∑BY MR. ENGQUIST:
18∑ran off and left me there.∑There was more than one     18∑∑∑∑Q.∑∑So you joined the Insane Dragons when
19∑factor into it.∑It was also I didn't really know       19∑you were approximately you said 13 years old, your
20∑all the YLODs or anything, so I didn't feel like a     20∑sophomore year, correct?
21∑sense of joining a gang that I did not know any        21∑∑∑∑A.∑∑Yes.∑Around that, yeah.
22∑persons besides him.                                   22∑∑∑∑Q.∑∑All right.∑Who -- was there to I guess
23∑∑∑∑Q.∑∑Okay.∑Who was this person that was              23∑initiate you into the Insane Dragons?
24∑going to initiate you into the YLODs?                  24∑∑∑∑MS. BONJEAN:∑Objection to the form and


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WILLIAM NEGRON, 09/27/2021                                                                     Page 26..29
                                              Page 26                                                    Page 28
∑1∑foundation of that question.                         ∑1∑∑∑∑A.∑∑One was Lucky.∑The other than was
∑2∑∑∑∑MS. HAGY:∑Join.                                   ∑2∑M-Dog.∑But that was about it.
∑3∑∑∑∑THE WITNESS:∑The one who initiated me, well,      ∑3∑∑∑∑Q.∑∑Okay.∑How long had you known -- or I'm
∑4∑I guess I don't really understand the question.      ∑4∑sorry.
∑5∑Like I want to just make sure you ...                ∑5∑∑∑∑∑∑∑∑∑When did you first meet Roberto
∑6∑∑∑∑MR. ENGQUIST:∑Oh, yeah.∑Sure.∑I'll -- if          ∑6∑Almodovar, Jr.?
∑7∑you don't understand, that's fine.∑I'll explain      ∑7∑∑∑∑A.∑∑I've known Roberto Almodovar, Jr. since
∑8∑it.                                                  ∑8∑we were young.∑To the exact year, I can't really
∑9∑BY MR. ENGQUIST:                                     ∑9∑say.
10∑∑∑∑Q.∑∑Earlier you said that Little Man was          10∑∑∑∑Q.∑∑Okay.∑But when you say "young," I --
11∑going to initiate you into the YLODs?                11∑everything's kind of relative.∑You were 13 when
12∑∑∑∑A.∑∑Correct.                                      12∑you joined the Insane Dragons.
13∑∑∑∑Q.∑∑And that's why I was using that term          13∑∑∑∑∑∑∑∑∑So when you're talking young, can
14∑when I was talking about the Insane Dragons.         14∑you give me an idea of what you mean by young?
15∑∑∑∑A.∑∑Oh.                                           15∑∑∑∑A.∑∑It could have been before the age
16∑∑∑∑Q.∑∑So maybe -- maybe that's -- when you          16∑of 13, of course.∑That's what I mean.∑I'm --
17∑said he was -- when you said Little Man was going    17∑maybe just ballpark, I could have been like maybe
18∑to initiate you into the YLODs, maybe it's best to   18∑11 -- I mean, sorry, about 12.∑It could have been
19∑start going backwards a little bit ask:∑What do      19∑11.∑Can't really say.
20∑you mean he was going to initiate?                   20∑∑∑∑Q.∑∑Okay.∑And how did you first come to
21∑∑∑∑A.∑∑He was the one that was just basically        21∑meet Roberto Almodovar, Jr.?
22∑trying to convince me to join the YLODs instead.     22∑∑∑∑A.∑∑I believe it was we lived around close
23∑∑∑∑Q.∑∑Okay.∑So he was -- he was recruiting          23∑by the same area.
24∑you?                                                 24∑∑∑∑Q.∑∑And when you say, you know, he

                                              Page 27                                                    Page 29
∑1∑∑∑∑A.∑∑Yes.                                          ∑1∑initiated you, and you talked about before that
∑2∑∑∑∑Q.∑∑Okay.                                         ∑2∑being recruitment, what kind of things were done to
∑3∑∑∑∑A.∑∑Yeah.                                         ∑3∑help recruit you into the Insane Dragons?
∑4∑∑∑∑Q.∑∑All right.∑So when you talked about           ∑4∑∑∑∑A.∑∑I don't understand.∑Like what, filing
∑5∑him initiating you, you were talking about him       ∑5∑an application or something?∑I don't understand.
∑6∑recruiting you; is that --                           ∑6∑∑∑∑Q.∑∑Well, I doubt if there was a written
∑7∑∑∑∑A.∑∑Yeah, correct.                                ∑7∑application.
∑8∑∑∑∑Q.∑∑-- fair to say?                               ∑8∑∑∑∑A.∑∑Yeah.
∑9∑∑∑∑A.∑∑Correct.                                      ∑9∑∑∑∑Q.∑∑Am I right on that?
10∑∑∑∑Q.∑∑Okay.∑So who recruited you into the           10∑∑∑∑A.∑∑Yeah, correct.
11∑Insane Dragons?                                      11∑∑∑∑Q.∑∑Okay.
12∑∑∑∑MS. HAGY:∑Objection; form, foundation.            12∑∑∑∑A.∑∑I just wanted to be clear.
13∑∑∑∑MS. BONJEAN:∑Join.                                13∑∑∑∑Q.∑∑Well, earlier you were talking about
14∑∑∑∑THE WITNESS:∑The one who initiated me --          14∑Little Man and then you didn't feel basically too
15∑there was different guys that had got me in, but     15∑safe with Little Man because he didn't have your
16∑the one who basically initiated me was Roberto       16∑back during a fight when you were jumped.
17∑Almodovar, Jr.                                       17∑∑∑∑A.∑∑Correct.
18∑BY MR. ENGQUIST:                                     18∑∑∑∑Q.∑∑So I'm wondering what type of things
19∑∑∑∑Q.∑∑And you said there were other people as       19∑were either promised or told to you that helped
20∑well?                                                20∑initiate you into the Insane Dragons?
21∑∑∑∑A.∑∑Yeah.∑There was other people, but I           21∑∑∑∑MS. HAGY:∑Objection; form, foundation.
22∑really didn't know them.                             22∑∑∑∑∑∑∑∑∑You can answer.
23∑∑∑∑Q.∑∑Okay.∑Do you remember any of their            23∑∑∑∑MS. BONJEAN:∑I'm going to.∑I'm sorry.
24∑names or even nicknames?                             24∑Joint that objection.∑I -- I don't know what it


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WILLIAM NEGRON, 09/27/2021                                                                              Page 30..33
                                                     Page 30                                                         Page 32
∑1∑means, but go ahead.                                        ∑1∑BY MR. ENGQUIST:
∑2∑∑∑∑THE WITNESS:∑I just -- after when I was                  ∑2∑∑∑∑Q.∑∑Do you know if Roberto Almodovar, Jr.
∑3∑about to join, they just -- we just talked.∑And             ∑3∑had any rank with the Insane Dragons?
∑4∑since a lot of them I -- I kind of grew up with             ∑4∑∑∑∑MS. BONJEAN:∑Objection; form, foundation.
∑5∑them, I was just like what they call a walk-in.             ∑5∑∑∑∑MS. HAGY:∑Join.
∑6∑BY MR. ENGQUIST:                                            ∑6∑∑∑∑THE WITNESS:∑No.
∑7∑∑∑∑Q.∑∑And what does that mean to be a                      ∑7∑BY MR. ENGQUIST:
∑8∑walk-in?                                                    ∑8∑∑∑∑Q.∑∑You don't know?
∑9∑∑∑∑A.∑∑I'm assuming no physical harm.                       ∑9∑∑∑∑A.∑∑No, I don't.
10∑∑∑∑Q.∑∑So you weren't violated into the gang?               10∑∑∑∑Q.∑∑Was there a certain section with the --
11∑∑∑∑A.∑∑Correct.                                             11∑of the Insane Dragons that you were a part of?
12∑∑∑∑Q.∑∑Did you have any other family members                12∑∑∑∑MS. HAGY:∑Objection, form.
13∑that were members of the Insane Dragons at that             13∑∑∑∑MS. BONJEAN:∑Foundation.
14∑time?                                                       14∑∑∑∑MS. HAGY:∑Join.
15∑∑∑∑A.∑∑No.                                                  15∑∑∑∑THE WITNESS:∑I was -- during the time I was
16∑∑∑∑Q.∑∑Do you know if Roberto had other family              16∑from -- I first started on Belden and Normandy.
17∑members that were members of the Insane Dragons?            17∑BY MR. ENGQUIST:
18∑∑∑∑MS. BONJEAN:∑Objection; form, foundation.                18∑∑∑∑Q.∑∑And who else were members out there or
19∑∑∑∑MS. HAGY:∑Join.                                          19∑part of that section at Belden and Normandy?
20∑∑∑∑THE WITNESS:∑I believe some of his cousins               20∑∑∑∑A.∑∑Say again.
21∑were.                                                       21∑∑∑∑Q.∑∑Who else were members of the Insane
22∑BY MR. ENGQUIST:                                            22∑Dragons at that section at Belden or Normandy?
23∑∑∑∑Q.∑∑Was -- do you remember a cousin named                23∑∑∑∑MS. HAGY:∑Objection; form, foundation.
24∑Sergio?                                                     24∑∑∑∑MS. BONJEAN:∑Joint.

                                                     Page 31                                                         Page 33
∑1∑∑∑∑A.∑∑Yes.                                                 ∑1∑∑∑∑THE WITNESS:∑During that time, it was --
∑2∑∑∑∑Q.∑∑Was he a member of the Insane Dragons?               ∑2∑when I first turned, it was Roberto Almodovar and
∑3∑∑∑∑A.∑∑During the time when I turned, yes.                  ∑3∑then it was Sergio.
∑4∑∑∑∑Q.∑∑Do you remember another member                       ∑4∑BY MR. ENGQUIST:
∑5∑Mr. Almodovar's family by the name of Edwin?                ∑5∑∑∑∑Q.∑∑Do you remember the Hassem brothers,
∑6∑∑∑∑A.∑∑Yes.                                                 ∑6∑Dean Hassem and Nurudeen Hassem?
∑7∑∑∑∑Q.∑∑Okay.∑I believe his nickname was                     ∑7∑∑∑∑A.∑∑I believe we called him Dean, if that's
∑8∑Little E back then; is that correct?                        ∑8∑the same guy.
∑9∑∑∑∑A.∑∑Yeah, I believe so.                                  ∑9∑∑∑∑Q.∑∑Okay.∑Was he also a member up there?
10∑∑∑∑Q.∑∑Okay.∑Was he a member of the Insane                  10∑∑∑∑A.∑∑The -- yeah.
11∑Dragons?                                                    11∑∑∑∑Q.∑∑You said you start off at Belden and
12∑∑∑∑A.∑∑Back then, yes.                                      12∑Normandy.
13∑∑∑∑Q.∑∑Did Edwin have any rank within the                   13∑∑∑∑∑∑∑∑∑Did you move to a different section
14∑Insane Dragons, if you know?                                14∑later on within the Insane Dragons?
15∑∑∑∑MS. BONJEAN:∑Objection; form, foundation.                15∑∑∑∑A.∑∑Yes.∑I was the moved to Fairfield and
16∑∑∑∑MS. HAGY:∑Join.                                          16∑Augusta.
17∑∑∑∑THE WITNESS:∑No, I don't -- I don't know.                17∑∑∑∑Q.∑∑And why is that?
18∑BY MR. ENGQUIST:                                            18∑∑∑∑A.∑∑I couldn't really get to the commute.
19∑∑∑∑Q.∑∑Did you ever have any rank within the                19∑∑∑∑Q.∑∑How long were you -- did you consider
20∑Insane Dragons?                                             20∑yourself a member of the section of Insane Dragons
21∑∑∑∑MS. BONJEAN:∑Same objections.                            21∑at Belden and Normandy?
22∑∑∑∑MS. HAGY:∑Join.                                          22∑∑∑∑A.∑∑It wasn't long.∑It was a matter of
23∑∑∑∑THE WITNESS:∑No.                                         23∑months.∑I really can't say if it could have been
24                                                             24∑six months or three months.


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WILLIAM NEGRON, 09/27/2021                                                                       Page 34..37
                                               Page 34                                                  Page 36
∑1∑∑∑∑Q.∑∑After you moved to the different               ∑1∑∑∑∑A.∑∑I started having problems with some of
∑2∑section at Fairfield and Augusta of the Insane        ∑2∑the -- the gang members, I guess, from my area.
∑3∑Dragons, did you still have contact with other        ∑3∑∑∑∑Q.∑∑And do you remember when in 1994 you
∑4∑members of the Belden or Normandy section?            ∑4∑started having problems with the gang members in
∑5∑∑∑∑A.∑∑Yes, whenever they came and drove by.          ∑5∑your area?
∑6∑∑∑∑Q.∑∑Do you remember who the -- I guess the         ∑6∑∑∑∑A.∑∑When they stopped?
∑7∑leader of your section was when you -- at Fairfield   ∑7∑∑∑∑Q.∑∑No.∑When did -- do you remember when
∑8∑and Augusta?                                          ∑8∑that started, when you started having these
∑9∑∑∑∑MS. HAGY:∑Objection; form, foundation.             ∑9∑problems with the gang members in your area?
10∑∑∑∑MS. BONJEAN:∑Join.                                 10∑∑∑∑A.∑∑I would say around in June of '94.
11∑∑∑∑THE WITNESS:∑No.∑Somebody of my age, I             11∑∑∑∑Q.∑∑Okay.∑So when did you -- in what month
12∑doubt it that they would reveal something like that   12∑in 1994 do you believe you stopped being a member
13∑being that I was, you know, just an adolescent.       13∑of the Insane Dragons?
14∑BY MR. ENGQUIST:                                      14∑∑∑∑A.∑∑I would say around August of '94.
15∑∑∑∑Q.∑∑Okay.∑And who was in charge of the             15∑∑∑∑Q.∑∑When you stopped being a member of the
16∑section at Belden and Normandy?                       16∑Insane Dragons in August of 1994, did you have to
17∑∑∑∑A.∑∑I don't even know, to be honest.               17∑notify anybody?∑Did you have to do anything in
18∑∑∑∑MS. BONJEAN:∑Objection.                            18∑order to stop being a member?
19∑∑∑∑MS. HAGY:∑Join.                                    19∑∑∑∑A.∑∑I believe my grandfather was involved
20∑∑∑∑MS. BONJEAN:∑Same objection.                       20∑in it.∑He knew a guy by the name of Abel.∑He
21∑BY MR. ENGQUIST:                                      21∑talked to him.∑And Abel had discussed it with a
22∑∑∑∑Q.∑∑Do you remember an Insane Dragon by the        22∑few people, I guess.∑And he just said, Here,
23∑name -- with the nickname Woody?                      23∑you're -- you're officially out.
24∑∑∑∑MS. HAGY:∑Objection; form, foundation.             24∑∑∑∑Q.∑∑Okay.∑And -- all right.∑What was your

                                               Page 35                                                     Page 37
∑1∑∑∑∑MS. BONJEAN:∑Same.                                 ∑1∑grandfather's name?
∑2∑∑∑∑THE WITNESS:∑Yeah.∑I know who's Woody.             ∑2∑∑∑∑A.∑∑Hilario.
∑3∑BY MR. ENGQUIST:                                      ∑3∑∑∑∑Q.∑∑Is it also Negron?
∑4∑∑∑∑Q.∑∑And do you know Woody's real name or           ∑4∑∑∑∑A.∑∑No.∑It's Ortiz.
∑5∑given name?                                           ∑5∑∑∑∑Q.∑∑Was Hilario a member of the Insane
∑6∑∑∑∑A.∑∑I believe it's Leandro or something            ∑6∑Dragons?
∑7∑like that.                                            ∑7∑∑∑∑A.∑∑No.∑My grandfather's never been
∑8∑∑∑∑Q.∑∑Okay.∑Leondro Marin or Leondro Marin           ∑8∑affiliated.
∑9∑Maysonet Maria, does that ring a bell?                ∑9∑∑∑∑Q.∑∑Okay.∑How did your father know to talk
10∑∑∑∑A.∑∑No.∑I just know him by Leandro if              10∑to able in order to get you out of the Insane
11∑anything.                                             11∑Dragons?
12∑∑∑∑Q.∑∑Okay.∑And what section was Leandro a           12∑∑∑∑MS. HAGY:∑Objection; form, foundation.
13∑member of the Insane Dragons?                         13∑∑∑∑THE WITNESS:∑It wasn't my father.∑It was my
14∑∑∑∑MS. HAGY:∑Objection; form, foundation.             14∑grandfather.
15∑∑∑∑MS. BONJEAN:∑Join.                                 15∑BY MR. ENGQUIST:
16∑∑∑∑THE WITNESS:∑I really don't know.                  16∑∑∑∑Q.∑∑I'm sorry.∑Your grandfather?
17∑BY MR. ENGQUIST:                                      17∑∑∑∑A.∑∑He -- I guess he knew him from around
18∑∑∑∑Q.∑∑Were you friends with Leandro?                 18∑the area of -- of, you know, just I guess talking
19∑∑∑∑A.∑∑We weren't really that tight like that.        19∑to people.
20∑∑∑∑Q.∑∑Okay.∑So from the age of 13 until              20∑∑∑∑Q.∑∑So had you had a previous conversation
21∑you -- well, actually, when did you stop being a      21∑with your grandfather Hilario about getting out?
22∑member of the Insane Dragons?                         22∑∑∑∑A.∑∑Yes.
23∑∑∑∑A.∑∑In 1994.                                       23∑∑∑∑Q.∑∑Okay.∑Sorry.∑I had to close
24∑∑∑∑Q.∑∑And why did you stop in 1994?                  24∑something.∑I had too many things open on my


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WILLIAM NEGRON, 09/27/2021                                                                                 Page 38..41
                                                      Page 38                                                        Page 40
∑1∑screen.                                                      ∑1∑∑∑∑Q.∑∑Well, did you ever talk to him back in
∑2∑∑∑∑∑∑∑∑∑What kind of problems were you                       ∑2∑1994, your brother, about it in 1994 about what was
∑3∑having with your fellow gang members?                        ∑3∑going on?
∑4∑∑∑∑A.∑∑That was dealing with something dealing               ∑4∑∑∑∑A.∑∑No.∑My brother and I, we weren't
∑5∑with my brother.∑My brother was -- I don't know              ∑5∑really as tight back then.
∑6∑what he was doing, but it was involving with him             ∑6∑∑∑∑Q.∑∑Where did you live back in -- back in
∑7∑until threats were made to my grandparents.∑And              ∑7∑June of 1994?
∑8∑that's when everything took a whole different toll.          ∑8∑∑∑∑A.∑∑In Belle Plaine.
∑9∑∑∑∑Q.∑∑And what was -- was your brother a                    ∑9∑∑∑∑Q.∑∑And did you live there all the way up
10∑member of the Insane Dragons?                                10∑until the time of your arrest?
11∑∑∑∑A.∑∑No.∑My brother's never been                           11∑∑∑∑A.∑∑Yes.
12∑affiliated.∑I really don't know what really                  12∑∑∑∑Q.∑∑And who did you live with -- I'm sorry.
13∑happened with the whole deal pertaining to my                13∑Let me start -- was it a house or an apartment?
14∑brother.∑My grandfather was really worked up about           14∑∑∑∑A.∑∑It was an apartment.
15∑it, but he was more like angry at me because these           15∑∑∑∑Q.∑∑And who did you live with?
16∑were the same guys that I was affiliated or, you             16∑∑∑∑A.∑∑My mother, Sara Ortiz.
17∑know, back then associating with.∑So that's what             17∑∑∑∑Q.∑∑Anyone else?
18∑took a whole toll of me just getting on out,                 18∑∑∑∑A.∑∑No.
19∑especially when it was threats being made to my              19∑∑∑∑Q.∑∑And where did your brother live?
20∑grandparents of moving and et cetera.                        20∑∑∑∑A.∑∑My brother was staying with my
21∑∑∑∑Q.∑∑Okay.∑And what kind of -- you said                    21∑grandparents during the time.
22∑threats were being made.∑Were threats being made             22∑∑∑∑Q.∑∑And where did they live?
23∑to your grandparents by members of the Insane                23∑∑∑∑A.∑∑On Rockwell and Augusta.
24∑Dragons?                                                     24∑∑∑∑Q.∑∑Do you know an Antonio Guzman?

                                                      Page 39                                                        Page 41
∑1∑∑∑∑A.∑∑According to my grandfather, yes.∑He                  ∑1∑∑∑∑A.∑∑Yes.
∑2∑just didn't want to say from whom, but he just               ∑2∑∑∑∑Q.∑∑And who's Antonio Guzman?
∑3∑said, It was your friends, your guys.∑And that's             ∑3∑∑∑∑A.∑∑Antonio Guzman was a guy that I met
∑4∑what made everything of the whole transformation             ∑4∑while in -- incarcerated in Cook County Jail.
∑5∑for me.                                                      ∑5∑∑∑∑Q.∑∑Do you know if he belonged to a gang?
∑6∑∑∑∑Q.∑∑Did you ever talk to your fellow                      ∑6∑∑∑∑A.∑∑The last I know, it was Spanish Cobras.
∑7∑members of the Insane Dragons to find out what was           ∑7∑∑∑∑Q.∑∑Have you kept in touch with Antonio
∑8∑going on with them and your brother and your                 ∑8∑Guzman?
∑9∑grandparents?                                                ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑MS. HAGY:∑Objection, vague.                               10∑∑∑∑Q.∑∑Okay.∑And where is he now?
11∑∑∑∑THE WITNESS:∑Yeah.∑I tried to ask a few                   11∑∑∑∑A.∑∑I really don't know where he lives at,
12∑people, but some of them just didn't want to get             12∑but we just communicate through phone, if anything,
13∑involved; some of them were just -- they just --             13∑like text messages, or if not he'll call me, or
14∑they really didn't know what was going on.∑So I              14∑through messenger.
15∑was just in the dark.                                        15∑∑∑∑Q.∑∑Did Antonio -- did you spend time with
16∑BY MR. ENGQUIST:                                             16∑Antonio Guzman while you were incarcerated within
17∑∑∑∑Q.∑∑Have you ever talked to your brother                  17∑the Illinois Department of Corrections?
18∑about why this -- this tension started between your          18∑∑∑∑A.∑∑Correct.
19∑gang and him in 1994?                                        19∑∑∑∑Q.∑∑Okay.∑And where did you know him -- or
20∑∑∑∑A.∑∑No.∑I really never asked him about it                 20∑I'm sorry.∑Which -- which facility was that?
21∑since, you know, while being in prison, you know,            21∑∑∑∑A.∑∑Division 9 in Cook County Jail, 3A, to
22∑my grandfather passed away and all that.∑So I                22∑be precise.
23∑really just didn't want to surface any type of               23∑∑∑∑Q.∑∑Okay.∑After Division 9, Cook County
24∑old -- old news.                                             24∑Jail, how did you keep in touch with him after that


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WILLIAM NEGRON, 09/27/2021                                                                   Page 42..45
                                               Page 42                                                Page 44
∑1∑point?                                                ∑1∑∑∑∑Q.∑∑Were you present when Antonio Baez was
∑2∑∑∑∑A.∑∑He reached out to me through messenger         ∑2∑killed?
∑3∑when I was released.                                  ∑3∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑4∑∑∑∑Q.∑∑When you're saying "messenger," is that        ∑4∑∑∑∑THE WITNESS:∑No.
∑5∑the -- the associated app with Facebook?              ∑5∑∑∑∑MR. ENGQUIST:∑I'm sorry.∑Going to pull up
∑6∑∑∑∑A.∑∑Correct.                                       ∑6∑some documents here.
∑7∑∑∑∑Q.∑∑Would you consider Antonio Guzman a            ∑7∑BY MR. ENGQUIST:
∑8∑friend?                                               ∑8∑∑∑∑Q.∑∑Do you know Miquel Serrano is?
∑9∑∑∑∑A.∑∑Yes.                                           ∑9∑∑∑∑A.∑∑No.
10∑∑∑∑Q.∑∑Did you keep in touch with him at all          10∑∑∑∑MR. ENGQUIST:∑Okay.∑Lindsay, we sent over
11∑while you were incarcerated within Cook -- within     11∑exhibits earlier.∑I don't know -- did you have a
12∑the Illinois Department of Corrections?               12∑chance to print them out or not or should I be
13∑∑∑∑A.∑∑No.                                            13∑sharing the screen?
14∑∑∑∑Q.∑∑Now, sir, you were convicted of two            14∑∑∑∑MS. HAGY:∑I was trying to get my paralegal
15∑different murders, correct?                           15∑to print them out.∑I don't know that that has
16∑∑∑∑A.∑∑Correct.                                       16∑happened yet.
17∑∑∑∑Q.∑∑Okay.∑And we'll talk about your --             17∑∑∑∑MR. ENGQUIST:∑Do you --
18∑your arrest in this case, but you -- you were         18∑∑∑∑MS. HAGY:∑So --
19∑involved in another murder that took place before     19∑∑∑∑MR. ENGQUIST:∑Do you happen to have the
20∑the murder of -- the shooting of Jacqueline Grande    20∑court reported statement of your client having to
21∑and the murder of her friend; is that correct?        21∑do with the Baez murder?
22∑∑∑∑MS. HAGY:∑Objection; form, foundation.             22∑∑∑∑MS. HAGY:∑I might not have my hands on it
23∑∑∑∑THE WITNESS:∑Yeah.∑I was -- I was charged          23∑right now.∑I -- if you want to take break, I can
24∑for an unrelated murder.                              24∑go print everything.∑We just -- I didn't have time

                                               Page 43                                                Page 45
∑1∑BY MR. ENGQUIST:                                      ∑1∑to print it myself.
∑2∑∑∑∑Q.∑∑Okay.∑And that was a Mr. Baez; is that         ∑2∑∑∑∑MR. ENGQUIST:∑No, that's -- that's
∑3∑correct?                                              ∑3∑absolutely fine.∑Why don't we just take like a --
∑4∑∑∑∑A.∑∑Yeah, Antonio Baez.                            ∑4∑how long do you think you want?∑Ten minutes, five
∑5∑∑∑∑Q.∑∑And did you know Antonio Baez?                 ∑5∑minutes, what do you think?
∑6∑∑∑∑A.∑∑No.                                            ∑6∑∑∑∑MS. HAGY:∑Ten minutes, I -- I should be able
∑7∑∑∑∑Q.∑∑Do you know what gang Antonio Baez             ∑7∑to get it.
∑8∑belonged to at the time of his death?                 ∑8∑∑∑∑MR. ENGQUIST:∑Ten minutes.∑That's great.
∑9∑∑∑∑MS. HAGY:∑Objection; form, foundation.             ∑9∑∑∑∑∑∑∑∑∑Why don't we go off the record and
10∑∑∑∑THE WITNESS:∑The only thing it was -- what         10∑come back at ten after 11:00.
11∑I've heard, he was a retired Insane Dragon.           11∑∑∑∑THE VIDEOGRAPHER:∑We're off the record at
12∑BY MR. ENGQUIST:                                      12∑11:01.
13∑∑∑∑Q.∑∑Now, if I remember correctly, you don't        13∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)
14∑contest the fact that you committed that murder,      14∑∑∑∑THE VIDEOGRAPHER:∑We're back on the record.
15∑correct?                                              15∑Time is 11:16 a.m.
16∑∑∑∑MS. HAGY:∑Objection; form, foundation.             16∑BY MR. ENGQUIST:
17∑∑∑∑THE WITNESS:∑Say again.∑I don't contest?           17∑∑∑∑Q.∑∑Okay, sir.∑We took a break.∑And I
18∑BY MR. ENGQUIST:                                      18∑know your attorney printed out the copy of the
19∑∑∑∑Q.∑∑Yeah.                                          19∑court reported statement, and I believe, just for
20∑∑∑∑∑∑∑∑∑Did you murder Antonio Baez?                  20∑record, CCSA -- you have to look at the number at
21∑∑∑∑A.∑∑No.                                            21∑the bottom, it's CCSAO 00235 all the way to
22∑∑∑∑Q.∑∑Are you saying that you're also                22∑00SAO -- I'm sorry, CCSAO 00254.∑Is that correct?
23∑innocent of that crime?                               23∑∑∑∑A.∑∑Yes.
24∑∑∑∑A.∑∑Correct.                                       24∑∑∑∑Q.∑∑Okay.∑Why don't we have that marked as


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WILLIAM NEGRON, 09/27/2021                                                                          Page 46..49
                                                Page 46                                                         Page 48
∑1∑Exhibit Number 1.                                      ∑1∑that in this -- this statement that was given on
∑2∑∑∑∑∑∑∑∑∑Sir, have you ever seen this before?           ∑2∑September 20th, 1994, to Assistant State's Attorney
∑3∑∑∑∑A.∑∑No, not like this.                              ∑3∑John O'Grady and a detective from Area 4 by the
∑4∑∑∑∑Q.∑∑Okay.∑Did you see it in a different             ∑4∑name of Thomas O'Grady that you admitted to being
∑5∑format other than what -- like this?                   ∑5∑involved in the shooting and murder of Mr. Baez?
∑6∑∑∑∑A.∑∑Yes.∑It was a -- like a -- like                 ∑6∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑7∑handwritten or something.∑It was something like        ∑7∑∑∑∑THE WITNESS:∑Yes.∑This was according to
∑8∑that.                                                  ∑8∑them, yes.
∑9∑∑∑∑Q.∑∑Okay.∑You don't recall ever viewing it          ∑9∑BY MR. ENGQUIST:
10∑typed up as a court reported statement before?         10∑∑∑∑Q.∑∑Okay.∑Did you actually tell them that
11∑∑∑∑A.∑∑Not that I recall.                              11∑or is this all made up?
12∑∑∑∑Q.∑∑Okay.∑Well, let's look at the very              12∑∑∑∑A.∑∑A lot of it is -- is basically made up.
13∑first page on the bottom.∑In the middle of that,       13∑I believe it was just fabricated.∑They would ask
14∑there's some handwriting on the bottom.                14∑me questions in regards to if I was upset what
15∑∑∑∑∑∑∑∑∑Is that your -- is that your                   15∑occurred out there.∑And I said, yeah, naturally,
16∑signature, sir?                                        16∑of course, you know, something like this, yeah, I
17∑∑∑∑A.∑∑Yeah.∑It looks like it.                         17∑was upset.∑They were bringing up like another
18∑∑∑∑Q.∑∑Okay.∑And if we go to the next page,            18∑crime pertaining to another fellow they said Dragon
19∑page 2, is that also your signature?                   19∑Alfredo, if I was upset at that.∑And I said I knew
20∑∑∑∑A.∑∑Yes.                                            20∑him, but not as much, but yeah, I was -- you know,
21∑∑∑∑Q.∑∑Okay.∑Why don't you go through.∑I --            21∑I was kind of upset.
22∑and I believe your signature's on all the pages on     22∑∑∑∑∑∑∑∑∑But I believe a lot of this was
23∑the bottom.∑If you can take a quick peek and let       23∑fabricated.∑Being that I was young, they just
24∑me know if those are -- if that's all your             24∑said, you know, if you just sign here, then you're

                                                Page 47                                                         Page 49
∑1∑signatures, if that's your signature on all of         ∑1∑good to go.∑I really didn't see what was being
∑2∑them.                                                  ∑2∑written or anything.∑I didn't know any of the
∑3∑∑∑∑A.∑∑Yes.                                            ∑3∑process.∑I was about -- frequently about a week
∑4∑∑∑∑Q.∑∑Okay.∑And on the very last page, it             ∑4∑later after being charged for -- for the -- in
∑5∑also has -- it has -- your signature's in two          ∑5∑regards to the Guevara, I was being called to this.
∑6∑different spots, correct?                              ∑6∑So I was just like at a total -- blown away by
∑7∑∑∑∑A.∑∑Yes.                                            ∑7∑everything and just after one thing after another
∑8∑∑∑∑Q.∑∑Okay.∑Do you recall signing this, sir,          ∑8∑thing just happening.∑But a lot of this, no, I
∑9∑back on September 20th, 1994?                          ∑9∑really don't know too much about all of this, just,
10∑∑∑∑A.∑∑No.∑I remember like it was like                 10∑you know, what's -- what was said in court.
11∑handwritten, if I was -- if I'm correct.               11∑∑∑∑Q.∑∑Okay.∑Sir, do you realize that this
12∑∑∑∑Q.∑∑Okay.∑Do you think someone put your             12∑transcript here purport to be a typed up transcript
13∑signature on these typed pages at some point           13∑by a court reporter by the name of Cordelia Busse
14∑afterwards?                                            14∑Wert, first page.
15∑∑∑∑A.∑∑Maybe, possibly.∑I don't know.                  15∑∑∑∑A.∑∑Oh, yes.∑I see it now.
16∑∑∑∑Q.∑∑Okay.∑Are you aware that this -- this           16∑∑∑∑Q.∑∑Okay.∑And, sir, do you recall when you
17∑document right here was actually used during your      17∑were speaking to the assistant state's attorney
18∑criminal trial having to do with the murder of         18∑regarding the murder of Mr. Baez that there was a
19∑Antonio Baez?                                          19∑person in the room who was typing up things as
20∑∑∑∑A.∑∑Yes.∑I knew it was a statement that             20∑people were speaking?
21∑was used against in the trial, but I've never seen     21∑∑∑∑A.∑∑No.∑I don't recall anybody in the room
22∑it like this.∑It was -- to my recollection, it was     22∑besides just me and the two individuals that were
23∑never brought up to me, if I'm correct.                23∑brothers.
24∑∑∑∑Q.∑∑Okay.∑Sir, have -- are you familiar             24∑∑∑∑Q.∑∑Who's Dino?


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                                                                                                                          YVer1f
WILLIAM NEGRON, 09/27/2021                                                                   Page 50..53
                                              Page 50                                                  Page 52
∑1∑∑∑∑A.∑∑I don't know who's Dino.                      ∑1∑∑∑∑A.∑∑No.∑I didn't really know him like
∑2∑∑∑∑Q.∑∑Pedro Dungerea?                               ∑2∑that.∑If anything, I might have seen him here and
∑3∑∑∑∑A.∑∑Oh, Dino.                                     ∑3∑there, but I didn't socialize with him.
∑4∑∑∑∑Q.∑∑Yeah.                                         ∑4∑∑∑∑Q.∑∑Okay.∑Was he an Insane Dragon?
∑5∑∑∑∑A.∑∑He was the co-defendant for that case.        ∑5∑∑∑∑A.∑∑As far as what I recall, yeah.∑Well,
∑6∑∑∑∑Q.∑∑Okay.∑Was he also a member of the             ∑6∑what I heard.
∑7∑Insane Dragons?                                      ∑7∑∑∑∑Q.∑∑Okay.∑Sir, did you ever handle a gun
∑8∑∑∑∑MS. HAGY:∑Objection; form, foundation.            ∑8∑while you were a member of the Insane Dragons?
∑9∑∑∑∑THE WITNESS:∑During the time, yes.                ∑9∑∑∑∑MS. HAGY:∑Objection, vague.
10∑BY MR. ENGQUIST:                                     10∑∑∑∑MS. BONJEAN:∑Objection; form, foundation.
11∑∑∑∑Q.∑∑Okay.∑Were you friends with him?              11∑∑∑∑THE WITNESS:∑No.∑I've never held a gun as
12∑∑∑∑A.∑∑Not -- not as tight.                          12∑far as when I was a Dragon.∑If anything, it'd be a
13∑∑∑∑Q.∑∑Okay.∑Did you ever hang out with him?         13∑bat or something like that if something ever
14∑∑∑∑A.∑∑A few times.                                  14∑happens or physical.
15∑∑∑∑Q.∑∑Okay.∑And what was your nickname, sir,        15∑BY MR. ENGQUIST:
16∑when you were in the Insane Dragons?                 16∑∑∑∑Q.∑∑Okay.∑So in this transcript, in this
17∑∑∑∑A.∑∑Snoopy.                                       17∑court reported statement, where you indicate that
18∑∑∑∑Q.∑∑Okay.∑Did you get that nickname from          18∑you had a 9 millimeter that was given to you to
19∑the gang or did you have it beforehand?              19∑hold, that would be -- that would be false.∑Is
20∑∑∑∑A.∑∑No.∑From the gang.                            20∑that what you're saying?
21∑∑∑∑Q.∑∑Okay.∑Do you still go by Snoopy?              21∑∑∑∑A.∑∑Yes.
22∑∑∑∑A.∑∑No.                                           22∑∑∑∑Q.∑∑Who's Baby Shark?
23∑∑∑∑Q.∑∑Okay.∑Do you remember a friend of             23∑∑∑∑A.∑∑Far as I know, he's a Dragon.
24∑yours by the name of Tony who lived at Washtenaw     24∑∑∑∑Q.∑∑Okay.∑Was he a friend of yours?

                                              Page 51                                                  Page 53
∑1∑and Walton?                                          ∑1∑∑∑∑A.∑∑No.
∑2∑∑∑∑MS. HAGY:∑Objection; form, foundation.            ∑2∑∑∑∑Q.∑∑Okay.∑Did you ever hang out with him?
∑3∑∑∑∑THE WITNESS:∑Yes.                                 ∑3∑∑∑∑A.∑∑No.
∑4∑BY MR. ENGQUIST:                                     ∑4∑∑∑∑Q.∑∑Okay.∑Sir, do you recall ever pointing
∑5∑∑∑∑Q.∑∑Okay.∑Do you remember Tony's last             ∑5∑a gun at a person and then trying to disengage the
∑6∑name?                                                ∑6∑hammer and it going off accidentally?
∑7∑∑∑∑A.∑∑If I'm correct, it's Gonzales, but I'm        ∑7∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑8∑not really sure.                                     ∑8∑∑∑∑THE WITNESS:∑No.
∑9∑∑∑∑Q.∑∑Okay.                                         ∑9∑BY MR. ENGQUIST:
10∑∑∑∑A.∑∑To be honest.                                 10∑∑∑∑Q.∑∑Okay.∑So if that's in this court
11∑∑∑∑Q.∑∑Did Tony have a nickname?                     11∑reported statement, that would be made up too; is
12∑∑∑∑A.∑∑Casper.                                       12∑that correct?
13∑∑∑∑Q.∑∑Okay.∑Was he also a member of the             13∑∑∑∑MS. HAGY:∑Objection; form, foundation.
14∑Insane Dragons?                                      14∑∑∑∑THE WITNESS:∑Yes.
15∑∑∑∑A.∑∑No.∑He was -- during the time, I              15∑BY MR. ENGQUIST:
16∑believe he was an Insane Campell Boy.                16∑∑∑∑Q.∑∑Okay.∑You want a minute to read it
17∑∑∑∑Q.∑∑Insane what?                                  17∑over to tell me if there's anything in there that
18∑∑∑∑A.∑∑Campell Boy.                                  18∑is true?
19∑∑∑∑Q.∑∑Okay.∑Were you a friend of his?               19∑∑∑∑MS. HAGY:∑Objection; form, foundation,
20∑∑∑∑A.∑∑Yeah.∑I was okay with him.                    20∑argumentative.
21∑∑∑∑Q.∑∑Okay.∑Would you ever go to his house          21∑∑∑∑MR. ENGQUIST:∑I was asking if he wanted to
22∑and hang out?                                        22∑read it.
23∑∑∑∑A.∑∑We went there, yes, a few times.              23∑∑∑∑THE WITNESS:∑No.
24∑∑∑∑Q.∑∑Okay.∑Do you know who Silent is?              24


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                                                                                                                 YVer1f
WILLIAM NEGRON, 09/27/2021                                                                            Page 54..57
                                                       Page 54                                                  Page 56
∑1∑BY MR. ENGQUIST:                                              ∑1∑∑∑∑MS. BONJEAN:∑Okay.
∑2∑∑∑∑Q.∑∑Okay.∑Sir, do you remember                             ∑2∑∑∑∑MR. ENGQUIST:∑It's Bates stamped CCSAO.38
∑3∑testifying -- we can put that Exhibit Number 1                ∑3∑through 44.
∑4∑away.                                                         ∑4∑BY MR. ENGQUIST:
∑5∑∑∑∑∑∑∑∑∑But do you remember testifying in                     ∑5∑∑∑∑Q.∑∑Okay.∑Sir, do you see what's on the
∑6∑your criminal -- in the defense in your criminal              ∑6∑screen right now?
∑7∑case?                                                         ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑∑∑A.∑∑Yes.                                                   ∑8∑∑∑∑Q.∑∑Okay.∑And it was filed with the court
∑9∑∑∑∑Q.∑∑For the Baez case?                                     ∑9∑on May 15th, 2018, according to the file stamp on
10∑∑∑∑A.∑∑Yes.                                                   10∑the top?
11∑∑∑∑Q.∑∑Okay.∑Do you recall your testimony                     11∑∑∑∑A.∑∑Um-hmm.
12∑that you were -- and tell me -- do you recall that            12∑∑∑∑Q.∑∑Is that --
13∑you were saying that you only went along with the             13∑∑∑∑A.∑∑Yes.∑Sorry.
14∑statement because you were told you were involved             14∑∑∑∑Q.∑∑Don't worry about it.∑It happens to
15∑in the murder, but you were too drunk and didn't              15∑everybody?
16∑remember?                                                     16∑∑∑∑∑∑∑∑∑Has in here that your attorney at
17∑∑∑∑MS. HAGY:∑Objection; form, foundation.                     17∑the time was Ainsworth, R. Ainsworth?
18∑∑∑∑THE WITNESS:∑Yes.∑I remember saying                        18∑∑∑∑A.∑∑Yes.
19∑something like that.                                          19∑∑∑∑Q.∑∑That's Russell; is that correct?
20∑BY MR. ENGQUIST:                                              20∑∑∑∑A.∑∑Correct.
21∑∑∑∑Q.∑∑Was that true?                                         21∑∑∑∑Q.∑∑Okay.∑And this was -- this report was
22∑∑∑∑A.∑∑No.∑It was kind of like I was kind of                  22∑generated on April 24th, 2018, or that's when it
23∑drunk during that day and I was trying to explain             23∑was ordered, I'm sorry, and it was due in May of
24∑it; but so many objections and everything, I felt             24∑2018.∑You see that?

                                                       Page 55                                                  Page 57
∑1∑like I couldn't get my whole story out.                       ∑1∑∑∑∑A.∑∑Yes.
∑2∑∑∑∑Q.∑∑But -- but my question is is that true,                ∑2∑∑∑∑Q.∑∑Left-hand side.
∑3∑that you were told by another gang member that you            ∑3∑∑∑∑∑∑∑∑∑Okay.∑All right.∑And here it's in
∑4∑were involved with it, that's why you gave your               ∑4∑2018.∑And this is after you'd been released
∑5∑statement the way you did to the police?                      ∑5∑from -- is this after you'd been released from the
∑6∑∑∑∑MS. HAGY:∑Objection; form, foundation.                     ∑6∑prison, sir?
∑7∑∑∑∑THE WITNESS:∑No.                                           ∑7∑∑∑∑A.∑∑Yes.∑That was the address I went to
∑8∑BY MR. ENGQUIST:                                              ∑8∑when I was released.
∑9∑∑∑∑Q.∑∑Okay.∑Let me find the spot here.∑One                   ∑9∑∑∑∑Q.∑∑So the address listed there is
10∑second.                                                       10∑7327 West Diversey in Elmwood Park Illinois.∑That
11∑∑∑∑∑∑∑∑∑Sir, do you recall ever admitting to                  11∑was the address that you were living at after your
12∑your guilt in the -- in the Baez murder?                      12∑release from prison; is that correct?
13∑∑∑∑MS. HAGY:∑Objection; form, foundation.                     13∑∑∑∑A.∑∑Yes, except the zip code is incorrect.
14∑∑∑∑THE WITNESS:∑No.                                           14∑∑∑∑Q.∑∑Okay.∑What is the zip crude?
15∑∑∑∑MR. ENGQUIST:∑Okay.∑Let me pull up --                      15∑∑∑∑A.∑∑60707.
16∑sorry.∑Give me one second.                                    16∑∑∑∑Q.∑∑Okay.∑And let's go to the second page.
17∑∑∑∑∑∑∑∑∑Lindsay, screen share -- do you have                  17∑Okay.∑And I'm going to go down to the bottom --
18∑the April 24th, 2018, presentence investigation               18∑I'm sorry.∑Let's go to the third page.∑I'm sorry,
19∑report?                                                       19∑the third page and go down near the bottom.
20∑∑∑∑MS. HAGY:∑No, I don't.                                     20∑∑∑∑∑∑∑∑∑And where it says, Defendant's
21∑∑∑∑MR. ENGQUIST:∑Okay.∑I'll screen share it.                  21∑Version of the Offense.∑Do you see that there?
22∑That's fine.                                                  22∑∑∑∑A.∑∑Yes.
23∑∑∑∑MS. BONJEAN:∑This is the PSI?                              23∑∑∑∑Q.∑∑Okay.∑And that's -- there's one
24∑∑∑∑MR. ENGQUIST:∑Yes.                                         24∑paragraph and it's in quotes.∑Do you see that?


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WILLIAM NEGRON, 09/27/2021                                                                           Page 58..61
                                              Page 58                                                           Page 60
∑1∑∑∑∑A.∑∑It -- which -- which part?                     ∑1∑BY MR. ENGQUIST:
∑2∑∑∑∑Q.∑∑It says, Defendant's Version of the            ∑2∑∑∑∑Q.∑∑Okay.∑When did you begin having these
∑3∑Offense.                                              ∑3∑substance abuse problem?
∑4∑∑∑∑A.∑∑Yes.∑I'm seeing it.                            ∑4∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑5∑∑∑∑Q.∑∑Okay.∑And then there's a paragraph             ∑5∑∑∑∑THE WITNESS:∑I didn't have a problem. I
∑6∑that's in quotes.                                     ∑6∑just participated in the programs to try to get any
∑7∑∑∑∑A.∑∑Yes.                                           ∑7∑type of educational programs.
∑8∑∑∑∑Q.∑∑Okay.∑Could you read that, please?             ∑8∑BY MR. ENGQUIST:
∑9∑∑∑∑A.∑∑It says:∑It was a bad tragedy. I               ∑9∑∑∑∑Q.∑∑So you went into substance abuse
10∑admit guilt in this case.∑It should have not          10∑treatment at IDOC in order to become educated in
11∑really happen.∑It is something that I have to live    11∑substance abuse treatment?
12∑with for the rest of my life.∑A lot of times I        12∑∑∑∑MS. HAGY:∑Objection; form, foundation,
13∑tried to block it out of my mind, but it is always    13∑misstates prior testimony.
14∑there.∑I feel extremely remorseful, and I wish I      14∑∑∑∑THE WITNESS:∑Yes.∑I was just trying to
15∑could apologize to the victims' families in person.   15∑educate a little bit of myself something different.
16∑I have complete -- completed substance abuse in the   16∑There wasn't that much educational programs or
17∑Illinois Department of Corrections.                   17∑vocational.
18∑∑∑∑Q.∑∑Substance abuse treatment, correct?            18∑∑∑∑MR. ENGQUIST:∑Okay.∑I'll take that down.
19∑∑∑∑A.∑∑Say again?                                     19∑∑∑∑THE COURT REPORTER:∑Josh, are you marking
20∑∑∑∑Q.∑∑Substance abuse treatment?                     20∑that Exhibit 2?
21∑∑∑∑A.∑∑Yes, treatment.                                21∑∑∑∑MR. ENGQUIST:∑Oh, yes.∑I'm sorry.∑That
22∑∑∑∑Q.∑∑Okay.                                          22∑will be Exhibit Number 2.
23∑∑∑∑A.∑∑Abuse treatment.                               23∑BY MR. ENGQUIST:
24∑∑∑∑Q.∑∑Okay.∑Sir, isn't it true that you gave         24∑∑∑∑Q.∑∑All right.∑I'm going to show you what

                                              Page 59                                                           Page 61
∑1∑that version of the events to the person that was     ∑1∑I am going to mark as Exhibit 3.∑It is the social
∑2∑doing this presentence investigation before Judge     ∑2∑assessment that is Bates stamped CCSAO 1871 through
∑3∑Stevenson?                                            ∑3∑1876.
∑4∑∑∑∑MS. BONJEAN:∑Objection to the form of that         ∑4∑∑∑∑∑∑∑∑∑You see that there, sir?
∑5∑question.                                             ∑5∑∑∑∑A.∑∑I'm sorry.∑What am I looking for?
∑6∑∑∑∑MS. HAGY:∑Join.∑And foundation.                    ∑6∑∑∑∑Q.∑∑I'm asking if you see the exhibit.
∑7∑∑∑∑THE WITNESS:∑As far as this, I never               ∑7∑I --
∑8∑admitted it.∑I think it was misinterpreted.∑He        ∑8∑∑∑∑A.∑∑Oh, yes.
∑9∑had asked me some questions and I said, I guess I'm   ∑9∑∑∑∑Q.∑∑-- want to make sure it's working?
10∑going to be looked as guilty on this case when I      10∑∑∑∑A.∑∑Yes, I see it.
11∑get released.                                         11∑∑∑∑Q.∑∑Sorry.∑It's just an extra step we have
12∑BY MR. ENGQUIST:                                      12∑to do.∑Normally I would just hand you a piece of
13∑∑∑∑Q.∑∑Okay.∑So what he has in quotes there,          13∑paper.
14∑you're saying you were misquoted?                     14∑∑∑∑∑∑∑∑∑All right.∑You see on the top there
15∑∑∑∑A.∑∑Yes.                                           15∑it gives the date of December 9th, 1996?
16∑∑∑∑Q.∑∑Okay.∑Did you complete substance abuse         16∑∑∑∑A.∑∑Yes.
17∑programs within the Illinois Department of            17∑∑∑∑Q.∑∑Okay.∑And that's your name there,
18∑Corrections?                                          18∑William Negron, correct?
19∑∑∑∑A.∑∑Yes.                                           19∑∑∑∑A.∑∑Correct.
20∑∑∑∑Q.∑∑Okay.∑Did you have a substance abuse           20∑∑∑∑Q.∑∑Okay.∑And at the very beginning of
21∑problem prior to going in -- prior to your arrest     21∑this where it says when the second for Updated of
22∑in 1994?                                              22∑Student's Educational Experiences on page 1, the
23∑∑∑∑MS. HAGY:∑Objection; form, foundation.             23∑first paragraph there underneath that section, it
24∑∑∑∑THE WITNESS:∑No.                                   24∑says, William asserts that he went as far as his


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WILLIAM NEGRON, 09/27/2021                                                                            Page 62..65
                                                       Page 62                                                 Page 64
∑1∑sophomore year in Clemente High School.                       ∑1∑∑∑∑A.∑∑It was more like in -- just for in Cook
∑2∑∑∑∑∑∑∑∑∑That's correct, correct?                              ∑2∑County when I was fighting the charges.∑We were
∑3∑∑∑∑A.∑∑Yes.                                                   ∑3∑just more of correspondence and that's it.
∑4∑∑∑∑Q.∑∑Okay.∑Then it says, He states that he                  ∑4∑∑∑∑Q.∑∑How did you know Delores?
∑5∑was beaten up too often at school and finally his             ∑5∑∑∑∑A.∑∑My -- my brother's girlfriend, she
∑6∑mother had him removed.                                       ∑6∑contacted me and she started coming to visit me and
∑7∑∑∑∑A.∑∑No.                                                    ∑7∑she introduced to Delores.
∑8∑∑∑∑Q.∑∑Is that correct?                                       ∑8∑∑∑∑Q.∑∑Okay.∑Let's go to page 5 of this
∑9∑∑∑∑A.∑∑No.∑I was kicked out.                                  ∑9∑document, which would be Bates stamp 1875.
10∑∑∑∑Q.∑∑Okay.∑Go down.                                         10∑∑∑∑∑∑∑∑∑Okay.∑It says in this section, sir,
11∑∑∑∑∑∑∑∑∑All right.∑For Peer Relationships,                    11∑that -- if you look at the third -- third paragraph
12∑do you see this section here on page -- it would be           12∑on this page, William had prepared to go to his
13∑page 3 of the documents, Bates stamped CCSAO 1873?            13∑father's home in San Juan because gang activities
14∑∑∑∑A.∑∑Yes.                                                   14∑were getting out of hand in the neighborhood.
15∑∑∑∑Q.∑∑Okay.∑Under Peer Relationships, it                     15∑∑∑∑∑∑∑∑∑You see that?
16∑states:∑William has been involved with gangs                  16∑∑∑∑A.∑∑Yes.
17∑pretty much in relationship to parties and going              17∑∑∑∑Q.∑∑Is that true, sir?
18∑places.∑He has been associated with the Insane                18∑∑∑∑MS. HAGY:∑Objection; form, foundation.
19∑Dragons about three years.∑He states he has never             19∑∑∑∑THE WITNESS:∑I was getting ready to leave
20∑been involved in shooting, but was involved for               20∑the Dragons because of what was being involved with
21∑only social benefits.                                         21∑the Dragons and my family.∑I believe that it's
22∑∑∑∑∑∑∑∑∑You see that there?                                   22∑partially true.∑My mother wanted me out, and
23∑∑∑∑A.∑∑Yes, I see it.                                         23∑during the time she had wanted me to go back to
24∑∑∑∑Q.∑∑Is that correct?                                       24∑Puerto Rico with my father.

                                                       Page 63                                                 Page 65
∑1∑∑∑∑A.∑∑No.                                                    ∑1∑BY MR. ENGQUIST:
∑2∑∑∑∑Q.∑∑Okay.∑What's incorrect about that?                     ∑2∑∑∑∑Q.∑∑Okay.∑Were you planning on going back
∑3∑∑∑∑A.∑∑I wasn't as far as associated like for                 ∑3∑do San Juan prior to your arrest to live with your
∑4∑this long, I don't think, and for the Dragons.∑And            ∑4∑father?
∑5∑definitely I wasn't involved in shootings.∑And as             ∑5∑∑∑∑A.∑∑It wasn't in San Juan, but yes, back to
∑6∑far as like social media or anything like that.               ∑6∑Puerto Rico.
∑7∑∑∑∑Q.∑∑Social benefits.                                       ∑7∑∑∑∑Q.∑∑And what steps had you taken to begin
∑8∑∑∑∑A.∑∑I mean, social benefits.∑Sorry.                        ∑8∑this move to Puerto Rico?
∑9∑∑∑∑∑∑∑∑∑Yeah.∑I wasn't as far as like for                     ∑9∑∑∑∑MS. HAGY:∑Objection; form, foundation.
10∑social benefits.                                              10∑∑∑∑THE WITNESS:∑I was talking with my
11∑∑∑∑Q.∑∑Okay.∑Why did you join the Insane                      11∑grandmother.∑My grandmother was more of pushing
12∑Dragons?                                                      12∑the issue towards my mother of getting in contact
13∑∑∑∑A.∑∑Like I -- I pretty much knew quite a                   13∑with my father to come up with funds to make the
14∑few of them from the area and lot of it was dealing           14∑flight and everything happen and also to discuss it
15∑for protection.                                               15∑with me.
16∑∑∑∑Q.∑∑Okay.∑Underneath that paragraph it                     16∑BY MR. ENGQUIST:
17∑says you had a girlfriend by the of Delores Cortez?           17∑∑∑∑Q.∑∑Had a date been set for you to move
18∑∑∑∑A.∑∑Yes, during the time when I was in Cook                18∑back -- or move to Puerto Rico?
19∑County Jail.                                                  19∑∑∑∑A.∑∑It was never discussed as far as a
20∑∑∑∑Q.∑∑Okay.∑And when did -- and how long had                 20∑date, but that was between -- since I was young,
21∑you been dating Delores Cortez -- or I'm sorry.               21∑between my parents and my grandmother.
22∑Let me back that up and strike that.                          22∑∑∑∑Q.∑∑Okay.∑The next -- the next paragraph
23∑∑∑∑∑∑∑∑∑When did you first begin dating                       23∑says:∑William states he was ready to leave the
24∑Delores Cortez?                                               24∑gang and not come back to any of these activities.


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WILLIAM NEGRON, 09/27/2021                                                                                    Page 66..69
                                                Page 66                                                             Page 68
∑1∑He wanted to wait until he could accompany both his        ∑1∑BY MR. ENGQUIST:
∑2∑grandmother and grandfather.                               ∑2∑∑∑∑Q.∑∑All right.∑Do you recall who your
∑3∑∑∑∑∑∑∑∑∑You see that there?                                ∑3∑criminal defense attorney was in the Baez case?
∑4∑∑∑∑A.∑∑Yes, I see it.                                      ∑4∑∑∑∑A.∑∑Seth Travis.∑At first it was Thomas
∑5∑∑∑∑Q.∑∑Is that a true statement, sir?                      ∑5∑Gibbons and Mitchell Kreiter.∑Then Seth Travis was
∑6∑∑∑∑A.∑∑No.                                                 ∑6∑the -- the majority of the trial attorney.
∑7∑∑∑∑Q.∑∑Okay.∑What is untrue about this                     ∑7∑∑∑∑Q.∑∑Okay.∑Was Mr. Sarley also involved?
∑8∑statement, sir?                                            ∑8∑∑∑∑A.∑∑I believe it was Sarley.∑To be honest,
∑9∑∑∑∑A.∑∑I was already out of the gang, so I                 ∑9∑I'm not really sure if it was Seth Travis or
10∑don't know why I was saying to -- ready to leave           10∑Sarley, but it sounds familiar, Sarley.∑I could
11∑the gang and not come back to these activities.            11∑have had them mixed up.∑Sorry.
12∑∑∑∑∑∑∑∑∑As far as wanted to wait until                     12∑∑∑∑Q.∑∑Sir, was there ever occasion during the
13∑he could accompany both my grandparents, no.               13∑Baez murder proceedings that you overheard someone
14∑That's -- they were -- they were pretty much -- you        14∑bragging about being the one who was the real
15∑know, they would have -- they would have left              15∑shooter in the Baez murder case and it wasn't you?
16∑regardless, if anything, but they were more of             16∑∑∑∑A.∑∑Yes.∑That was in the -- in the
17∑wanting me out of the area of being protective of          17∑bullpen, when -- the holding in the back in the
18∑me.                                                        18∑trial.∑I informed my -- my attorney, Mr. Gibbons
19∑∑∑∑Q.∑∑Okay.∑Sir, do you recall having your                19∑about it and Mr. Gibbons never confronted it.
20∑attorneys ever file anything for reduction in your         20∑∑∑∑Q.∑∑Did you tell anybody else other than
21∑sentence in the -- in the Baez murder case where           21∑Mr. Gibbons that there was a person in back who was
22∑you were admitting to your guilt?                          22∑involved -- who had been bragging that they were
23∑∑∑∑MS. HAGY:∑Objection; form, foundation.                  23∑the ones who -- or that they were the person who
24∑∑∑∑THE WITNESS:∑No, I don't recall anything                24∑had killed Mr. Baez?


                                                    Page 67                                                         Page 69
∑1∑like that.                                                 ∑1∑∑∑∑A.∑∑As far as I know, no.
∑2∑BY MR. ENGQUIST:                                           ∑2∑∑∑∑Q.∑∑And who was that person that was in the
∑3∑∑∑∑Q.∑∑Okay.∑If something were filed in court              ∑3∑back bragging to you that he had done the murder?
∑4∑by your attorneys indicating that you took                 ∑4∑∑∑∑A.∑∑I really don't know the guy.∑He was --
∑5∑responsibility for Mr. Baez's death, would that be         ∑5∑I just met him that day, just seen him, and he was
∑6∑something that you would have approved ahead of            ∑6∑talking about it, which resembled a lot of
∑7∑time?                                                      ∑7∑activities that had happened in the -- in the case.
∑8∑∑∑∑MS. HAGY:∑Objection; form, foundation, and              ∑8∑∑∑∑Q.∑∑I'm sorry.∑What was that last part?
∑9∑gets into attorney/client privilege.                       ∑9∑∑∑∑A.∑∑He was talking about a lot of --
10∑∑∑∑∑∑∑∑∑You can answer.                                    10∑basically things that had occurred in the case.
11∑∑∑∑MR. ENGQUIST:∑Are you instructing him not to            11∑∑∑∑Q.∑∑You mean he was talking about the
12∑answer?                                                    12∑murder and giving facts that were the same as your
13∑∑∑∑MS. HAGY:∑No.∑I just was --                             13∑case; is that right?
14∑∑∑∑MR. ENGQUIST:∑Okay.                                     14∑∑∑∑A.∑∑Basically things that had matched the
15∑∑∑∑MS. BONJEAN:∑To the extent it calls for                 15∑description of the case.
16∑attorney/client privileged communications, I mean,         16∑∑∑∑Q.∑∑Okay.∑And what -- what facts did he
17∑not that I'm his attorney, but, I mean, I think            17∑know about your case when he was talking about his
18∑that's what she was saying.                                18∑murder?
19∑∑∑∑MS. HAGY:∑Yes.                                          19∑∑∑∑A.∑∑He was describing about the car.∑He
20∑∑∑∑MR. ENGQUIST:∑I'm sorry, Ms. Hagy.∑I'm not              20∑was describing about the weapons that were used.
21∑sure what's happening.                                     21∑And the -- as far as -- as to why.
22∑∑∑∑THE WITNESS:∑I can't talk about what's going            22∑∑∑∑Q.∑∑Okay.∑And what about the car was the
23∑on between attorney/client privilege.                      23∑same?
24∑∑∑∑MR. ENGQUIST:∑Oh, okay.                                 24∑∑∑∑A.∑∑Yes.∑He was -- he was saying it was a


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                                                                                                                              YVer1f
WILLIAM NEGRON, 09/27/2021                                                                   Page 70..73
                                                Page 70                                               Page 72
∑1∑dark blue Delta 88.                                    ∑1∑you?
∑2∑∑∑∑Q.∑∑We're talking about the guy confessing          ∑2∑∑∑∑MS. BONJEAN:∑Objection to the -- to the form
∑3∑to the Baez murder, correct?                           ∑3∑and foundation of that question.∑So ridiculous
∑4∑∑∑∑A.∑∑Oh, sorry.∑He was -- the Baez, he was           ∑4∑too.∑Because people like you accuse people of
∑5∑talking about the -- something about some guns that    ∑5∑trying to influence witnesses.∑That's why they
∑6∑had matched the description of the crime and           ∑6∑tell their lawyers and let it be.
∑7∑hanging around frequently back around to that area.    ∑7∑∑∑∑MR. ENGQUIST:∑That's -- I'm not sure why
∑8∑∑∑∑Q.∑∑And what area was that?                         ∑8∑that was an objection.∑That was just more of a --
∑9∑∑∑∑A.∑∑Washtenaw and Chicago.                          ∑9∑of a --
10∑∑∑∑Q.∑∑Okay.∑That's an area that you also              10∑∑∑∑MS. BONJEAN:∑Because it's --
11∑hung out, correct?                                     11∑∑∑∑MR. ENGQUIST:∑-- tirade.
12∑∑∑∑A.∑∑A long time ago, yes.                           12∑∑∑∑MS. BONJEAN:∑It's infuriating.∑It's
13∑∑∑∑Q.∑∑Back during the times of the murders;           13∑infuriating that you ask these questions when you
14∑isn't that right?                                      14∑know exactly -- you -- you know exactly what you
15∑∑∑∑MS. HAGY:∑Objection; form, foundation.              15∑would do if anyone tried to actually find
16∑∑∑∑THE WITNESS:∑Yes.                                   16∑witnesses.∑You know how you accuse people.
17∑BY MR. ENGQUIST:                                       17∑∑∑∑∑∑∑∑∑He said he -- he said he told his
18∑∑∑∑Q.∑∑Okay.∑Other than talking about guns in          18∑counsel.
19∑that area, what else about it made you believe that    19∑∑∑∑MR. ENGQUIST:∑I know.∑Jennifer, I know.
20∑he was telling you that he was involved in the Baez    20∑You can stop.
21∑murder, or the Baez murder?                            21∑BY MR. ENGQUIST:
22∑∑∑∑A.∑∑There was -- that was pretty much about         22∑∑∑∑Q.∑∑Sir, can you please answer my
23∑it, but I just wanted really the attorney to get       23∑questions?
24∑involved and possibly ask him questions to see if      24∑∑∑∑A.∑∑Can you repeat it again?

                                                Page 71                                               Page 73
∑1∑he knows anything.                                     ∑1∑∑∑∑MR. ENGQUIST:∑Can you read it back,
∑2∑∑∑∑Q.∑∑Okay.∑Did you ever find out this                ∑2∑Ms. Court Reporter.
∑3∑person's name?                                         ∑3∑∑∑∑∑∑∑∑∑∑∑(The record was read as follows:
∑4∑∑∑∑A.∑∑No.                                             ∑4∑∑∑∑∑∑∑∑∑∑∑∑Q. You didn't bring it up
∑5∑∑∑∑Q.∑∑Okay.∑Did you make any attempts to              ∑5∑∑∑∑∑∑∑∑∑∑∑∑during the murder trial at all,
∑6∑find out who the person was?                           ∑6∑∑∑∑∑∑∑∑∑∑∑∑that there was person in the
∑7∑∑∑∑A.∑∑No.                                             ∑7∑∑∑∑∑∑∑∑∑∑∑∑back who actually was admitting
∑8∑∑∑∑Q.∑∑Why not?                                        ∑8∑∑∑∑∑∑∑∑∑∑∑∑to the crime, did you?)
∑9∑∑∑∑A.∑∑My attorney just --                             ∑9∑∑∑∑THE WITNESS:∑No, I did not bring it up
10∑∑∑∑MS. HAGY:∑Don't talk about attorney/client --       10∑during the trial.∑I figured it's not going to go
11∑∑∑∑THE WITNESS:∑Oh, okay.                              11∑anywhere.∑I'm charged for the case and it's just
12∑∑∑∑∑∑∑∑∑Sorry.∑Can't talk about it.                    12∑going to go through continual deaf ears.
13∑BY MR. ENGQUIST:                                       13∑BY MR. ENGQUIST:
14∑∑∑∑Q.∑∑Well, you already said you told your            14∑∑∑∑Q.∑∑Okay.∑If I can just focus your
15∑attorney, so I'm just -- I'm asking you why you        15∑attention on -- actually, let me go back.
16∑didn't try to find out his name.                       16∑∑∑∑∑∑∑∑∑Sir, do you know who Reynaldo
17∑∑∑∑A.∑∑As far as I just decided to -- to not           17∑Guevara is?
18∑try to even go into it.                                18∑∑∑∑A.∑∑Yes.
19∑∑∑∑Q.∑∑Did you ever tell the prosecutors about         19∑∑∑∑Q.∑∑And how do you know Reynaldo Guevara?
20∑that person in the back?                               20∑∑∑∑A.∑∑I met him through my mother.
21∑∑∑∑A.∑∑No.                                             21∑∑∑∑Q.∑∑And when did you first meet him?
22∑∑∑∑Q.∑∑You didn't bring it up during the               22∑∑∑∑A.∑∑1991.
23∑murder trial at all, that there was person in the      23∑∑∑∑Q.∑∑When you say met him through his
24∑back who actually was admitting to the crime, did      24∑mother, where was that?


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                                                                                                                YVer1f
WILLIAM NEGRON, 09/27/2021                                                                   Page 74..77
                                             Page 74                                                  Page 76
∑1∑∑∑∑A.∑∑We had met through -- first we met at          ∑1∑∑∑∑Q.∑∑So you helped move things in from, I
∑2∑Milwaukee Avenue when he had his motorcycle.∑And      ∑2∑guess, a truck or something into the house?
∑3∑then we -- the second attempt, which we really got    ∑3∑∑∑∑A.∑∑As far as in the back, I believe there
∑4∑a little more acquainted, when he bought his house.   ∑4∑was a truck, but there was already stuff in the
∑5∑∑∑∑Q.∑∑You said you met him at Milwaukee              ∑5∑back like of his house that was laid out, and so I
∑6∑Avenue when he had his motorcycle.                    ∑6∑was just majority concentrating on that.
∑7∑∑∑∑A.∑∑Yes.                                           ∑7∑∑∑∑Q.∑∑And were you ever at the house, at
∑8∑∑∑∑Q.∑∑Was this a planned meeting or you just         ∑8∑Reynaldo Guevara's house, after that time?
∑9∑happened to see him when he was riding his            ∑9∑∑∑∑A.∑∑Yes.
10∑motorcycle?                                           10∑∑∑∑Q.∑∑How many times?
11∑∑∑∑A.∑∑We were driving.∑And I don't know if           11∑∑∑∑A.∑∑I would say about two more times.
12∑there was something discussed beforehand, but we --   12∑∑∑∑Q.∑∑And when was the next time you were at
13∑we seen him over there on Milwaukee Avenue.           13∑his home?
14∑∑∑∑Q.∑∑Were you -- was he with somebody that          14∑∑∑∑A.∑∑It was shortly after.∑We went in -- I
15∑your mother knew or did your mother know him?         15∑believe it was in November.∑And then I went back
16∑∑∑∑A.∑∑He was with Mary Arman, with his wife          16∑in -- if I'm correct, I think it was in 1993.
17∑that is now.                                          17∑∑∑∑Q.∑∑Okay.∑So you said November of 1991 you
18∑∑∑∑Q.∑∑And what kind of motorcycle?                   18∑went back.
19∑∑∑∑A.∑∑I really don't know.                           19∑∑∑∑∑∑∑∑∑And why -- did you go back with
20∑∑∑∑Q.∑∑Okay.∑And how long was this meeting at         20∑somebody or were you by yourself?
21∑Milwaukee Avenue?                                     21∑∑∑∑A.∑∑Yeah.∑I went back with my mother. I
22∑∑∑∑MS. HAGY:∑Objection, form and foundation.          22∑was too young.∑But I went back with my mother.
23∑∑∑∑THE WITNESS:∑It was -- it was short.               23∑∑∑∑Q.∑∑And why was your mother going over to
24                                                       24∑Reynaldo Guevara's house?

                                             Page 75                                                  Page 77
∑1∑BY MR. ENGQUIST:                                      ∑1∑∑∑∑A.∑∑She just wanted to -- that was her best
∑2∑∑∑∑Q.∑∑And then you said you -- you met him           ∑2∑friend.∑She just wanted to meet up with her best
∑3∑later for a longer period of time at his home?        ∑3∑friend so I knew her kids.
∑4∑∑∑∑A.∑∑Yes.∑In 1991.                                  ∑4∑∑∑∑Q.∑∑And what did you do when you went over
∑5∑∑∑∑Q.∑∑And where was this home?                       ∑5∑there?∑Did you just hang out with the kids?
∑6∑∑∑∑A.∑∑At 57th Place.                                 ∑6∑∑∑∑A.∑∑The majority, yes.∑I hanged out with
∑7∑∑∑∑Q.∑∑You remember you remember the cross            ∑7∑Tony; we knew each other since we were young.∑And
∑8∑street or around where it was?                        ∑8∑Myra.
∑9∑∑∑∑A.∑∑It was close by Central Park, right by         ∑9∑∑∑∑Q.∑∑What's Tony's last name?
10∑the tracks.                                           10∑∑∑∑A.∑∑Johnson.
11∑∑∑∑Q.∑∑And what brought you to his home?              11∑∑∑∑Q.∑∑Are you still friends with Tony
12∑∑∑∑A.∑∑He was just moving, as far as I know,          12∑Johnson?
13∑into the house.                                       13∑∑∑∑A.∑∑No.∑I haven't -- I haven't seen him
14∑∑∑∑Q.∑∑But what brought you to that house when        14∑since that time.
15∑he was moving into the house?                         15∑∑∑∑Q.∑∑And when you were over at the house in
16∑∑∑∑A.∑∑Oh, we -- my mother.∑I guess they              16∑19 -- November of 1991, did you speak at all with
17∑needed help and she said we're going to Rey's         17∑Reynaldo Guevara?
18∑house.                                                18∑∑∑∑A.∑∑Yes.∑We -- we spoke.∑He showed me
19∑∑∑∑Q.∑∑And what kind of help did your mother          19∑some -- some weapon that he had.∑I was assuming
20∑provide?                                              20∑that was his service weapon.
21∑∑∑∑A.∑∑Helping out I guess with furniture, but        21∑∑∑∑Q.∑∑Anything else?
22∑I was majority already helping out with other         22∑∑∑∑A.∑∑He -- he just talked about -- I
23∑things, you know, bags that they needed to be         23∑overheard him one day talking about -- as we were
24∑brought in, things like that.                         24∑moving, about some guy that had put a complaint


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WILLIAM NEGRON, 09/27/2021                                                                               Page 78..81
                                                     Page 78                                                        Page 80
∑1∑against him, a African-American man that had bit            ∑1∑Time is 12:08 p.m.
∑2∑him, and he laughed about it and said that, Like            ∑2∑BY MR. ENGQUIST:
∑3∑like it's going to go anywhere.                             ∑3∑∑∑∑Q.∑∑Okay.∑Now, sir, you were saying that
∑4∑∑∑∑Q.∑∑I just want to make sure I have this                 ∑4∑you heard things from I believe his son, his
∑5∑right.                                                      ∑5∑stepson, Reynaldo Guevara's stepson.∑Was that --
∑6∑∑∑∑∑∑∑∑∑You said he was talking about a                     ∑6∑is that Tony Johnson?
∑7∑complaint that Rey bit him or the man bit Rey               ∑7∑∑∑∑A.∑∑Correct.
∑8∑Guevara?                                                    ∑8∑∑∑∑Q.∑∑Okay.∑And you said you heard things
∑9∑∑∑∑A.∑∑I heard him say that the man bit him.                ∑9∑about Reynaldo Guevara.∑Was this before 19 --
10∑∑∑∑Q.∑∑The man bit him.                                     10∑before you were arrested in 1994 that you heard
11∑∑∑∑∑∑∑∑∑Okay.∑Any other conversations with                  11∑things about Reynaldo Guevara from Tony Johnson?
12∑Reynaldo -- was that during the moving time or              12∑∑∑∑A.∑∑Yes.
13∑during the November time that he gave -- he told            13∑∑∑∑Q.∑∑Okay.∑And what you did hear from Tony
14∑you the story about -- or you overheard him talking         14∑Johnson prior to 1994 which made you not want to
15∑about a complaint against him?                              15∑become a police officer anymore?
16∑∑∑∑A.∑∑I believe it was in the -- after the                 16∑∑∑∑A.∑∑He -- it was the way how he kept
17∑moving time in November.                                    17∑photographs in his house of certain individuals in
18∑∑∑∑Q.∑∑Okay.                                                18∑a shoebox.∑I kind of found it alarming.
19∑∑∑∑A.∑∑Yeah.                                                19∑∑∑∑∑∑∑∑∑But it was just when he talked about
20∑∑∑∑Q.∑∑Did you have any other conversations                 20∑that African-American guy and what he did and Tony
21∑with Reynaldo Guevara back in the November 1991             21∑being half -- half African-American himself, it
22∑time you were at his house?                                 22∑kind of gave a different view of how -- how I
23∑∑∑∑A.∑∑As far as that, pertaining to anything               23∑viewed him.∑But he was telling me that -- as I
24∑alarming like that, no.∑But other than that, we             24∑continued talking with him, how he had threatened


                                                  Page 79                                                           Page 81
∑1∑were just talking about he wanted me to -- see what         ∑1∑Tony of -- about putting a case on him if he
∑2∑I wanted to do in life, maybe become a cop or               ∑2∑misbehaved.
∑3∑something like that.                                        ∑3∑∑∑∑Q.∑∑Anything else?
∑4∑∑∑∑Q.∑∑And did you have a goal in what you                  ∑4∑∑∑∑A.∑∑As far as?
∑5∑wanted to be in life?                                       ∑5∑∑∑∑Q.∑∑That Tony told you.
∑6∑∑∑∑A.∑∑During the time, I -- I wanted to                    ∑6∑∑∑∑A.∑∑That Tony told me, yeah, that's about
∑7∑become in the force, but to be honest, after seeing         ∑7∑it.
∑8∑things like that of his conduct, things that --             ∑8∑∑∑∑Q.∑∑Okay.∑Do you know if Reynaldo Guevara
∑9∑what his stepson was telling me and what I was              ∑9∑ever put a case on Tony?
10∑hearing, it kind of like changed -- changed                 10∑∑∑∑A.∑∑Not that I know of.
11∑everything for me.                                          11∑∑∑∑Q.∑∑And you said you also heard other
12∑∑∑∑Q.∑∑Well, when you said changed everything               12∑things about Reynaldo Guevara, other than things
13∑for you, was this after your arrested or before you         13∑you heard from Tony, which caused you not to want
14∑were arrested, sir?                                         14∑to become a police officer anymore.
15∑∑∑∑A.∑∑It was during the time, man.                         15∑∑∑∑∑∑∑∑∑And what were those things, sir?
16∑∑∑∑Q.∑∑You need a minute, sir?                              16∑∑∑∑A.∑∑How he would -- Myra -- I mean, sorry
17∑∑∑∑∑∑∑∑∑Okay.∑Why don't we take a five                      17∑Marcy, she -- she didn't want to stay with him
18∑minutes, Lindsay, and then we can come back on.             18∑because, according to her, that she was -- she had
19∑Okay?                                                       19∑witnessed him I guess getting physical with Mary
20∑∑∑∑MS. HAGY:∑Okay.                                          20∑and threatening as far as them with the kids being
21∑∑∑∑THE VIDEOGRAPHER:∑We are off the record at               21∑that they're not his biological and that's his
22∑12:01.                                                      22∑house.∑So she really didn't want to stay under his
23∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)                                   23∑roof, so she was living elsewhere.
24∑∑∑∑THE VIDEOGRAPHER:∑We are back on the record. 24∑∑∑∑Q.∑∑I'm sorry.∑Just a second.


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WILLIAM NEGRON, 09/27/2021                                                                                    Page 82..85
                                                         Page 82                                                          Page 84
∑1∑∑∑∑∑∑∑∑∑You said Marcy.∑Who is Marcy?                           ∑1∑told you that she was afraid of Reynaldo Guevara?
∑2∑∑∑∑A.∑∑Marcy is the third child from Mary                       ∑2∑∑∑∑A.∑∑Not at the house, no.∑I ended up
∑3∑Arman from -- they're under Bill Johnson, their                 ∑3∑bumping into her at a different location.
∑4∑biological father.                                              ∑4∑∑∑∑Q.∑∑Okay.∑What location?
∑5∑∑∑∑Q.∑∑Anything else that you heard?∑You                        ∑5∑∑∑∑A.∑∑Close by like Haddon and Washtenaw.
∑6∑heard something from Marcy and from Tony.∑Anything              ∑6∑∑∑∑Q.∑∑Were you with anybody when this
∑7∑else that you heard about Reynaldo Guevara which                ∑7∑conversation took place between you and Marcy?
∑8∑made you not want to become a police officer?                   ∑8∑∑∑∑A.∑∑No.∑I was just walking by and I bumped
∑9∑∑∑∑A.∑∑As far as Marcy says -- like as far as                   ∑9∑into her.∑She said she lived nearby and we just
10∑Marcy, she says that she -- she couldn't really be              10∑started talking.∑I asked her, you know, when's the
11∑around him out of fear because, you know, he was                11∑last time she ever seen her mom, things like that.
12∑kind of like threatening and she was kind of scared             12∑And that's when she started expressing to me as far
13∑of him.                                                         13∑as, you know, about him and as to why.
14∑∑∑∑∑∑∑∑∑So I -- I figured, you know, if                         14∑∑∑∑Q.∑∑Okay.∑Was this before or after the --
15∑their -- if he's like that and he's saying he's                 15∑after your next visit to Reynaldo Guevara's house
16∑putting cases on people, that's what would --                   16∑in 1993?
17∑basically it kind of changed my whole perspective               17∑∑∑∑A.∑∑Say again.
18∑on becoming a police officer during the time.                   18∑∑∑∑Q.∑∑Was this conversation with Marcy on the
19∑∑∑∑Q.∑∑Now, just to be clear, when you were                     19∑street, was this before or after your last visit to
20∑saying "putting cases on people," you were saying               20∑Reynaldo Guevara's house in 1993?
21∑that Tony said that he was threatened by his                    21∑∑∑∑A.∑∑That was in 1993, but it wasn't the
22∑stepfather, that he would put a case on him.                    22∑last-last time.∑That was, as far as like in
23∑∑∑∑∑∑∑∑∑Did anybody else tell that Rey was                      23∑1993 -- so there won't be no confusion, 1991 and
24∑threatening them to put a case on them?                         24∑'93 when I went to Guevara's house, within them two

                                                         Page 83                                                          Page 85
∑1∑∑∑∑A.∑∑During the time, no.                                     ∑1∑years is when I went with my mother.
∑2∑∑∑∑Q.∑∑Okay.∑And this is -- and I'm not                         ∑2∑∑∑∑Q.∑∑Okay.∑Before we go to 1993 when you
∑3∑trying to put a -- I'm trying to put a timetable on             ∑3∑went with your mother to Reynaldo Guevara's house,
∑4∑it.∑This was in between -- you heard these things               ∑4∑my question, though, this conversation you had with
∑5∑about Rey from both Marcy and Tony from November of             ∑5∑Marcy on the street, was this before or after your
∑6∑1991 until sometime before your arrest; is that                 ∑6∑visit in 1993 with your mom to Reynaldo Guevara's
∑7∑correct?                                                        ∑7∑house?
∑8∑∑∑∑A.∑∑Yes.                                                     ∑8∑∑∑∑A.∑∑That would have been after.
∑9∑∑∑∑Q.∑∑Okay.∑And do you have an idea of when                    ∑9∑∑∑∑Q.∑∑Now, this 1993 time when you went to
10∑you heard these things from them?                               10∑Reynaldo Guevara's house with your mom, do you
11∑∑∑∑A.∑∑It was -- as far as an exact month or                    11∑remember what time of year it was?
12∑date, no.                                                       12∑∑∑∑A.∑∑I believe it was close to like fall, if
13∑∑∑∑Q.∑∑Okay.∑Do you remember a year?                            13∑I'm correct.
14∑∑∑∑A.∑∑As far as Marcy, she had talked to me,                   14∑∑∑∑Q.∑∑And what was the reason for going to
15∑and that was in 1993.                                           15∑the house in 1993?
16∑∑∑∑Q.∑∑Okay.                                                    16∑∑∑∑A.∑∑She just -- my mother just wanted to
17∑∑∑∑A.∑∑As far as Tony, that was around in                       17∑visit her, to visit Mary, being that they were best
18∑1991.                                                           18∑friends.
19∑∑∑∑Q.∑∑Okay.∑All right.∑Now, you said you                       19∑∑∑∑Q.∑∑And why were you going?
20∑were back at his house in 1993.∑That was your --                20∑∑∑∑A.∑∑Majority, you know, being young, that
21∑your next time at his house?                                    21∑she was like, You got to come.∑I really didn't
22∑∑∑∑A.∑∑Yes.                                                     22∑kind of feel comfortable going to much because of
23∑∑∑∑Q.∑∑Was this -- was this time back in 1993,                  23∑Rey, but majority -- I just decided to tag along.
24∑is this the time you talked to Marcy where Marcy                24∑I had no choice, being young, and I figured, Well,


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                                                                                                                                    YVer1f
WILLIAM NEGRON, 09/27/2021                                                                                 Page 86..89
                                                       Page 86                                                      Page 88
∑1∑I could just go and hang out with Tony.                       ∑1∑him to know anything about me, so I'd just rather
∑2∑∑∑∑Q.∑∑Did you ever tell your mom about your                  ∑2∑not even tell him.
∑3∑concerns or how uncomfortable you were around                 ∑3∑BY MR. ENGQUIST:
∑4∑Reynaldo Guevara prior to this 1993 visit at                  ∑4∑∑∑∑Q.∑∑Okay.∑After the fall of 1993, were you
∑5∑Reynaldo Guevara's home?                                      ∑5∑ever at Reynaldo Guevara's house again?
∑6∑∑∑∑A.∑∑Yes.∑That 1993 -- in 1993, as we were                  ∑6∑∑∑∑A.∑∑Yes.
∑7∑leaving the leaving the house, I had told her.∑And            ∑7∑∑∑∑Q.∑∑When?
∑8∑that was the last time her and I went together.               ∑8∑∑∑∑A.∑∑In 1994, my mother received a phone
∑9∑∑∑∑Q.∑∑Okay.∑So that was after you were                       ∑9∑call from Mary and -- asking her how come she
10∑leaving?                                                      10∑doesn't come through to come and see -- see her
11∑∑∑∑A.∑∑Yes.                                                   11∑anymore.∑I -- during the time, I really don't know
12∑∑∑∑Q.∑∑Okay.∑So how long were you at Reynaldo                 12∑who she was talking to because I was in my bedroom
13∑Guevara's house back in 1993 in what you believe              13∑and she was in the kitchen phone.∑I heard her ask
14∑the fall?                                                     14∑three things to -- to my mother.∑And one of them
15∑∑∑∑A.∑∑We went there and -- and it was I could                15∑was who I hanged around with, what kind of car I
16∑say hours, but majority I hanged around with Myra             16∑drove, and if I still go to the neighborhood on
17∑and Tony.                                                     17∑Augusta.
18∑∑∑∑Q.∑∑Okay.∑So you hung out with the kids                    18∑∑∑∑Q.∑∑And when was this in 1994 that those
19∑and then when your mom was done you left; is that             19∑questions were being asked, who you hung out with,
20∑correct?                                                      20∑what kind -- what car you drove, and did you still
21∑∑∑∑A.∑∑Yeah.∑When -- basically they                           21∑hang out in Augusta?
22∑discussed -- you know, she socialized majority of             22∑∑∑∑A.∑∑It was around September '94.
23∑time with Mary.∑I really didn't want to even try              23∑∑∑∑Q.∑∑Okay.∑So I'm assuming you're hearing
24∑to talk to Guevara.∑But other than that, I was                24∑one side of the conversation; you're hearing your


                                                       Page 87                                                        Page 89
∑1∑just majority trying to entertain Tony and Myra.              ∑1∑mother's part of the conversation?
∑2∑∑∑∑Q.∑∑Okay.∑Did you have any contact with                    ∑2∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑3∑Reynaldo Guevara when you were at his house in the            ∑3∑∑∑∑THE WITNESS:∑After I heard what was going
∑4∑fall of 1993?                                                 ∑4∑on, I came out of the room and I asked my mother
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑who was she talking to.∑She explained herself as
∑6∑∑∑∑Q.∑∑And what was that?                                     ∑6∑to what was Mary asking her pertaining to me.
∑7∑∑∑∑A.∑∑We just -- at most it was like, How you                ∑7∑Because I'm hearing myself getting involved as far
∑8∑doing.∑He would ask me like if I'm joining any                ∑8∑as if I still go to the same neighborhood and --
∑9∑gangs.∑Like:∑Are you in any gang?∑You better not              ∑9∑and who I hanged around with and what kind of car I
10∑be in any gang.∑I will finds out.∑I -- I know all             10∑drive, and I'm hearing her giving the descriptions
11∑these guys, all these gang chiefs.∑So ...                     11∑regarding me, like what kind of car I drove, who I
12∑∑∑∑Q.∑∑At that point you were a member of the                 12∑hang with, things of that nature.
13∑Insane Dragons; isn't that correct?                           13∑∑∑∑∑∑∑∑∑So that's what drew my alarm to even
14∑∑∑∑A.∑∑Yes.                                                   14∑ask my mother who was she talking to.∑Once she
15∑∑∑∑Q.∑∑Okay.∑Did you tell him that you were a                 15∑told me, I immediately ran to the phone, hanged up
16∑member of the Insane Dragons?                                 16∑the phone on her.∑She got upset and stated, Don't
17∑∑∑∑A.∑∑No.                                                    17∑you ever do that.∑So I explained to her, Why do
18∑∑∑∑Q.∑∑Why not?                                               18∑you think she's asking these three questions and
19∑∑∑∑MS. HAGY:∑Objection; foundation, form.                     19∑you know her husband is.
20∑∑∑∑THE WITNESS:∑I was kind of scared of even                  20∑BY MR. ENGQUIST:
21∑letting him know.∑I just didn't know after hearing            21∑∑∑∑Q.∑∑Okay.∑Who did you hear your mother say
22∑all of these -- all of these accusations about him            22∑you hung out with?
23∑of how his conduct's been.∑I just -- I was kind of            23∑∑∑∑A.∑∑She was talking to Mary Arman, which is --
24∑scared of him during that time.∑I just didn't want            24∑∑∑∑Q.∑∑No.


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                                                                                                                                YVer1f
WILLIAM NEGRON, 09/27/2021                                                                                 Page 90..93
                                                      Page 90                                                           Page 92
∑1∑∑∑∑A.∑∑-- which is Rey Guevara --                            ∑1∑to -- to go -- it went out.∑Okay.∑I decided to
∑2∑∑∑∑Q.∑∑But who did you hear her say you hung                 ∑2∑drive to go and talk to her as to why she's asking
∑3∑out with?∑Who are the people -- when you were                ∑3∑these questions, and Guevara was there present.
∑4∑hearing her side of the conversation --                      ∑4∑∑∑∑Q.∑∑Okay.∑So how soon after the
∑5∑∑∑∑A.∑∑Yes.                                                  ∑5∑conversation on the phone your mother had with Mary
∑6∑∑∑∑Q.∑∑-- what names did your mother give when               ∑6∑did you hop in your car and go over to Reynaldo
∑7∑she was answering the question about who you hung            ∑7∑Guevara's house?
∑8∑out with?                                                    ∑8∑∑∑∑A.∑∑The next day.
∑9∑∑∑∑A.∑∑She was saying Flaco.∑She was asking                  ∑9∑∑∑∑Q.∑∑Okay.∑And do you remember when that
10∑me who do hang with, is it Flaco.∑And I said I               10∑was?
11∑haven't seen him in a while.∑But she said, Well,             11∑∑∑∑A.∑∑The exact date, no, but I just know it
12∑she wants to know if you've hanged around with him.          12∑was September.
13∑I said, Who you talking to?∑And she said, Well,              13∑∑∑∑Q.∑∑September of 1994, correct?
14∑what do -- what do they call him?∑And I said, They           14∑∑∑∑A.∑∑Correct.
15∑called him Joker, but why?∑And she -- she said,              15∑∑∑∑Q.∑∑Okay.∑And you said when you arrived at
16∑What kind of car you -- what kind of car is that             16∑the house, were you by yourself?
17∑that -- you know, that you drive?∑I said, it's a             17∑∑∑∑A.∑∑I was by myself, yes.
18∑Buick, you know.∑So she told her the color of the            18∑∑∑∑Q.∑∑Okay.∑And you said Reynaldo Guevara
19∑car.∑They started laughing about -- according to             19∑was home then?
20∑her that they were laughing about as far as like             20∑∑∑∑A.∑∑Yes.∑Reynaldo Guevara was there, Mary
21∑things sticking off from the back seat of my -- my           21∑Guevara, and Tony Johnson, and Dominic Guevara.
22∑bumper.∑She said it was the bumper in the back               22∑∑∑∑Q.∑∑So when you arrived there, who did you
23∑seat and how -- how I drive.∑And she asked like if           23∑speak to?
24∑I still go to Augusta to see my grandmother.                 24∑∑∑∑A.∑∑I just -- at first when I drove there,


                                                      Page 91                                                           Page 93
∑1∑∑∑∑Q.∑∑Okay.∑And who's Flaco?                                ∑1∑I -- I seen in the park heading towards his house,
∑2∑∑∑∑A.∑∑Flaco is -- my family name called                     ∑2∑I seen Dominic and Tony.∑I parked my car by the
∑3∑Roberto Almodovar, Jr. Flaco because he was really           ∑3∑park.∑I talked to them for a little bit.∑Then I
∑4∑skinny during the time.∑So that's means skinny in            ∑4∑walked towards Guevara.∑Tony wanted to know as to
∑5∑Spanish.                                                     ∑5∑why I was going to go see Guevara.∑And he just
∑6∑∑∑∑Q.∑∑So was your mother responding --                      ∑6∑said, Man, you're crazy for even trying to even
∑7∑according do your mother, whatever she told you,             ∑7∑talk to that guy after what I told you.
∑8∑was she responding to a direct question on whether           ∑8∑∑∑∑∑∑∑∑∑So I just wanted to see what was the
∑9∑or not you hung out with Roberto Almodovar, Jr.?             ∑9∑nature as to why all these three questions.∑You
10∑∑∑∑MS. BONJEAN:∑Form, foundation.                            10∑know, I just found it will really odd.∑So I seen
11∑∑∑∑MS. HAGY:∑Join.                                           11∑Guevara on the front of his house with Mary.∑Mary
12∑∑∑∑THE WITNESS:∑She was asking me, yes, if I                 12∑asked me where Sara at, did you come alone. I
13∑still hang around with him.∑And I told her the               13∑assumed that she thought that they were coming to
14∑truth, I haven't seen him in a long while.                   14∑visit.∑And I said, no, I came by myself.∑Guevara
15∑BY MR. ENGQUIST:                                             15∑asked me, do you have your license with you if
16∑∑∑∑Q.∑∑Okay.∑Putting aside that phone call,                  16∑you're driving over here.∑I told him the truth,
17∑when I was asking before, my question was after the          17∑no.∑I didn't have a license during the time, but
18∑fall visit in 1993, were you ever at Reynaldo                18∑he -- I asked them if -- why did -- you know, was
19∑Guevara's house again?                                       19∑she asking these questions.∑That's when Guevara
20∑∑∑∑A.∑∑Yes.∑When you had asked that, I                       20∑starting raising his voice a little bit and said,
21∑figured that you were asking as far as like with my          21∑Are you hanging with this guy?∑He's -- you know,
22∑mother.                                                      22∑He's a Dragon.∑And I said he's -- he's not a
23∑∑∑∑∑∑∑∑∑The last time I went was right after                 23∑Dragon.∑He's -- he left that stuff alone, you
24∑that conversation took place.∑I decided to drive             24∑know.∑And that's when he started -- he was saying


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                                                                                                                                  YVer1f
WILLIAM NEGRON, 09/27/2021                                                                         Page 94..97
                                              Page 94                                                           Page 96
∑1∑about a sawed-off shotgun.∑He said, How come he       ∑1∑∑∑∑A.∑∑Yes.∑There's only -- his house is two
∑2∑got caught with a shotgun if he's not a Dragon. I     ∑2∑houses away from the corner, so I went to the third
∑3∑told him, I don't know, but I know he's not part of   ∑3∑house that's on his side.
∑4∑that have anymore.∑So I told Mary why would she       ∑4∑∑∑∑Q.∑∑Why did you go to that house?
∑5∑asking these three questions from my mom.∑Guevara     ∑5∑∑∑∑A.∑∑I knew that the people that originally
∑6∑said, You better hope I don't get that case.          ∑6∑had the one on the corner, he had got rid of them,
∑7∑∑∑∑∑∑∑∑∑So I brought up something that I              ∑7∑according to what I overheard Mary had said a long
∑8∑wasn't supposed to.∑I brought up the thing that I     ∑8∑time ago, but it was over a phone call.∑And I
∑9∑had told you when -- what I heard in 1991.            ∑9∑heard my mother talking to Mary, and it was -- they
10∑∑∑∑Q.∑∑I'm sorry.∑Which -- which thing is             10∑were -- he was -- according to him, he said that
11∑this?                                                 11∑they were illegals and they weren't supposed to be
12∑∑∑∑A.∑∑With the guy that he said that put a           12∑here.∑So he -- they said he got rid of them.∑So I
13∑complaint on him, the African-American guy.∑He --     13∑figured nobody living at that house, so I went to
14∑he got angry at Mary and looked at her and said,      14∑the other house.
15∑This is what you're telling him?∑You know, how did    15∑∑∑∑Q.∑∑Okay.∑Why did you go do -- did you
16∑he finds out?∑Did you say this to Sara?               16∑know these neighbors that you were knocking on the
17∑∑∑∑∑∑∑∑∑And, you know, I said, no, I heard            17∑door to make allegations about Reynaldo Guevara to?
18∑you.∑I heard you.∑I was by the stairs in the          18∑∑∑∑A.∑∑I did not know him, but I didn't know
19∑back.∑He -- I started raising allegations towards     19∑what else to do.∑I was young.∑I knew he was -- he
20∑him that day and I said, Well, you know, you -- you   20∑was on some type of corruption.∑So I informed the
21∑got always an odd twist to things, of how you do      21∑neighbor that he was -- he was trying to frame
22∑things.∑They're not the right way.∑You know, with     22∑another person and he was trying to frame it sounds
23∑these pictures that he has.∑I mean, like who does     23∑like with me.∑Normally, you know, people look at a
24∑that?∑Keeping them in their house instead of their    24∑young child just running up to the door and just


                                              Page 95                                                           Page 97
∑1∑job area?∑It was -- him threatening Tony.             ∑1∑accusing, making accusations, are not, you know,
∑2∑∑∑∑∑∑∑∑∑So what really got him pissed off             ∑2∑going to take heed to that I'm really saying.
∑3∑was when I brought up Bill Johnson as well and I      ∑3∑∑∑∑Q.∑∑Okay.∑And did you speak to the
∑4∑told Mary, You should have stood with Bill Johnson.   ∑4∑neighbor and make these allegations?
∑5∑∑∑∑∑∑∑∑∑I -- I automatically went to the              ∑5∑∑∑∑A.∑∑Yes.
∑6∑neighbor and I knocked on the door and I told him     ∑6∑∑∑∑Q.∑∑Okay.
∑7∑what Guevara was trying do to and trying to frame     ∑7∑∑∑∑A.∑∑I knocked at his door, he answered, and
∑8∑Roberto Almodovar.∑He was yelling at me and he        ∑8∑I told him.
∑9∑says, Now I'm asking you where were you at?∑And I     ∑9∑∑∑∑Q.∑∑Okay.∑And do you remember what this --
10∑says, What are you talking about?∑And he says,        10∑do you know this person's name at all?
11∑There was a crime that had occurred and I want to     11∑∑∑∑A.∑∑No.
12∑know where you were at.∑And I said, Why are you       12∑∑∑∑Q.∑∑Do you know --
13∑concerned about me as far as where I was at?∑And      13∑∑∑∑A.∑∑I just knocked on the door.
14∑he says, Well, you better hope that I don't get       14∑∑∑∑Q.∑∑Okay.∑Do you know what he looked like?
15∑that case.                                            15∑∑∑∑A.∑∑He was a Caucasian man, kind of like
16∑∑∑∑∑∑∑∑∑And during the time I really didn't           16∑brownish -- brownish hair.
17∑know what he was talking about and he really didn't   17∑∑∑∑Q.∑∑And did this Caucasian man with
18∑explain himself, but he acted like I already knew     18∑brownish hair respond to you at all or did you just
19∑what he was talking about.                            19∑talked to him?
20∑∑∑∑Q.∑∑You said you went to a neighbor's house        20∑∑∑∑A.∑∑I talked to him and he came out of his
21∑and told them that he was trying to frame and         21∑house.∑He -- I didn't know that he knew Guevara.
22∑Roberto Almodovar, Jr.?                               22∑So he stepped out and he says, You know, what is
23∑∑∑∑∑∑∑∑∑Which -- which neighbor?∑Are you              23∑going on here?∑And he just kind of like smiled
24∑talking about Rey's neighbor?                         24∑like, What's going on with this guy?∑Why is this


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WILLIAM NEGRON, 09/27/2021                                                                                Page 98..101
                                                      Page 98                                                        Page 100
∑1∑guy saying these things about you.                           ∑1∑∑∑∑A.∑∑Yes.∑In -- I had called him in around
∑2∑∑∑∑∑∑∑∑∑Guevara was like You know I'm a cop,                 ∑2∑the time of 1990 -- 1997 in a collect call which he
∑3∑you know, I have a right to ask questions.∑That's            ∑3∑answered.∑We had talked.∑We talked about even
∑4∑my job.∑So the guy just made -- I guess Guevara              ∑4∑what we just discussed of me coming over there. I
∑5∑just made it seem like it was just procedure from            ∑5∑figured the reason also was just to somehow try to
∑6∑the police department, that being that he's a cop            ∑6∑prove my innocence that this guy was lying,
∑7∑that he has a right to ask these questions.                  ∑7∑Mr. Guevara in regards to not knowing me, for one.
∑8∑∑∑∑Q.∑∑And what did you do after that?                       ∑8∑For two, the nature as far as also for calling him
∑9∑∑∑∑A.∑∑I decided to leave.∑I was walking away                ∑9∑is why would you even accept a collect call from
10∑and he just told me, If you want to make any                 10∑somebody you don't even know.∑And it was -- the --
11∑complaints, you could always talk to Biebel or               11∑it was specifically from me because it would say my
12∑Mingey.∑Mingey's my sergeant.∑You can make a                 12∑name, but it was also to discuss to him that I did
13∑report on -- with him.                                       13∑not commit the crime.∑And to also talk to Mary as
14∑∑∑∑∑∑∑∑∑So I informed him, and I said, Why                   14∑well regarding that day of what we just discussed.
15∑do you -- you know, you know these guys, why would           15∑∑∑∑Q.∑∑Okay.∑Do you remember when in 1997 --
16∑I make an accusation if you know these guys?                 16∑let me go back.
17∑∑∑∑∑∑∑∑∑So I had left and I went in my car                   17∑∑∑∑∑∑∑∑∑In 1997, you would have been calling
18∑and that's it.                                               18∑collect from Cook County Jail, correct?
19∑∑∑∑MR. ENGQUIST:∑Okay.∑So we're about to move                19∑∑∑∑A.∑∑Yes.
20∑on to another section and we're at the time,                 20∑∑∑∑Q.∑∑Okay.∑And do you remember when in 1997
21∑actually a little after, that you wanted to take a           21∑you made this collect call to Reynaldo Guevara's
22∑break.                                                       22∑home?
23∑∑∑∑∑∑∑∑∑How long do you need for lunch,                      23∑∑∑∑A.∑∑It was around in the summertime. I
24∑Ms. Hagy?                                                    24∑know that.

                                                      Page 99                                               Page 101
∑1∑∑∑∑MS. HAGY:∑Half hour?∑Yeah, half hour.                     ∑1∑∑∑∑Q.∑∑And how did you happen to have his home
∑2∑∑∑∑MR. ENGQUIST:∑Are you sure you want a half                ∑2∑number?
∑3∑an hour?∑You took a little bit longer last time,             ∑3∑∑∑∑A.∑∑I had an interview -- like not
∑4∑so I'm asking.                                               ∑4∑interview, but notes from my mother and I from
∑5∑∑∑∑MS. HAGY:∑I know.∑I think William's a                     ∑5∑corresponding.∑And we were -- according to the
∑6∑faster walker.                                               ∑6∑notes, she had her -- his phone number on there, so
∑7∑∑∑∑MR. ENGQUIST:∑Do you want to take 45 minutes              ∑7∑I decided to give it a call and give it a shot.
∑8∑just to be safe?∑Because we were about an hour               ∑8∑∑∑∑Q.∑∑Do you still have any of these notes?
∑9∑last time.                                                   ∑9∑∑∑∑A.∑∑Not at hand, not right now, no.
10∑∑∑∑MS. HAGY:∑Sure.∑Thank you.                                10∑∑∑∑Q.∑∑But do you have them maybe not with you
11∑∑∑∑MR. ENGQUIST:∑Okay.∑45 minutes then.∑We'll                11∑right now, but do you have these notes that you and
12∑be back in about 45 minutes.                                 12∑mother shared about your murder case?
13∑∑∑∑THE VIDEOGRAPHER:∑Off the record at 12:37.                13∑∑∑∑A.∑∑I had them -- my mother has them at her
14∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)                                    14∑house.
15∑∑∑∑THE VIDEOGRAPHER:∑We are back on the record. 15∑∑∑∑MR. ENGQUIST:∑Okay.∑Lindsay, I'd like to
16∑Time is 1:31 p.m.                                            16∑get a copy of those.∑I didn't realize there were
17∑BY MR. ENGQUIST:                                             17∑other documents out there.
18∑∑∑∑Q.∑∑Okay.∑Sir, before we took a break, you                18∑∑∑∑MS. HAGY:∑Okay.∑We'll see if we can locate
19∑had gone through several occasions, ending with the          19∑those.
20∑occasion in September of 1994 where you spoke with           20∑∑∑∑MR. ENGQUIST:∑I appreciate it.
21∑Reynaldo Guevara.                                            21∑BY MR. ENGQUIST:
22∑∑∑∑∑∑∑∑∑Are there any other occasions that                   22∑∑∑∑Q.∑∑When's the last time you saw these
23∑you spoke with Reynaldo Guevara that we have not             23∑notes?
24∑talked about already?                                        24∑∑∑∑A.∑∑I -- I've had them for quite some time


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WILLIAM NEGRON, 09/27/2021                                                                            Page 102..105
                                                  Page 102                                                            Page 104
∑1∑now.∑I had since around that time of '97, but it             ∑1∑∑∑∑Q.∑∑Okay.∑And when he said he would do
∑2∑was based on letters from my mother.                         ∑2∑things for him.∑Did you just -- did you have an
∑3∑∑∑∑Q.∑∑Okay.∑You said you had these notes.                   ∑3∑understanding of what he was talking about?
∑4∑Were they in your possession until recently they             ∑4∑∑∑∑A.∑∑He didn't really go into any detail.
∑5∑were with your mother?                                       ∑5∑He just said that he does things for him, that he
∑6∑∑∑∑A.∑∑Yeah.∑After I was convicted for the                   ∑6∑kind of shows him things of how to go around
∑7∑Baez case, I sent everything because I didn't want           ∑7∑things, but he really didn't go into any depth.
∑8∑nothing to get lost because I was transitioning              ∑8∑∑∑∑Q.∑∑All right.∑And how long was this
∑9∑into the prison, so I sent everything to my                  ∑9∑collect phone call you had with Reynaldo Guevara?
10∑mother's house.                                              10∑∑∑∑A.∑∑I would say about maybe around 20 to
11∑∑∑∑Q.∑∑And when's the last time you saw them?                11∑25 minutes.
12∑∑∑∑A.∑∑When I was released, I was going                      12∑∑∑∑Q.∑∑Was this before or after your criminal
13∑through it -- through the paperworks, what she               13∑trial in the Baez case?
14∑saved, things like that.                                     14∑∑∑∑A.∑∑There was after.∑I was about to get
15∑∑∑∑Q.∑∑All right.∑Just going back to this                    15∑transitioned to the prison.
16∑collect phone call in 1997.∑You said you spoke to            16∑∑∑∑Q.∑∑Okay.∑Did you tell anybody about this
17∑Guevara about what we talked about.∑You're talking           17∑collect phone call you had with Reynaldo Guevara?
18∑about the time where you went to his house and               18∑∑∑∑A.∑∑I -- I didn't tell anybody because at
19∑accused him and -- of misconduct and you had that            19∑the time I didn't have an attorney.∑I was getting
20∑discussion with him on the front steps where you             20∑forwarded to the public defender's officer's for
21∑went to the neighbor.∑That's what we're talking              21∑the appellate division for appeals division, but
22∑about, correct?                                              22∑I -- I discussed it with them.∑But other than
23∑∑∑∑A.∑∑Correct.                                              23∑that, I don't really know as far as everybody was
24∑∑∑∑Q.∑∑Okay.∑So when you spoke to him about                  24∑just like, well, I'm just here doing the -- between

                                                     Page 103                                                         Page 105
∑1∑that, did he acknowledge that you accused him of             ∑1∑the appeals process, what's -- what's on record,
∑2∑misconduct in front of his house?                            ∑2∑what I could deal with, anything with newly
∑3∑∑∑∑A.∑∑Yeah.∑He's acknowledged.∑He said, I                   ∑3∑discovered evidence that has to deal as far as like
∑4∑know you were -- you felt a kind of way.∑He                  ∑4∑a post-conviction petition under newly discovered
∑5∑continued to agree that -- that I should have just           ∑5∑evidence.
∑6∑complained to his sergeant or if I wanted to choose          ∑6∑∑∑∑Q.∑∑Okay.∑So I'm -- there's a lot to
∑7∑a different pursuit of talking to people.∑I in               ∑7∑unpack there, but you -- I just want to make sure
∑8∑return informed Guevara that why would I accuse              ∑8∑I have this correct.
∑9∑them if -- why would I bring an accusation in front          ∑9∑∑∑∑∑∑∑∑∑Did you tell your appellate attorney
10∑of people that you already know?∑It just feels               10∑that you had this collect phone call with Reynaldo
11∑sort of like a conflict of interest; it wouldn't be          11∑Guevara from the Cook County Jail?
12∑fair.                                                        12∑∑∑∑A.∑∑Yeah.∑Her and -- him and I, we
13∑∑∑∑∑∑∑∑∑So -- and that was just in my eyes.                  13∑discussed and --
14∑So he -- he further started -- him and I started             14∑∑∑∑MS. HAGY:∑Don't discuss -- I'm instructing
15∑to, you know, talk.∑And I asked him, you know, Who           15∑him not to discuss conversations with his attorney.
16∑else do you know?∑And he says, Well, I do know               16∑BY MR. ENGQUIST:
17∑brother.∑And he just said that -- I asked him did            17∑∑∑∑Q.∑∑Did you tell anyone else about this
18∑he ever do anything, and he just said as far as              18∑conversation you had with Reynaldo Guevara over the
19∑Biebel, the one that he's more closer to, is the             19∑collect phone call?
20∑state attorney one, that he does things for him.             20∑∑∑∑A.∑∑Just as far as like my mother, I
21∑∑∑∑Q.∑∑The state's attorney one you're talking               21∑discussed it with her.∑And I believe that was
22∑about, Sergeant Biebel's brother, Rey was saying             22∑about it.
23∑he's close to?                                               23∑∑∑∑Q.∑∑Did you take any steps to get the
24∑∑∑∑A.∑∑That's what he was saying.                            24∑recording of this phone call?


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WILLIAM NEGRON, 09/27/2021                                                                            Page 106..109
                                                   Page 106                                                           Page 108
∑1∑∑∑∑A.∑∑I did not --                                        ∑1∑conversation in 1997, did you ever have any other
∑2∑∑∑∑MS. BONJEAN:∑Objection.                                 ∑2∑conversations with Reynaldo Guevara?
∑3∑∑∑∑THE WITNESS:∑-- know --                                 ∑3∑∑∑∑A.∑∑No.
∑4∑∑∑∑MS. BONJEAN:∑Hold on.                                   ∑4∑∑∑∑Q.∑∑Okay.∑Besides you saying now that
∑5∑∑∑∑∑∑∑∑∑Objection, form and foundation.                    ∑5∑Reynaldo Guevara mentioned Mr. -- or Sergeant
∑6∑∑∑∑∑∑∑∑∑You can answer, Willie.                            ∑6∑Biebel and then later on Biebel's brother, did you
∑7∑∑∑∑THE WITNESS:∑Yeah.∑I don't -- I don't know              ∑7∑know anything about Mr. -- Sergeant Biebel?
∑8∑how to even obtain something like that.∑I don't            ∑8∑∑∑∑A.∑∑No.∑That was about it that he had
∑9∑have the experience or even knowledge of even              ∑9∑discussed with me.∑Other than that, I -- I've
10∑trying to get something like that.                         10∑heard other accusations pertaining to -- to the
11∑BY MR. ENGQUIST:                                           11∑other parties, like as far as what the proceedings
12∑∑∑∑Q.∑∑Now, you are aware when you would make              12∑were that had took place during the evidentiary
13∑those phone calls that you would hear the -- the           13∑hearing.
14∑call indicate that the calls were being recorded?          14∑∑∑∑Q.∑∑But nothing from you, correct?
15∑There would be a --                                        15∑∑∑∑A.∑∑No.
16∑∑∑∑A.∑∑(Nodding.)                                          16∑∑∑∑Q.∑∑Okay.∑And you also mentioned that when
17∑∑∑∑Q.∑∑So you know -- is that correct?                     17∑you were in front of his house accusing Reynaldo
18∑∑∑∑A.∑∑Correct.∑That was also the reason why               18∑Guevara of misconduct, he said that you could talk
19∑I wanted.∑And I was hoping that he would accept            19∑to his sergeant, Mingey; is that correct?
20∑it, in which he did accept, and him and I discussed        20∑∑∑∑A.∑∑Correct.
21∑it.∑And that's one of the reasons, as I was                21∑∑∑∑Q.∑∑Is that the first time you ever heard
22∑telling you, that it was part of like trying to get        22∑the name Mingey?
23∑him in so many ways in perjury.∑Because why would          23∑∑∑∑A.∑∑Correct.
24∑a person that didn't know you accept a collect             24∑∑∑∑Q.∑∑Have you ever met Sergeant Mingey?

                                                   Page 107                                                           Page 109
∑1∑call?                                                      ∑1∑∑∑∑A.∑∑Not that I know of.
∑2∑∑∑∑Q.∑∑Okay.∑You filed some pro se post-                   ∑2∑∑∑∑Q.∑∑Okay.
∑3∑conviction motions in both this case and the Baez          ∑3∑∑∑∑A.∑∑I might have to --
∑4∑case; is that correct?                                     ∑4∑∑∑∑Q.∑∑Have you --
∑5∑∑∑∑A.∑∑Yes.                                                ∑5∑∑∑∑A.∑∑-- see him on his face.
∑6∑∑∑∑Q.∑∑Okay.∑Did you ever raise this                       ∑6∑∑∑∑Q.∑∑Have you ever seen Sergeant Biebel?
∑7∑conversation you had with Reynaldo Guevara in any          ∑7∑∑∑∑MS. BONJEAN:∑Let's him finish.∑He didn't
∑8∑of your own filings?                                       ∑8∑finish the last part of his -- did you catch that,
∑9∑∑∑∑MS. BONJEAN:∑Objection to the form and                  ∑9∑Ms. Court Reporter?
10∑foundation of that question.                               10∑∑∑∑THE COURT REPORTER:∑If he could repeat, make
11∑∑∑∑MS. HAGY:∑Join.                                         11∑sure I get --
12∑∑∑∑THE WITNESS:∑No, I didn't.∑I don't -- like              12∑∑∑∑MS. BONJEAN:∑He --
13∑I said, I don't have the experience in that type of        13∑∑∑∑THE WITNESS:∑I said I --
14∑field.                                                     14∑∑∑∑MS. BONJEAN:∑Go ahead, go ahead.∑Whatever
15∑BY MR. ENGQUIST:                                           15∑you --
16∑∑∑∑Q.∑∑Okay.∑Did any of your attorneys ever                16∑∑∑∑THE WITNESS:∑Not that I know of.∑I might
17∑raise this conversation you supposedly had with            17∑have to see him by face if anything.
18∑Reynaldo Guevara on a recorded line in any of their        18∑BY MR. ENGQUIST:
19∑post-conviction filings?                                   19∑∑∑∑Q.∑∑Have you ever seen a photograph of
20∑∑∑∑MS. HAGY:∑Foundation.                                   20∑Sergeant Mingey?
21∑∑∑∑MS. BONJEAN:∑Join.                                      21∑∑∑∑A.∑∑Nobody's never, as far as I know of,
22∑∑∑∑THE WITNESS:∑No.                                        22∑showed me and pointed out that that's Mingey.
23∑BY MR. ENGQUIST:                                           23∑∑∑∑Q.∑∑Okay.∑As far as you know, have you
24∑∑∑∑Q.∑∑After this recorded telephone                       24∑ever met Sergeant Biebel?


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WILLIAM NEGRON, 09/27/2021                                                                 Page 110..113
                                               Page 110                                               Page 112
∑1∑∑∑∑A.∑∑As far as Biebel, if anything, it would         ∑1∑arrests?
∑2∑have been taken place in -- when I was incarcerated    ∑2∑∑∑∑A.∑∑No.
∑3∑when Guevara picked me up.                             ∑3∑∑∑∑Q.∑∑Okay.∑Was Reynaldo Guevara involved in
∑4∑∑∑∑Q.∑∑You mean after your arrest?                     ∑4∑any of those arrests?
∑5∑∑∑∑A.∑∑Yeah.                                           ∑5∑∑∑∑A.∑∑No.
∑6∑∑∑∑Q.∑∑Okay.∑Do you recall ever -- ever                ∑6∑∑∑∑MS. BONJEAN:∑Objection, foundation.∑How
∑7∑dealing with any sergeants when you were at Area 5     ∑7∑would he know?
∑8∑after your arrest?                                     ∑8∑∑∑∑MS. HAGY:∑Join.
∑9∑∑∑∑A.∑∑If I ever had any dealings with them?           ∑9∑BY MR. ENGQUIST:
10∑∑∑∑Q.∑∑Yes.∑Any sergeants in Area 5.                   10∑∑∑∑Q.∑∑Do you recall any detectives being
11∑∑∑∑A.∑∑No.                                             11∑involved in either of those arrests?
12∑∑∑∑Q.∑∑All right.∑Do you know Carlos Olan is?          12∑∑∑∑MS. HAGY:∑Objection, foundation.
13∑∑∑∑A.∑∑I -- I probably met him a few times,            13∑∑∑∑MS. BONJEAN:∑Join.
14∑but I really don't know him.                           14∑∑∑∑THE WITNESS:∑The only -- the only officers,
15∑∑∑∑Q.∑∑Okay.∑Do you remember what his                  15∑they were just regular beat officers, that I know
16∑nickname was?                                          16∑of.
17∑∑∑∑A.∑∑I believe it was Popeye.                        17∑∑∑∑MR. ENGQUIST:∑Okay.∑All right.∑I'm going
18∑∑∑∑Q.∑∑Okay.∑Was he also an Insane Dragon?             18∑to share a screen.
19∑∑∑∑A.∑∑Back then, yes.                                 19∑∑∑∑∑∑∑∑∑What exhibit number are we on,
20∑∑∑∑Q.∑∑And when you said you "probably met him         20∑Ms. Court Reporter?
21∑a few times," where would you have met him?            21∑∑∑∑THE COURT REPORTER:∑4.
22∑∑∑∑A.∑∑Around Fairfield and Augusta.                   22∑BY MR. ENGQUIST:
23∑∑∑∑Q.∑∑Okay.∑Were you aware that he was                23∑∑∑∑Q.∑∑Okay.∑So this will be Exhibit
24∑killed back in 1994?                                   24∑Number 4.∑If I can get this to work.∑There we go.

                                               Page 111                                               Page 113
∑1∑∑∑∑A.∑∑I found out when I was incarcerated.            ∑1∑∑∑∑∑∑∑∑∑This is the Bate stamped CCSAO I
∑2∑∑∑∑Q.∑∑Prior to your arrest in 1994 by                 ∑2∑think 2019 -- or 219 and 220, I believe are the
∑3∑Detective Guevara, had you ever been arrested          ∑3∑numbers.
∑4∑before by the Chicago Police Department?               ∑4∑∑∑∑∑∑∑∑∑Sir, can you see this on the screen?
∑5∑∑∑∑A.∑∑Yes.                                            ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑Q.∑∑How many times?                                 ∑6∑∑∑∑Q.∑∑Okay.∑This is for a -- it looks like a
∑7∑∑∑∑A.∑∑If I recall correctly, I believe it was         ∑7∑March 9th, 1991, vehicle theft case report and it
∑8∑twice.                                                 ∑8∑has your name on it.∑You see that?
∑9∑∑∑∑Q.∑∑And what was it for?                            ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑A.∑∑Auto theft.                                     10∑∑∑∑Q.∑∑Okay.∑Is that one of the incidents you
11∑∑∑∑Q.∑∑What happened with -- are they both             11∑were talking about, sir?
12∑auto theft charges?                                    12∑∑∑∑A.∑∑It looks familiar, yes.
13∑∑∑∑A.∑∑Yes.                                            13∑∑∑∑Q.∑∑Okay.∑Do you remember who the other
14∑∑∑∑Q.∑∑And do you recall what happened with            14∑offenders were in this case?
15∑those cases?                                           15∑∑∑∑A.∑∑No.
16∑∑∑∑MS. HAGY:∑Objection; form, foundation,              16∑∑∑∑Q.∑∑Okay.∑And it has you down as Offender
17∑relevancy.                                             17∑Number 3.
18∑∑∑∑MS. BONJEAN:∑Yeah.∑I'm going to join that           18∑∑∑∑∑∑∑∑∑Do you remember driving the car at
19∑objection.                                             19∑the time, sir?
20∑∑∑∑THE WITNESS:∑It was based on -- I believe I         20∑∑∑∑A.∑∑I just got -- I just got to see which
21∑got probation for it.                                  21∑one.∑I don't want to give you the wrong -- but I
22∑BY MR. ENGQUIST:                                       22∑believe -- I believe I was driving the car.
23∑∑∑∑Q.∑∑And do you remember the officers that           23∑∑∑∑Q.∑∑Okay.∑All right.∑Now, we have a
24∑were involved in either one of those auto theft        24∑couple officers here on the bottom where it says


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WILLIAM NEGRON, 09/27/2021                                                                            Page 114..117
                                                        Page 114                                                 Page 116
∑1∑Reporting Officer's Name.∑Can you see that?∑I'm                 ∑1∑driving?
∑2∑not sure how big it is on your screen.                          ∑2∑∑∑∑A.∑∑It sounds -- it looks the exact match.
∑3∑∑∑∑A.∑∑Is that this one?                                        ∑3∑It was a gray Toyota Corolla.
∑4∑∑∑∑Q.∑∑I'm not sure if I can highlight.∑It's                    ∑4∑∑∑∑Q.∑∑Okay.
∑5∑where I have the blue.                                          ∑5∑∑∑∑A.∑∑Yeah.
∑6∑∑∑∑A.∑∑Yeah, I -- I see it.                                     ∑6∑∑∑∑Q.∑∑All right.∑And do you know the
∑7∑∑∑∑Q.∑∑Okay.∑It looks like a -- I think a                       ∑7∑officers that were involved in this case?
∑8∑Barth.∑I'm not quite sure.∑And a Cusack.∑And I'm                ∑8∑∑∑∑A.∑∑No.
∑9∑not even going try the third one.                               ∑9∑∑∑∑Q.∑∑Okay.∑There we go.∑This will be
10∑∑∑∑A.∑∑Cacioppo.                                                10∑Exhibit No. 5.
11∑∑∑∑Q.∑∑Cacioppo?                                                11∑∑∑∑THE COURT REPORTER:∑6.
12∑∑∑∑A.∑∑Yeah, could be Cacioppo.                                 12∑∑∑∑MR. ENGQUIST:∑Oh, 6.∑I'm sorry.
13∑∑∑∑Q.∑∑Do you remember any of those officers?                   13∑BY MR. ENGQUIST:
14∑∑∑∑A.∑∑No.∑If this was the one that happened                    14∑∑∑∑Q.∑∑And this is from November of 1992.
15∑on Augusta, I -- I wasn't -- I didn't even drive                15∑It's for vehicle theft.∑And this is a gray Toyota.
16∑the car.∑It was just standing there.∑Some people                16∑∑∑∑∑∑∑∑∑Is this the gray Toyota you were
17∑called and said that I was trying to break into the             17∑just speaking about?
18∑car.                                                            18∑∑∑∑A.∑∑It's -- whichever it is, it's one of
19∑∑∑∑Q.∑∑Okay.∑Waiting for my computer to                         19∑them that I was trying to explain that I was by
20∑respond.                                                        20∑Pulaski and close by Armitage and --
21∑∑∑∑∑∑∑∑∑Exhibit No. 5 this would be CCSAO                       21∑∑∑∑Q.∑∑I'm not sure if we can -- here it is.
22∑225 and I think 226.∑It's a case report from July               22∑I'm sorry.∑I wasn't sure I hit the share button
23∑19th, 1991, 07/19/1991 Case Report which is after               23∑correctly.
24∑the one we were just looking at, which was a March.             24∑∑∑∑∑∑∑∑∑Can you see that?

                                                        Page 115                                                 Page 117
∑1∑∑∑∑A.∑∑Yeah.                                                    ∑1∑∑∑∑A.∑∑Yeah.
∑2∑∑∑∑Q.∑∑It has your name on it as one of the                     ∑2∑∑∑∑MS. BONJEAN:∑I'm sorry.∑What's the Bates
∑3∑offenders.∑You see that, sir?                                   ∑3∑stamp for that?
∑4∑∑∑∑A.∑∑Yes.                                                     ∑4∑∑∑∑MR. ENGQUIST:∑Sure.∑It's CCSAO 221 and 222.
∑5∑∑∑∑Q.∑∑Okay.∑If you have a chance, you can                      ∑5∑∑∑∑MS. BONJEAN:∑Is that the one we already did?
∑6∑read the -- read the summary below.∑I want to see               ∑6∑∑∑∑MR. ENGQUIST:∑No.
∑7∑if that refreshes your recollection.                            ∑7∑∑∑∑MS. BONJEAN:∑Okay.
∑8∑∑∑∑∑∑∑∑∑Okay.∑Let me know when you want me                      ∑8∑∑∑∑MR. ENGQUIST:∑The one we already did was 219
∑9∑to move to the next page.                                       ∑9∑and 220, and then we did a case report after that.
10∑∑∑∑A.∑∑You can move to the next one.                            10∑∑∑∑MS. BONJEAN:∑Thank you.
11∑∑∑∑∑∑∑∑∑All right.∑Next.                                        11∑∑∑∑THE WITNESS:∑Yeah.∑This looks like the one
12∑∑∑∑Q.∑∑There's not another page.                                12∑that I was explaining to you.
13∑∑∑∑A.∑∑Okay.                                                    13∑BY MR. ENGQUIST:
14∑∑∑∑Q.∑∑Okay.∑Is this the situation you were                     14∑∑∑∑Q.∑∑Okay.∑So this is one's like the gray
15∑talking about where you said you were standing by a             15∑Toyota one that you said you were caught driving?
16∑car and they said you were standing by a car and                16∑∑∑∑A.∑∑Yes.
17∑they said you were attempting to break in it or                 17∑∑∑∑Q.∑∑Okay.∑Do you recall who was with you
18∑going to?                                                       18∑on any of these occasions, the three occasions we
19∑∑∑∑A.∑∑No.∑This is the one that -- if I                         19∑just went through?
20∑recall correctly, this is the gray car.∑I was -- I              20∑∑∑∑A.∑∑No.
21∑was driving in a gray Toyota and they apprehended               21∑∑∑∑Q.∑∑Okay.∑Without knowing who they are
22∑me -- they apprehended me on Fullerton and Central              22∑exactly, can you tell me whether or not they were
23∑Park.                                                           23∑members of the Insane Dragons?
24∑∑∑∑Q.∑∑Okay.∑And is this a car you were                         24∑∑∑∑A.∑∑No.∑I wouldn't -- I wouldn't know, to


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                                                                                                                            YVer1f
WILLIAM NEGRON, 09/27/2021                                                                         Page 118..121
                                                   Page 118                                                   Page 120
∑1∑be honest.                                                   ∑1∑people in the car that -- that pulled you over?
∑2∑∑∑∑Q.∑∑Okay.∑Other than those auto thefts,                   ∑2∑∑∑∑A.∑∑Yes.
∑3∑can you recall any other times that you were                 ∑3∑∑∑∑Q.∑∑Okay.∑Do you remember a Detective
∑4∑arrested by Chicago police?                                  ∑4∑Troken?
∑5∑∑∑∑A.∑∑No.∑That about it.                                    ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑Q.∑∑About it or it?                                       ∑6∑∑∑∑Q.∑∑Okay.∑And who is Detective Troken?
∑7∑∑∑∑A.∑∑Well besides everything of my                         ∑7∑∑∑∑A.∑∑I just know he was the detective that
∑8∑testimony, that's about it.                                  ∑8∑was also there.∑But as far as I know, they was
∑9∑∑∑∑Q.∑∑Okay.∑Did you ever get arrested by any                ∑9∑saying that it was Polinski, but I really don't
10∑other agencies other than Chicago Police                     10∑know.
11∑Department?                                                  11∑∑∑∑Q.∑∑Okay.∑Do you remember two gang crime
12∑∑∑∑A.∑∑No.                                                   12∑specialists also being present during your arrest?
13∑∑∑∑Q.∑∑Okay.∑Now, earlier you said you                       13∑∑∑∑A.∑∑No.
14∑thought you learned of Carlos Olan's murder, it was          14∑∑∑∑Q.∑∑Okay.∑Do you know a gang crimes
15∑after you were incarcerated, you said?                       15∑specialist by the name of Rodriguez?
16∑∑∑∑A.∑∑Yes.                                                  16∑∑∑∑A.∑∑No.
17∑∑∑∑Q.∑∑Okay.∑Did you learn it -- I'm sorry.                  17∑∑∑∑Q.∑∑How about Wiora?
18∑Did -- when you say "incarcerated," I have a                 18∑∑∑∑A.∑∑No.
19∑different term.∑Was it after your arrest but                 19∑∑∑∑Q.∑∑And how many days after your
20∑before you were in Cook County Jail or was it after          20∑confrontation with Rey in front of his house was it
21∑you were in Cook County Jail?                                21∑that you were arrested?
22∑∑∑∑A.∑∑It was once I was charged for the case                22∑∑∑∑A.∑∑It was matter of days.∑I would say
23∑and while I was in Cook County Jail.                         23∑maybe -- I will say -- estimate like five days.
24∑∑∑∑Q.∑∑Okay.∑All right.∑Now, when you were                   24∑∑∑∑Q.∑∑And in between the time that you

                                                     Page 119                                                 Page 121
∑1∑arrested in this case, what I'm talking about, I'm           ∑1∑confronted Reynaldo Guevara at his home and up
∑2∑talking about the Amos Merkes -- Amy Merkes and              ∑2∑until the arrest, did you see Reynaldo Guevara
∑3∑Jorge Rodriguez murder and the attempted murder of           ∑3∑at all?
∑4∑Jackie Grande.∑That's the case I'm speaking of.              ∑4∑∑∑∑A.∑∑After that?
∑5∑∑∑∑A.∑∑Okay.                                                 ∑5∑∑∑∑Q.∑∑Between the time that you confront him
∑6∑∑∑∑Q.∑∑Do you recall what day it was that you                ∑6∑at his house and you said approximately five or so
∑7∑were arrested?                                               ∑7∑days later that you were arrested, during that
∑8∑∑∑∑A.∑∑If I recall correctly, I think it was                 ∑8∑period of time, did you see Reynaldo Guevara at
∑9∑on a Thursday.∑I'm not too sure.                             ∑9∑all?
10∑∑∑∑Q.∑∑Would December 12th be -- sound correct               10∑∑∑∑A.∑∑Just at the court hearings.∑And
11∑to you?                                                      11∑then, of course, you know, when I was picked up for
12∑∑∑∑A.∑∑Yes.                                                  12∑the -- for the crime.
13∑∑∑∑Q.∑∑Okay.∑And where were you when you were                13∑∑∑∑Q.∑∑Yeah.∑I'm -- let me go back and see if
14∑arrested?                                                    14∑we can get this a little -- you had the
15∑∑∑∑A.∑∑When I was arrested, I was going home.                15∑confrontation with Reynaldo Guevara, you said, at
16∑Detective Guevara grabbed me on Spaulding, like the          16∑his home, correct?
17∑next block of Belle Plaine.∑And he had --                    17∑∑∑∑A.∑∑Correct.
18∑Halvorsen was there and I believe the other                  18∑∑∑∑Q.∑∑And then you said somewhere
19∑detective was Polinski (phonetic).                           19∑approximately five days later is when you were
20∑∑∑∑Q.∑∑Is who?                                               20∑arrested, correct?
21∑∑∑∑A.∑∑I think it was Polinski.∑I'm not sure.                21∑∑∑∑A.∑∑Yeah.
22∑∑∑∑Q.∑∑Polinski?                                             22∑∑∑∑Q.∑∑By Reynaldo Guevara?
23∑∑∑∑A.∑∑I think so.∑I'm not sure.                             23∑∑∑∑A.∑∑Correct.
24∑∑∑∑Q.∑∑Okay.∑So you had -- there were three                  24∑∑∑∑Q.∑∑Okay.∑In between the time you were at


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WILLIAM NEGRON, 09/27/2021                                                                               Page 122..125
                                                       Page 122                                                        Page 124
∑1∑his house having the confrontation and the time you            ∑1∑told me, he says:∑Don't say anything; he's going
∑2∑were arrested, during those five or so days, did               ∑2∑to try to talk to you, but just talk to me.∑But
∑3∑you see Reynaldo Guevara at all?                               ∑3∑he -- he just -- the only one of that was --
∑4∑∑∑∑A.∑∑No.                                                     ∑4∑majority talking through was just Guevara.
∑5∑∑∑∑Q.∑∑Okay.∑Did you see any -- did you have                   ∑5∑∑∑∑Q.∑∑Okay.∑And do you tell Detective
∑6∑contact with any police officers at all?                       ∑6∑Guevara that you had nothing to do with the murder
∑7∑∑∑∑A.∑∑No.                                                     ∑7∑of Amy Merkes and Jorge Rodriguez?
∑8∑∑∑∑Q.∑∑Okay.∑Now, you said -- you talked                       ∑8∑∑∑∑A.∑∑Correct.
∑9∑about Detective Halvorsen.∑Was he present at the               ∑9∑∑∑∑Q.∑∑Okay.∑And do you recall going in --
10∑location when you were arrested?                               10∑being put into any kinds of lineups?
11∑∑∑∑A.∑∑Yes.                                                    11∑∑∑∑A.∑∑Yes.∑Mr. Guevara, during our -- while
12∑∑∑∑Q.∑∑Okay.∑Can you describe him?                             12∑I was being interrogated, Guevara stated that if
13∑∑∑∑A.∑∑He has like pushed black -- pushed-back                 13∑you don't get picked out through the lineup, then
14∑hair.∑It looked like kind of like a grayish like,              14∑you're free to go, you have nothing to worry about.
15∑but it was dark outside.∑He has glasses.                       15∑∑∑∑Q.∑∑And do you know how many lineups you
16∑∑∑∑∑∑∑∑∑But he was the driver.∑Guevara was                     16∑were in?
17∑in the passenger side when they picked me up and               17∑∑∑∑A.∑∑Just that one.
18∑then the other gentleman was sitting next to me.               18∑∑∑∑Q.∑∑When you say "just that one," do you --
19∑∑∑∑Q.∑∑Okay.∑Did you have any conversations                    19∑were you told to stand up or told to move more than
20∑with Halvorsen?                                                20∑once or was it just that one time you remember
21∑∑∑∑A.∑∑No.                                                     21∑being back into that room?
22∑∑∑∑Q.∑∑Conversations at any time, either in                    22∑∑∑∑MS. BONJEAN:∑Objection to the form and
23∑the car or at the station?                                     23∑foundation of that question.
24∑∑∑∑A.∑∑No.                                                     24∑∑∑∑THE WITNESS:∑It was based on the -- just

                                                       Page 123                                                        Page 125
∑1∑∑∑∑Q.∑∑And the officer who was sitting next to                 ∑1∑for pertaining to this case, for the Guevara
∑2∑you in the back, did you have any conversations                ∑2∑incident with Merkes and Mr. Rodriguez.
∑3∑with that officer?                                             ∑3∑∑∑∑∑∑∑∑∑As far as I recall, it was just that
∑4∑∑∑∑A.∑∑No.                                                     ∑4∑one time that he just said, Go to -- you're going
∑5∑∑∑∑Q.∑∑Is it fair to say the only officer you                  ∑5∑to be, you know, into the lineup, and that was it.
∑6∑had conversations with, either at the scene of your            ∑6∑BY MR. ENGQUIST:
∑7∑arrest or at the police station, was Detective                 ∑7∑∑∑∑Q.∑∑Okay.∑Do you -- do you have any idea
∑8∑Guevara?                                                       ∑8∑how many witnesses viewed the lineup?
∑9∑∑∑∑A.∑∑Yes.∑Even in the car, I was trying to                   ∑9∑∑∑∑MS. HAGY:∑Objection.
10∑figure out why was I being arrested for, he just               10∑∑∑∑MS. BONJEAN:∑Objection.
11∑said it has to deal with your mother.                          11∑∑∑∑MS. HAGY:∑Form and foundation.
12∑∑∑∑Q.∑∑Did the "has to deal with your mother,"                 12∑∑∑∑MS. BONJEAN:∑Yeah.∑Joining the objection.
13∑was that before or after you got into the police               13∑∑∑∑THE WITNESS:∑I wouldn't even know.
14∑car?                                                           14∑BY MR. ENGQUIST:
15∑∑∑∑A.∑∑Once I was inside the police car.                       15∑∑∑∑Q.∑∑Okay.∑And when you were at that
16∑∑∑∑Q.∑∑Okay.∑And once you were at the police                   16∑lineup, did you know anybody that was in the
17∑station, you only spoke to Reynaldo Guevara,                   17∑lineup with you?
18∑correct, as --                                                 18∑∑∑∑A.∑∑Just the only one that I recognized, if
19∑∑∑∑A.∑∑Once I was at the police station, I                     19∑anything, was Mr. Almodovar.
20∑talked to Guevara.∑Guevara was the only one doing              20∑∑∑∑Q.∑∑And did you speak with Mr. Almodovar at
21∑the interrogation.∑He just informed me there's                 21∑all while you were at the police station that
22∑going to be a state attorney that's going to be                22∑night?
23∑coming in.∑He just told me, he says, Don't say                 23∑∑∑∑MS. BONJEAN:∑Objection, foundation.
24∑anything.∑Which kind of blew my mind.∑But he just              24∑∑∑∑THE WITNESS:∑No.


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WILLIAM NEGRON, 09/27/2021                                                                  Page 126..129
                                              Page 126                                                  Page 128
∑1∑BY MR. ENGQUIST:                                      ∑1∑Once the state attorney comes in, he's going to try
∑2∑∑∑∑Q.∑∑Can you describe the room you were in          ∑2∑to ask you some questions, just -- just say you
∑3∑when the lineup was taking place?                     ∑3∑don't know or just, you know, don't say anything.
∑4∑∑∑∑A.∑∑It was -- it was more like -- it has a         ∑4∑∑∑∑∑∑∑∑∑State attorney came in, into the
∑5∑glass -- like a glass frame, like a -- of a two-way   ∑5∑room, and he tried to talk to me, and I just told
∑6∑mirror, I would say.∑They had chairs in the back.     ∑6∑him, I have nothing to say.∑You know, so he just
∑7∑We would just lineup, you know, sit down, things      ∑7∑said, Well, you're -- you're going down for this.
∑8∑like that.∑But that was about it.∑It was just         ∑8∑∑∑∑Q.∑∑Okay.∑Do you remember any of the
∑9∑like a solid just a square room.∑It was -- looked     ∑9∑questions the state's attorney tried to ask you
10∑like one way in, one way out.                         10∑before you said you had nothing to say?
11∑∑∑∑Q.∑∑And when you were in that room, was            11∑∑∑∑A.∑∑He was just engaging as far as like,
12∑there any -- was there anybody from -- any police     12∑I would like to talk to you about what happened
13∑officer in that room with you and the other           13∑September 1st, 1994.∑But I said, I have nothing to
14∑participants of the lineup?                           14∑talk about; I want to see my attorney.∑So I just
15∑∑∑∑A.∑∑Just -- if anything, it was just               15∑went off from there.∑He seemed like he got upset
16∑standing on a door.                                   16∑and he said, You're just -- you're going to go down
17∑∑∑∑Q.∑∑Okay.∑And do you remember the officer          17∑for this.
18∑who was standing in the door?                         18∑∑∑∑Q.∑∑Okay.∑Earlier you were saying Reynaldo
19∑∑∑∑A.∑∑No.                                            19∑Guevara was saying, you know, not to talk to the
20∑∑∑∑Q.∑∑Okay.∑Do you recall your photograph            20∑state's attorney.∑Is that the reason why you asked
21∑being taken after the lineup?                         21∑for your -- your own attorney or is there some
22∑∑∑∑A.∑∑Yes.                                           22∑other reason why?
23∑∑∑∑Q.∑∑So what happened after the lineup; do          23∑∑∑∑MS. BONJEAN:∑I'm going to object to it
24∑you recall?                                           24∑mischaracterizes what he said, or at least only

                                              Page 127                                                  Page 129
∑1∑∑∑∑A.∑∑As far as I recall, I was like taken           ∑1∑partially characterizes what he said in his prior
∑2∑downstairs into just a holding room until I guess     ∑2∑testimony on that.
∑3∑I get processed.                                      ∑3∑∑∑∑MS. HAGY:∑Join.
∑4∑∑∑∑Q.∑∑When you say "downstairs," you went to         ∑4∑BY MR. ENGQUIST:
∑5∑the lockup area?                                      ∑5∑∑∑∑Q.∑∑Go ahead, sir.
∑6∑∑∑∑A.∑∑Correct.                                       ∑6∑∑∑∑A.∑∑I really didn't know as to why he -- he
∑7∑∑∑∑Q.∑∑You said a "holding room."∑Was it like         ∑7∑told me something like that.∑I believe, my
∑8∑a big, open, holding cell?                            ∑8∑personal opinion, he was just trying to gain some
∑9∑∑∑∑A.∑∑No.                                            ∑9∑type of trust with him.∑Maybe that was his tactic
10∑∑∑∑∑∑∑∑∑Are you talking about the lineup              10∑of -- of just playing devil's advocate and just
11∑or --                                                 11∑making it seem, Trust in me, not an attorney, to
12∑∑∑∑Q.∑∑You said after the lineup, you went            12∑get some type of agreements or bond in hopes that I
13∑downstairs to a holding --                            13∑would open up to him.∑And that's the only thing
14∑∑∑∑A.∑∑Oh, yes.                                       14∑that I could think of.
15∑∑∑∑Q.∑∑-- area.                                       15∑∑∑∑Q.∑∑Okay.∑My question is a little bit
16∑∑∑∑A.∑∑It was like -- well, they're kind              16∑different.
17∑of --∑to me they're kind of big.∑So they have         17∑∑∑∑∑∑∑∑∑Because what you say Reynaldo
18∑different -- different cages, different rooms.        18∑Guevara said to you about whether or not to talk to
19∑so to me it was like it kind of big, so that's        19∑the state's attorney, is that the reason why you
20∑what I mean by like one, big holding room.            20∑refused to talk to the states state's attorney?
21∑∑∑∑Q.∑∑Okay.∑At some point, do you remember           21∑∑∑∑MS. HAGY:∑Objection; mischaracterizes
22∑speaking at all to an assistant state's attorney?     22∑testimony, foundation.
23∑∑∑∑A.∑∑The state attorney, yes.∑When -- as I          23∑∑∑∑MS. BONJEAN:∑Join.
24∑was discussing with you, when he -- Guevara said,     24∑∑∑∑THE WITNESS:∑No.∑I -- I just didn't want to


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WILLIAM NEGRON, 09/27/2021                                                                       Page 130..133
                                               Page 130                                                       Page 132
∑1∑talk them because I really didn't trust too much of    ∑1∑∑∑∑Q.∑∑Did he threaten you?
∑2∑what was going on at that department based on what     ∑2∑∑∑∑A.∑∑No.∑Not at that time.
∑3∑I had explained before.                                ∑3∑∑∑∑MS. BONJEAN:∑Objection -- yeah, to the
∑4∑BY MR. ENGQUIST:                                       ∑4∑foundation of that, but -- but he provided it.
∑5∑∑∑∑Q.∑∑And I'm -- I'm sorry if I -- you're             ∑5∑BY MR. ENGQUIST:
∑6∑going to repeat yourself on something that I           ∑6∑∑∑∑Q.∑∑Would it be fair to say that after you
∑7∑missed, but you said you heard things about the        ∑7∑were charged, after you went to the lockup, were
∑8∑department, you didn't trust the department.∑Are       ∑8∑charged, the next time you spoke with anybody about
∑9∑talking about you didn't trust the state's             ∑9∑this case would have been after you were in
10∑attorney's office?                                     10∑court -- after you were sent over to Cook County
11∑∑∑∑A.∑∑I didn't trust people that were working         11∑Jail, I mean?
12∑inside there due to what I had stated before in        12∑∑∑∑MS. HAGY:∑Objection; form, foundation.
13∑regards to when I went to his house and I made         13∑∑∑∑MS. BONJEAN:∑Join.
14∑the -- the outburst to the gentleman that lived        14∑∑∑∑THE WITNESS:∑Yes.
15∑next door of people that he would know in that         15∑BY MR. ENGQUIST:
16∑department.∑So I really didn't really trust too        16∑∑∑∑Q.∑∑Okay.∑During -- prior to and during
17∑many people that worked in that department.            17∑your criminal trial, did you ever inform anybody of
18∑∑∑∑Q.∑∑Okay.∑This conversation or this quick           18∑the confrontation you had with Reynaldo Guevara
19∑conversation you had with the assistant state's        19∑outside his home?
20∑attorney, was that before or after you went            20∑∑∑∑MS. BONJEAN:∑Objection, asked and answered.
21∑downstairs to the lockup area?                         21∑∑∑∑THE WITNESS:∑Say it again.
22∑∑∑∑A.∑∑It was before I went to the lockup              22∑BY MR. ENGQUIST:
23∑area, yes.                                             23∑∑∑∑Q.∑∑I'll just make it simpler.
24∑∑∑∑Q.∑∑After you went to the lockup area,              24∑∑∑∑∑∑∑∑∑Did you ever inform any of your


                                               Page 131                                                       Page 133
∑1∑did you come -- did you ever come back upstairs to     ∑1∑attorneys that you had a confrontation with
∑2∑the -- to the area to be questioned again or talked    ∑2∑Reynaldo Guevara outside his home that you
∑3∑to again or did you just stay in the lockup area?      ∑3∑described to us today?
∑4∑∑∑∑A.∑∑No.∑As Detective Guevara stated, once           ∑4∑∑∑∑MS. BONJEAN:∑Objection.∑That is -- you're
∑5∑I was identified, that I will be charged.∑So once      ∑5∑asking him -- you're asking him to disclose a
∑6∑I was in the lockup area, I was soon to be             ∑6∑communication.∑That is improper.
∑7∑transported.                                           ∑7∑∑∑∑MS. HAGY:∑Join.
∑8∑∑∑∑Q.∑∑To Cook County Jail?                            ∑8∑∑∑∑MR. ENGQUIST:∑So are you going to instruct
∑9∑∑∑∑A.∑∑Correct.                                        ∑9∑him not to answer?
10∑∑∑∑Q.∑∑Okay.∑All right.∑I just want to make            10∑∑∑∑MS. HAGY:∑Yes, I am.
11∑sure I haven't missed anything.                        11∑∑∑∑∑∑∑∑∑Talk don't talk about
12∑∑∑∑∑∑∑∑∑You said you spoke with only                   12∑attorney/client communication.
13∑Reynaldo Guevara at the police department and an       13∑BY MR. ENGQUIST:
14∑assistant state's attorney; is that correct?           14∑∑∑∑Q.∑∑Do you know if your mother ever talked
15∑∑∑∑A.∑∑Correct.                                        15∑to your attorneys about your confrontation with
16∑∑∑∑Q.∑∑Okay.∑When you were talking about               16∑Reynaldo Guevara outside of his home?
17∑when you were speaking with Reynaldo Guevara,          17∑∑∑∑A.∑∑I really -- I really wouldn't know.
18∑you described it -- you described it as an             18∑∑∑∑Q.∑∑Okay.∑You told your mother about that,
19∑interrogation.                                         19∑though, didn't you?
20∑∑∑∑∑∑∑∑∑Were you ever hit during that time?            20∑∑∑∑A.∑∑Correct.
21∑∑∑∑A.∑∑No.∑Mr. Guevara, he's -- he never hit           21∑∑∑∑Q.∑∑Did you know whether or not Reynaldo
22∑me.                                                    22∑Guevara was ever confronted with these accusations
23∑∑∑∑Q.∑∑Did he yell at you?                             23∑of him framing you in this -- this interaction
24∑∑∑∑A.∑∑No.∑Not at that time.                           24∑outside of his home that you described during the


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WILLIAM NEGRON, 09/27/2021                                                                           Page 134..137
                                                  Page 134                                                         Page 136
∑1∑criminal trial?                                           ∑1∑∑∑∑A.∑∑Based on testimony from Mr. Saez
∑2∑∑∑∑MS. HAGY:∑Objection; form, foundation.                 ∑2∑stating that he seen the -- a shiny gun and then
∑3∑∑∑∑MS. BONJEAN:∑Join.                                     ∑3∑the ballistics saying it was from a .38 caliber.
∑4∑∑∑∑THE WITNESS:∑As far as I know, no. I                   ∑4∑∑∑∑Q.∑∑So did Mr. Guzman say that he saw a
∑5∑wouldn't have any knowledge of that.                      ∑5∑shiny, .38 caliber weapon?
∑6∑∑∑∑MR. ENGQUIST:∑And just to be clear, Lindsay,           ∑6∑∑∑∑A.∑∑Correct.∑He said he seen a .38 that
∑7∑just so -- because I don't want to go through a           ∑7∑was in the man's vehicle.∑He said that the
∑8∑budge of questions for no reason, you're going to         ∑8∑individual owned that -- that car, that looks
∑9∑maintain attorney/client privilege for any                ∑9∑almost like me.∑He also seen another weapon that
10∑communications he had with any of his criminal            10∑was dark that was another .38 that was in the car.
11∑defense attorneys?                                        11∑∑∑∑Q.∑∑So Mr. Guzman said that he -- did he
12∑∑∑∑MS. HAGY:∑Yes, I am.                                   12∑indicate that he knew the person who owned the car?
13∑∑∑∑MR. ENGQUIST:∑Okay.                                    13∑∑∑∑A.∑∑He -- Mr. Guzman was just stating that
14∑∑∑∑MS. HAGY:∑Thank you.                                   14∑he knew these individuals, but according to him
15∑BY MR. ENGQUIST:                                          15∑when I asked him if he actually knew them-knew
16∑∑∑∑Q.∑∑Now, while you were in the Cook County             16∑them, he says that, I just know them as being
17∑Jail, that's where you met Antonio Guzman; is that        17∑Cobras.
18∑correct?                                                  18∑∑∑∑Q.∑∑Okay.∑And if I remember correctly, you
19∑∑∑∑A.∑∑Correct.                                           19∑told me that Antonio Guzman, your understanding, he
20∑∑∑∑Q.∑∑And I believe you said -- sorry.                   20∑was a Spanish Cobra as well, correct?
21∑Haven't got to this yet.                                  21∑∑∑∑A.∑∑Correct.
22∑∑∑∑∑∑∑∑∑Did Antonio Guzman have information               22∑∑∑∑Q.∑∑Okay.∑Did you ever convey this
23∑about your murder case, the one involving Amy             23∑information that there was a witness in Cook County
24∑Merkes?                                                   24∑Jail who had -- who had information about your case


                                                  Page 135                                                         Page 137
∑1∑∑∑∑A.∑∑Yes.∑He was describing the -- the                  ∑1∑to anyone?
∑2∑case.∑I've never explained to him the exact               ∑2∑∑∑∑MS. BONJEAN:∑Objection, foundation.
∑3∑details, but he -- he described the kind of car,          ∑3∑∑∑∑THE WITNESS:∑As far as outside, no.∑Just as
∑4∑weapons that he had seen, and description of              ∑4∑far as just only my mother.∑Her and I, we
∑5∑individuals that look almost just -- according to         ∑5∑discussed it.
∑6∑him, one looked like me and the other one could           ∑6∑∑∑∑MS. BONJEAN:∑I'm going to object again to
∑7∑pass as my co-defendant, Roberto Almodovar.               ∑7∑the extent you're asking for -- I mean, I think
∑8∑∑∑∑Q.∑∑Okay.∑And what did he tell you -- now,             ∑8∑Lindsay did, but I assume you're not asking for
∑9∑when he described this case, how did he say he had        ∑9∑attorney/client communications, right?
10∑this knowledge?                                           10∑∑∑∑MR. ENGQUIST:∑I'm assuming that's why he
11∑∑∑∑A.∑∑He said that he had seen the car                   11∑looked over to her and -- and he said besides --
12∑that -- from his area, it wasn't too far from where       12∑∑∑∑MS. BONJEAN:∑I was -- listen.∑My screen was
13∑the crime had happened at.∑Since the case was             13∑small.∑I couldn't see anything.∑I had to open up
14∑lingering around through the media, I'm assuming he       14∑the screen.∑So I apologize if that's what
15∑got the information like as far as where exactly it       15∑happened.
16∑happened.∑But he was describing it that -- you            16∑∑∑∑MR. ENGQUIST:∑Okay.∑Let's just make it
17∑know, that he knew that we didn't do it, that these       17∑clear then.
18∑two individuals looked like us, and the                   18∑∑∑∑∑∑∑∑∑I'm assuming, Ms. Hagy, you're
19∑descriptions of the weapons that basically matched        19∑instructing him not to answer to the extent that it
20∑the crime, and which, in my recollection it was           20∑would call for any communications he had with his
21∑never, you know, stated through the media, the            21∑attorneys, correct?
22∑descriptions of the weapons, that I could recall.         22∑∑∑∑MS. HAGY:∑Yes, I am.
23∑∑∑∑Q.∑∑And what -- what was specific about the            23∑BY MR. ENGQUIST:
24∑weapons which drew your attention?                        24∑∑∑∑Q.∑∑Okay.∑When's the last time you


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WILLIAM NEGRON, 09/27/2021                                                                 Page 138..141
                                            Page 138                                                   Page 140
∑1∑spoke -- you -- I'm sorry.∑You said you kept in       ∑1∑sentenced in both murder cases, correct?
∑2∑contact with Antonio Guzman, correct?                 ∑2∑∑∑∑A.∑∑Correct.
∑3∑∑∑∑A.∑∑Yes.∑When I was -- when I was                  ∑3∑∑∑∑Q.∑∑Okay.∑And it was after the sentencing
∑4∑released.                                             ∑4∑and the Baez case that you went to IDOC, correct?
∑5∑∑∑∑Q.∑∑Okay.∑Do you have his phone number?            ∑5∑∑∑∑A.∑∑Yes, correct.
∑6∑∑∑∑A.∑∑I have to look it up in my phone.              ∑6∑∑∑∑Q.∑∑Okay.∑All right.∑We talked a little
∑7∑∑∑∑Q.∑∑Can you look it up for me and tell me          ∑7∑bit in a broad sense when you were talking about
∑8∑what it is?                                           ∑8∑things that you did while you were in IDOC, but I
∑9∑∑∑∑MS. BONJEAN:∑You're going to have him do an        ∑9∑just want to go through that in a little more
10∑investigation into his phone right now?               10∑detail.
11∑∑∑∑MR. ENGQUIST:∑I'm just having him look to          11∑∑∑∑∑∑∑∑∑Where were you housed in IDOC?∑What
12∑see if he can give me his phone number.∑I wouldn't    12∑facilities?
13∑call that really an investigation.                    13∑∑∑∑MS. HAGY:∑Objection.
14∑∑∑∑MS. BONJEAN:∑Well ...                              14∑∑∑∑THE WITNESS:∑I used to be in Menard
15∑∑∑∑THE WITNESS:∑It's 716.529.7661.                    15∑Correctional, Stateville, Joliet, and Pontiac, and
16∑∑∑∑MS. BONJEAN:∑Should we all call him right          16∑Dixon.
17∑now too?                                              17∑∑∑∑THE COURT REPORTER:∑I'm sorry.∑I missed
18∑∑∑∑MR. ENGQUIST:∑Maybe you can do that off the        18∑your objection before he answered.
19∑record, just not in the dep yet.                      19∑∑∑∑MS. HAGY:∑Oh, form.
20∑∑∑∑MS. BONJEAN:∑Well, I'm sure you'll issue a         20∑∑∑∑THE COURT REPORTER:∑Thank you.
21∑subpoena one day before discovery closes, which is    21∑BY MR. ENGQUIST:
22∑your methodology.                                     22∑∑∑∑Q.∑∑Okay.∑And where were you at first,
23∑∑∑∑MR. ENGQUIST:∑Well, considering I didn't           23∑which was the first place?
24∑have any information about Mr. Guzman being the       24∑∑∑∑A.∑∑Joliet.

                                            Page 139                                                   Page 141
∑1∑witness here, I didn't have any contact with him or   ∑1∑∑∑∑Q.∑∑And how long were you there?
∑2∑a lot of the story until now.∑Yeah, I might be        ∑2∑∑∑∑A.∑∑I was just there about -- I'll estimate
∑3∑changing a few things around.                         ∑3∑maybe about a month or less.
∑4∑∑∑∑MS. BONJEAN:∑You've -- you've been talking         ∑4∑∑∑∑Q.∑∑Okay.∑Where were you at next?
∑5∑about Antonio Guzman for these years.∑I don't know    ∑5∑∑∑∑A.∑∑The next one I want to was Pontiac.
∑6∑what you're talking about.∑All I ever hear is         ∑6∑∑∑∑Q.∑∑And do you remember what years you were
∑7∑about Baby Jaws and Antonio Guzman, so yeah, you --   ∑7∑at Pontiac?
∑8∑you did know about him.                               ∑8∑∑∑∑A.∑∑If I recall correctly, I think it was
∑9∑BY MR. ENGQUIST:                                      ∑9∑around from '98 -- '97 to '98.
10∑∑∑∑Q.∑∑Okay.∑Have you ever talked to Antonio          10∑∑∑∑Q.∑∑Okay.∑And do you remember who your
11∑Guzman about being a witness in this case?            11∑cellmate was or cellmates were at Pontiac?
12∑∑∑∑A.∑∑No.                                            12∑∑∑∑A.∑∑I had -- there were about like
13∑∑∑∑Q.∑∑Do you know if your attorneys ever got         13∑different nicknames we used to call them.∑I had
14∑in any contact with him?                              14∑one that was June Bug.∑And I had another one they
15∑∑∑∑MS. HAGY:∑I'm going to instruct him not to         15∑used to call him Bodiqua (phonetic) when I was in
16∑answer about attorney/client communication.           16∑Pontiac.∑This other guy I didn't -- I didn't know
17∑∑∑∑MS. BONJEAN:∑And work product privilege.           17∑his name.∑They just call him White Boy.∑The other
18∑∑∑∑∑∑∑∑∑Sorry, Lindsay.                               18∑one, it was some -- some guy; they used to call him
19∑∑∑∑MS. HAGY:∑No, I appreciate it.                     19∑Soul.∑And then I was with some other guy named
20∑BY MR. ENGQUIST:                                      20∑Bam.
21∑∑∑∑Q.∑∑Did you testify at all or give                 21∑∑∑∑Q.∑∑Okay.∑Do you know whether June Bug
22∑testimony at all in the Merkes murder case?           22∑belonged to a gang?
23∑∑∑∑A.∑∑No.                                            23∑∑∑∑A.∑∑I believe --
24∑∑∑∑Q.∑∑All right.∑Now, sir, you were                  24∑∑∑∑MS. HAGY:∑Objection; form, foundation.


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WILLIAM NEGRON, 09/27/2021                                                                 Page 142..145
                                            Page 142                                                   Page 144
∑1∑BY MR. ENGQUIST:                                      ∑1∑recall correctly.∑I believe it was the 5th of
∑2∑∑∑∑Q.∑∑Go ahead.                                      ∑2∑2018.
∑3∑∑∑∑A.∑∑I believe he was a Maniac Latin                ∑3∑∑∑∑Q.∑∑Okay.∑During any of the time that you
∑4∑Disciple.                                             ∑4∑were at IDOC, were you ever in the same facility as
∑5∑∑∑∑Q.∑∑Okay.∑And where were you after                 ∑5∑your co-plaintiff here, Mr. Almodovar?
∑6∑Pontiac?                                              ∑6∑∑∑∑A.∑∑Say again.
∑7∑∑∑∑A.∑∑After Pontiac I was sent to Stateville.        ∑7∑∑∑∑Q.∑∑Were you ever housed in the same
∑8∑∑∑∑Q.∑∑And how long were you at Stateville?           ∑8∑facility as Mr. Almodovar?
∑9∑∑∑∑A.∑∑I left Stateville in 2000.                     ∑9∑∑∑∑A.∑∑Are you referring to Roberto?
10∑∑∑∑Q.∑∑So '98 to 2000 roughly?                        10∑∑∑∑Q.∑∑Yes.
11∑∑∑∑A.∑∑Yes.                                           11∑∑∑∑A.∑∑Not in Dixon, no.
12∑∑∑∑Q.∑∑And do you remember any of your                12∑∑∑∑Q.∑∑At any of the institutions?
13∑cellmates there?                                      13∑∑∑∑A.∑∑We were at Menard, but not in the same
14∑∑∑∑A.∑∑Oh, wow.∑A guy by the name of Walter           14∑housing unit.
15∑Primus was my celly.∑I had -- I had so many.∑The      15∑∑∑∑Q.∑∑And how did you know that he was there?
16∑other one was a guy by the name of Stone, that was    16∑∑∑∑A.∑∑There was individuals that had informed
17∑his name.∑Another guy named Mohammed.∑And then        17∑me.
18∑there was another guy.∑I can't think of his name.     18∑∑∑∑Q.∑∑Okay.∑And when I said Almodovar, you
19∑I believe his name was Memo.                          19∑wanted me to specify which one.
20∑∑∑∑Q.∑∑Okay.∑And where did you go after               20∑∑∑∑∑∑∑∑∑Were you ever housed with any other
21∑Stateville?                                           21∑of Mr. Almodovar's relatives?
22∑∑∑∑A.∑∑After Stateville, I was sent to Pontiac        22∑∑∑∑A.∑∑I was with Edwin Almodovar in Dixon.
23∑again.                                                23∑∑∑∑Q.∑∑Now, we already went through different
24∑∑∑∑Q.∑∑Okay.∑And from when to when?                   24∑jobs that you had when you were at the IDOC.

                                            Page 143                                                   Page 145
∑1∑∑∑∑A.∑∑I was sent to Pontiac in -- like I             ∑1∑∑∑∑∑∑∑∑∑Did we -- earlier, did we cover all
∑2∑said, in 2000, and then I had went to Menard around   ∑2∑of those?
∑3∑2013, I believe.                                      ∑3∑∑∑∑A.∑∑I think so.∑Depends on you.
∑4∑∑∑∑Q.∑∑So you spent from 2000 to 2013 at              ∑4∑∑∑∑MS. BONJEAN:∑You want him -- you want him to
∑5∑Pontiac and then you went to Menard?                  ∑5∑do your job for your, Josh?
∑6∑∑∑∑A.∑∑Yes.                                           ∑6∑∑∑∑MR. ENGQUIST:∑Is that an objection or just a
∑7∑∑∑∑Q.∑∑And how long were you at Menard?               ∑7∑snide comment?
∑8∑∑∑∑A.∑∑I would say maybe like three months,           ∑8∑∑∑∑MS. BONJEAN:∑Just a -- just a snide comment.
∑9∑estimate.                                             ∑9∑∑∑∑MR. ENGQUIST:∑Snide comment.∑There we go.
10∑∑∑∑Q.∑∑And then where did you go from there?          10∑BY MR. ENGQUIST:
11∑∑∑∑A.∑∑Back to Pontiac.                               11∑∑∑∑Q.∑∑So why don't we go through it then.
12∑∑∑∑Q.∑∑Okay.∑And then how long were you at            12∑Why don't you tell me the different jobs you had in
13∑Pontiac then?                                         13∑IDOC.
14∑∑∑∑A.∑∑Until the -- the case was resolved             14∑∑∑∑A.∑∑When I was in IDOC, majority I worked
15∑from both of them.∑And that was like December of      15∑inside the kitchens when I was housed there.
16∑2000, I want to say, '18.                             16∑∑∑∑Q.∑∑Okay.∑Any other job besides kitchen
17∑∑∑∑Q.∑∑Okay.∑You said Dixon earlier.∑Was              17∑worker?
18∑that incorrect?                                       18∑∑∑∑A.∑∑Yes.∑I used to work the laundry
19∑∑∑∑A.∑∑No.∑Dixon, yeah.∑I went to Dixon               19∑department and the general store.
20∑after Pontiac, went I went to Pontiac again after     20∑∑∑∑Q.∑∑Anything else?
21∑Menard.                                               21∑∑∑∑A.∑∑As far as I recall, no.
22∑∑∑∑Q.∑∑And when were you at Dixon?                    22∑∑∑∑∑∑∑∑∑Oh, one more.∑Sorry.∑In Dixon
23∑∑∑∑A.∑∑I was at Dixon until my release, up            23∑before I was released I was working outside
24∑till September.∑I went to Dixon in December, if I     24∑grounds.


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WILLIAM NEGRON, 09/27/2021                                                                     Page 146..149
                                             Page 146                                                         Page 148
∑1∑∑∑∑Q.∑∑During the years you were in IDOC --          ∑1∑with those three unknown inmates that jumped you?
∑2∑actually, go back.                                   ∑2∑∑∑∑A.∑∑No.∑Not after that, no.
∑3∑∑∑∑∑∑∑∑∑Do you know the time that you were           ∑3∑∑∑∑Q.∑∑Any other physical injuries you
∑4∑in Cook County Jail, did you ever suffer any kind    ∑4∑suffered while you were at IDOC?
∑5∑of physical injuries?                                ∑5∑∑∑∑A.∑∑Besides them jumping on me, no.∑That's
∑6∑∑∑∑A.∑∑Not in Cook County Jail, no.                  ∑6∑about it.
∑7∑∑∑∑Q.∑∑During the time you were in IDOC, did         ∑7∑∑∑∑Q.∑∑I'm sorry.∑Was this the only incident?
∑8∑you ever suffer any kind of physical injuries?       ∑8∑∑∑∑A.∑∑No, that -- this was the only incident
∑9∑∑∑∑A.∑∑Yes.                                          ∑9∑that I could recall.
10∑∑∑∑Q.∑∑And what was -- what were those?              10∑∑∑∑Q.∑∑While you were at Cook County Jail, did
11∑∑∑∑A.∑∑I had my leg broken and my collarbone,        11∑you seek any kind of medical help for any kind of
12∑my left-side collarbone, hairline fracture.          12∑psychological or emotional problems?
13∑∑∑∑Q.∑∑You said left collarbone?                     13∑∑∑∑A.∑∑No.
14∑∑∑∑A.∑∑Yes.                                          14∑∑∑∑Q.∑∑While you were in IDOC, did you seek
15∑∑∑∑Q.∑∑And when did that happen?                     15∑any kind of mental health treatment?
16∑∑∑∑A.∑∑That was around when I was in                 16∑∑∑∑A.∑∑No.
17∑Stateville.∑I was jumped getting -- going to see     17∑∑∑∑Q.∑∑And I believe you already talked about
18∑my -- my mother.                                     18∑when you were in IDOC you did seek, several times,
19∑∑∑∑Q.∑∑Do you remember what year this would          19∑substance abuse counseling; although, you didn't
20∑have been?                                           20∑have a substance abuse problem, correct?
21∑∑∑∑A.∑∑It was roughly around 1999 to 2000.           21∑∑∑∑A.∑∑Yes, correct.∑There were programs that
22∑∑∑∑Q.∑∑Okay.∑And you said you were jumped.           22∑they were initiating to people who wanted to
23∑I'm assuming that was by other inmates?              23∑participate, so it was kind of like close to
24∑∑∑∑A.∑∑Yeah.∑It was three individuals. I             24∑vocational.

                                             Page 147                                                 Page 149
∑1∑was going to go see my mother and -- and three       ∑1∑∑∑∑Q.∑∑Since your release from prison, have
∑2∑individuals attacked me.                             ∑2∑you sought any kind of treatment for any kind of
∑3∑∑∑∑Q.∑∑Do you know who those inmates were?           ∑3∑physical problems you think stem from your time in
∑4∑∑∑∑A.∑∑No.                                           ∑4∑prison?
∑5∑∑∑∑Q.∑∑Do you know why you were jumped?              ∑5∑∑∑∑A.∑∑No.
∑6∑∑∑∑A.∑∑No.                                           ∑6∑∑∑∑Q.∑∑Since your release from prison, have
∑7∑∑∑∑Q.∑∑Did you report that at all to the --          ∑7∑you sought any kind of treatment for any kind of
∑8∑anybody within IDOC?                                 ∑8∑mental health -- any kind of mental health
∑9∑∑∑∑A.∑∑The staff automatically.∑I didn't need        ∑9∑treatment?
10∑to report it.∑The -- the officer took it upon        10∑∑∑∑A.∑∑No.
11∑himself to do whatever he did as far as writing an   11∑∑∑∑Q.∑∑Do you believe you suffer from any kind
12∑incident report.∑Beyond that, I have no idea.∑But    12∑of mental health problems from your time in prison?
13∑I -- I received semi like medical assistance.        13∑∑∑∑MS. HAGY:∑Objection; form, foundation.
14∑∑∑∑Q.∑∑You said "semi."∑What do you mean by          14∑∑∑∑THE WITNESS:∑I believe that -- based on what
15∑that?                                                15∑had happened, I believe I get like sort of like --
16∑∑∑∑A.∑∑When the incident occurred, I had -- I        16∑I guess like an anxiety.∑And sometimes I -- you
17∑kind of collapsed on the floor.∑I couldn't take      17∑know, I use to get depressed.∑I couldn't sleep
18∑the pain anymore.∑One of the nurses walked up to     18∑when I first came out.∑It took a little while to
19∑me when I was on the floor and he just said that,    19∑cope.∑So as some time went by, things started
20∑you should have just stood down.∑But other than      20∑getting better for me.
21∑that, he says we're -- we're switching shifts.∑And   21∑BY MR. ENGQUIST:
22∑by that time, they -- they shut down the whole       22∑∑∑∑Q.∑∑And how long before things started
23∑facility on lockdown because of the incident.        23∑getting better for you after your release?
24∑∑∑∑Q.∑∑Did you have any other interactions           24∑∑∑∑A.∑∑It took me about, I'll estimate maybe


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WILLIAM NEGRON, 09/27/2021                                                                                 Page 150..153
                                                     Page 150                                                   Page 152
∑1∑like maybe four months until I started getting a             ∑1∑based on, you know, as the case, how things were.
∑2∑good sleeping pattern.∑But when I first came out,            ∑2∑My mother kind of suffered a lot, you know, based
∑3∑I couldn't really sleep.∑I wasn't really adjusted            ∑3∑on it.∑And living with her during the time when I
∑4∑to how -- comparing to inside and out.                       ∑4∑was released, seeing how my grandmother was in her
∑5∑∑∑∑Q.∑∑And how do you sleep today?                           ∑5∑condition.∑It was -- kind of took an emotional
∑6∑∑∑∑A.∑∑I sleep a little bit more better, yes.                ∑6∑toll.∑And it took a little while for -- for my --
∑7∑∑∑∑Q.∑∑Okay.∑Have you ever sought any kind of                ∑7∑for my mother to like kind of overcome a little
∑8∑treatment for -- or any kind of help -- I'm sorry.           ∑8∑bit of her fears in which -- you know, being
∑9∑Let me go back.                                              ∑9∑incarcerated.
10∑∑∑∑∑∑∑∑∑Have you sought any kind of                          10∑∑∑∑Q.∑∑And just to be clear, when you were
11∑treatment for any kind of sleeping disorders?                11∑finally released from prison, you were released on
12∑∑∑∑A.∑∑No.                                                   12∑the Baez murder, correct?
13∑∑∑∑Q.∑∑You had said you had some -- what you                 13∑∑∑∑A.∑∑Correct.
14∑considered some kind of anxiety.                             14∑∑∑∑Q.∑∑Okay.∑Was there anything different --
15∑∑∑∑∑∑∑∑∑Can you describe what that anxiety                   15∑do you believe there was anything different about
16∑was like after your release?                                 16∑your time in prison based on the Baez case compared
17∑∑∑∑A.∑∑The anxiety was based on trying to                    17∑to the Merkes case?
18∑cope with society and that.∑Responsibilities.                18∑∑∑∑MS. HAGY:∑Objection; form, foundation.
19∑it was like a big toll on me because I was                   19∑∑∑∑THE WITNESS:∑I believe I guess the
20∑incarcerated when I was young, didn't have really            20∑difference is that I was exonerated on one and the
21∑responsibilities responsibility as being a teen              21∑other one I was -- I'm doing parole on.∑So I have
22∑comparing to an adult life of how to get your                22∑the conviction on one and the other one I don't.
23∑credit up, et cetera, how to do it.∑A lot of                 23∑BY MR. ENGQUIST:
24∑questions emerged in your head how you're going to           24∑∑∑∑Q.∑∑Okay.∑But do you believe there's


                                                     Page 151                                                          Page 153
∑1∑get basically good footing and try to find yourself          ∑1∑anything different about the time you spent in
∑2∑in society.                                                  ∑2∑prison or where you did time or how you did time
∑3∑∑∑∑Q.∑∑And have you overcome that anxiety?                   ∑3∑based on the Merkes murder compared to the Baez
∑4∑∑∑∑MS. HAGY:∑Objection; form, foundation.                    ∑4∑murder?
∑5∑∑∑∑THE WITNESS:∑I believe, yeah, majority of                 ∑5∑∑∑∑MS. BONJEAN:∑Objection just to the form of
∑6∑it.∑Yes, I have.∑But, of course, you know, things            ∑6∑that question.
∑7∑continue to get rough in society, so you got to              ∑7∑∑∑∑∑∑∑∑∑If you understand it, you can
∑8∑somehow figure out, you know, different obstacles            ∑8∑answer.
∑9∑if things are not helping you where you're at at             ∑9∑∑∑∑MS. HAGY:∑Speculation.
10∑this point.                                                  10∑∑∑∑THE WITNESS:∑If -- I believe that I would
11∑BY MR. ENGQUIST:                                             11∑have been most likely in a -- if I'm correct, if
12∑∑∑∑Q.∑∑And when you're talking different                     12∑this is what you're asking me, I believe I could
13∑obstacles that are coming up now.∑What -- what are           13∑have been in a better position and a better
14∑those different obstacles?                                   14∑penitentiary that could provide additional
15∑∑∑∑A.∑∑Like, say, for example, taxes go on up.               15∑educational programs than being in a max
16∑If you want to get a better future, like housing,            16∑penitentiary.∑I could have been in a medium
17∑getting into the housing market, things like that,           17∑facility or I could have never been incarcerated.
18∑could you financially, you know, with your salary            18∑BY MR. ENGQUIST:
19∑or do you need to improvise a little bit on a                19∑∑∑∑Q.∑∑And what did you base that on, that you
20∑different field to get better pay.∑So those are              20∑believe you that might have been at a different --
21∑the things that I'm inquiring about.                         21∑a medium facility if you were not convict of the
22∑∑∑∑Q.∑∑Okay.∑You mentioned some depression                   22∑Merkes homicide?
23∑after -- after your release.∑Was that correct?               23∑∑∑∑A.∑∑Based on -- based on the testimony of
24∑∑∑∑A.∑∑Yeah.∑It was some -- some depression                  24∑the Baez, the state attorney decided to call


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WILLIAM NEGRON, 09/27/2021                                                                        Page 154..157
                                                     Page 154                                                 Page 156
∑1∑Mr. Guevara into the Baez based on his testimony.            ∑1∑was no programs like that.∑When I was in -- being
∑2∑It was in our opinion that it was just to enhance            ∑2∑at the time that I was in Menard, I did not hear
∑3∑and to ensure that I received a natural life                 ∑3∑anything like that.∑It was never discussed to me
∑4∑sentence.                                                    ∑4∑as that.∑When I was in Pontiac, they had shut the
∑5∑∑∑∑∑∑∑∑∑And if I did not have the Merkes                     ∑5∑culinary down when I was back again the second
∑6∑case and Mr. Rodriguez case, I would've most likely          ∑6∑time.
∑7∑been capable of being in a medium facility.                  ∑7∑BY MR. ENGQUIST:
∑8∑∑∑∑Q.∑∑Okay.∑Now, you're saying Reynaldo                     ∑8∑∑∑∑Q.∑∑I'm sorry, which place had culinary
∑9∑Guevara testified in the Baez case.                          ∑9∑that got shut down?
10∑∑∑∑∑∑∑∑∑Was that in sentencing?                              10∑∑∑∑A.∑∑Pontiac.∑For just a small amount of
11∑∑∑∑A.∑∑Correct, that's in sentencing.                        11∑time, they had culinary.
12∑∑∑∑Q.∑∑Okay.∑And that was to prove up or to                  12∑∑∑∑Q.∑∑And when did they have culinary?
13∑bring up the -- the other conviction you had                 13∑∑∑∑A.∑∑They had culinary, if I'm correct, it
14∑already in the Merkes case, correct?                         14∑was around in 2000.∑But by the time with the list
15∑∑∑∑A.∑∑Correct.                                              15∑being long and then they -- they eliminated it.
16∑∑∑∑Q.∑∑Okay.∑Other than testifying that you                  16∑They don't have a culinary anymore.
17∑had been convicted of -- in the other murder case,           17∑∑∑∑Q.∑∑Well, did you try for it?
18∑what else did his testimony consist of?                      18∑∑∑∑A.∑∑Yeah.∑I tried for it, but she says
19∑∑∑∑A.∑∑I believe just -- just being adamant as               19∑that the list is kind of long, so eventually she
20∑far as, you know, he believes that we did it.                20∑had -- they had terminated the program, I guess,
21∑∑∑∑Q.∑∑And what -- you talked before about you               21∑because IDOC felt like it should be introduced into
22∑might have had a different kind of education or              22∑a medium security level instead of a max level.
23∑different things you could have done in different            23∑∑∑∑Q.∑∑During the time you were at IDOC, did
24∑prisons.                                                     24∑you ever -- what's the right term for it?∑Did you

                                                     Page 155                                                 Page 157
∑1∑∑∑∑∑∑∑∑∑What programs did you want to get                    ∑1∑ever get in trouble while you were there?∑Were you
∑2∑into -- want to do when you were in prison that you          ∑2∑ever get disciplined while you were there within
∑3∑were kept from doing because of where you were               ∑3∑IDOC?
∑4∑housed?                                                      ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑∑∑MS. HAGY:∑Objection; form, foundation.                    ∑5∑∑∑∑Q.∑∑What about?
∑6∑∑∑∑THE WITNESS:∑When I was sent to Dixon, they               ∑6∑∑∑∑A.∑∑I had -- one I had -- I had books that
∑7∑had different programs there that I couldn't                 ∑7∑weren't supposed to be -- that I didn't have --
∑8∑because I was -- my -- my time while still                   ∑8∑well, that I wasn't supposed to have.∑I was
∑9∑remaining in IDOC was minimal.∑So the programs,              ∑9∑holding it for my cellmate.∑Another one was nail
10∑they needed like a year or more in order to get              10∑clippers and I believe it was excessive soap.∑But
11∑involved in programs.∑So they had like creative              11∑that's the only ones that I could recall.
12∑arts programs.∑They had different type of programs           12∑∑∑∑Q.∑∑Were you ever put in segregation?
13∑that we could have gotten involved, but I couldn't.          13∑∑∑∑A.∑∑Yes.
14∑BY MR. ENGQUIST:                                             14∑∑∑∑Q.∑∑What for?
15∑∑∑∑Q.∑∑Besides creative arts, what other                     15∑∑∑∑A.∑∑The nail clippers.∑I've been to
16∑programs would you have liked to have been part of?          16∑segregation, if I recall correctly, under
17∑∑∑∑MS. HAGY:∑Objection, form.                                17∑investigation for -- for -- for playing cards with
18∑∑∑∑THE WITNESS:∑I was thinking more of like                  18∑a police officer -- well, a corrections officer.
19∑maybe, if anything, like culinary.                           19∑∑∑∑Q.∑∑Anything else?
20∑BY MR. ENGQUIST:                                             20∑∑∑∑A.∑∑Not that I could recall.
21∑∑∑∑Q.∑∑And the culinary training wasn't part                 21∑∑∑∑Q.∑∑And what was the -- the type of books
22∑of any facilities you stayed in earlier?                     22∑you were holding for your cellmate?
23∑∑∑∑MS. HAGY:∑Objection; form, foundation.                    23∑∑∑∑A.∑∑They were pornographic.∑And the market
24∑∑∑∑THE WITNESS:∑When I was in Stateville, there              24∑in there, they're -- they're worth money.∑So they


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WILLIAM NEGRON, 09/27/2021                                                                          Page 158..161
                                                 Page 158                                                      Page 160
∑1∑could only have a certain amount of room in your                ∑1∑admit that he was a member of the Dragons.
∑2∑correspondence box that is so big and high.∑So he               ∑2∑∑∑∑∑∑∑∑∑And he -- Olszewski continued to ask
∑3∑had excess amount of -- you know, he was to his                 ∑3∑us in return if we were Dragons as well, to James
∑4∑limit.∑I had room in my box.∑So he said if I                    ∑4∑Garcia and myself.
∑5∑could just hold it and I said okay.∑I didn't think              ∑5∑∑∑∑Q.∑∑Okay.∑Is this the first time you had
∑6∑of any harm in it, of just holding any books.                   ∑6∑any contact with Officer Olszewski, or you said
∑7∑∑∑∑MR. ENGQUIST:∑Okay.∑All right.∑Before I                      ∑7∑detective, Detective Olszewski?
∑8∑make a final push here going through some stuff, I              ∑8∑∑∑∑A.∑∑Yeah, detective.∑The other time was --
∑9∑was going to take a break.∑So we can take a good                ∑9∑I got pulled over from him.∑I was in the
10∑ten minutes.∑I'll be back.                                      10∑intersection between Grand and Fullerton by the car
11∑∑∑∑MS. HAGY:∑Thank you.                                         11∑wash, in which he pulled me over and told me to go
12∑∑∑∑THE VIDEOGRAPHER:∑We're off the record at                    12∑around, don't continue going down this way, go the
13∑2:51.                                                           13∑opposite way.
14∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)                                       14∑∑∑∑Q.∑∑Okay.∑The pulling over at Grand and
15∑∑∑∑THE VIDEOGRAPHER:∑We're back on the record.                  15∑Fullerton at a car wash, was that the first time
16∑The time is 3:02 p.m.                                           16∑you had contact with Officer Olszewski or the
17∑BY MR. ENGQUIST:                                                17∑second time?
18∑∑∑∑Q.∑∑Okay.∑You ready, sir?                                    18∑∑∑∑A.∑∑That was the -- actually, that was the
19∑∑∑∑A.∑∑Yes.                                                     19∑second time.
20∑∑∑∑Q.∑∑Okay.∑All right.∑I know we -- we've                      20∑∑∑∑Q.∑∑That was the second time?
21∑gone through your different conversations and your              21∑∑∑∑A.∑∑Um-hmm.
22∑interactions with Reynaldo Guevara, but let me make             22∑∑∑∑Q.∑∑And when was this, the pulling over by
23∑sure.                                                           23∑the car wash?
24∑∑∑∑∑∑∑∑∑Although you didn't speak with                          24∑∑∑∑A.∑∑Around in the beginning of September

                                                        Page 159                                               Page 161
∑1∑Detective Halvorsen, did you ever see him again                 ∑1∑of '94.
∑2∑after he drove you -- drove you to the police                   ∑2∑∑∑∑Q.∑∑September of 1994?
∑3∑station?                                                        ∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑A.∑∑Not that I could recall.                                 ∑4∑∑∑∑Q.∑∑And when he pulled you over, what kind
∑5∑∑∑∑Q.∑∑The other officer that was in the back                   ∑5∑of car was he driving?
∑6∑seat with you, did you ever see him again after you             ∑6∑∑∑∑A.∑∑He had a Chevy, a four-door Chevy, just
∑7∑were driven to the police station?                              ∑7∑a detective car.
∑8∑∑∑∑A.∑∑No.∑I don't -- I don't recall seeing                     ∑8∑∑∑∑Q.∑∑And was he by himself or with somebody?
∑9∑him ever since that day.                                        ∑9∑∑∑∑A.∑∑He was with another tall gentleman.
10∑∑∑∑Q.∑∑Do you know who an Officer Olszewski                     10∑The same guy that he was with when he pulled us
11∑is?                                                             11∑over with Gary.
12∑∑∑∑A.∑∑Yes.                                                     12∑∑∑∑Q.∑∑And what time of day was this?
13∑∑∑∑Q.∑∑And who is that?                                         13∑∑∑∑A.∑∑It was -- it was in -- maybe close to
14∑∑∑∑A.∑∑He's a detective from Area 5.                            14∑like, I want to say, 3:00 o'clock, 3:00 to 5:00.
15∑∑∑∑Q.∑∑And how do you know who he is?                           15∑∑∑∑Q.∑∑I'm sorry.∑You broke up.
16∑∑∑∑A.∑∑He had pulled us over with another                       16∑∑∑∑∑∑∑∑∑You said 3:00 to what?
17∑individual that I was with, Gary Garcia, James                  17∑∑∑∑A.∑∑I want to say -- estimate like 3:00 or
18∑Garcia, Amy Carrillo, and Marilyn, I believe her                18∑5:00 o'clock.
19∑name was.∑We were in a car before I was                         19∑∑∑∑Q.∑∑And what happened after he told you to
20∑incarcerated.                                                   20∑go the other way?
21∑∑∑∑∑∑∑∑∑He had pulled us over on California                     21∑∑∑∑A.∑∑I -- I just obliged.∑I -- I got in my
22∑close by Diversey.∑He -- he had Gary in -- in the               22∑car.∑He jumped in his car and I left.∑I went the
23∑back on the squad car.∑He was -- his partner was                23∑opposite way.
24∑punching him in the -- in the side to get him to                24∑∑∑∑Q.∑∑Now, when you say -- just go back.


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WILLIAM NEGRON, 09/27/2021                                                                   Page 162..165
                                                 Page 162                                               Page 164
∑1∑∑∑∑∑∑∑∑∑How did you know his name was                    ∑1∑∑∑∑A.∑∑Yeah.∑It looked like more what you
∑2∑Olszewski?                                               ∑2∑would where under a suit.
∑3∑∑∑∑A.∑∑Olszewski was pretty famous, but I -- I           ∑3∑∑∑∑Q.∑∑Okay.
∑4∑learned it from so many people that talked about         ∑4∑∑∑∑A.∑∑But, again, it was dark outside.
∑5∑him from him harassing people.∑He -- when I was in       ∑5∑∑∑∑Q.∑∑Okay.∑Was he wearing like a sport
∑6∑the car with Gary, Gary said that Olszewski              ∑6∑coat?
∑7∑continued to follow him previous to that same day.       ∑7∑∑∑∑A.∑∑It -- it kind of looked like he had one
∑8∑And that that day he pulled us over and, you know,       ∑8∑of them jackets, but, again, I really -- I really
∑9∑that's when that interaction occurred when they          ∑9∑don't know because it was really kind of dark.∑He
10∑were punching Gary in the side to get him to admit       10∑had me facing towards the car while he was patting
11∑that he was a Dragon.                                    11∑me down.∑If I had to glance, he would just -- you
12∑∑∑∑Q.∑∑Okay.∑So let's go to the first time               12∑know, told me to look forward.∑And when I looked
13∑you had contact with him when you're talking about       13∑to the side, to the left of me while he was looking
14∑Officer Olszewski's partner was punching Gary.           14∑at his partner to the right of him, he looked at
15∑∑∑∑A.∑∑Um-hmm.                                           15∑me, looking at to the left, and he said, If you
16∑∑∑∑Q.∑∑Okay.∑Did Officer Olszewski hit either            16∑want to run, try it; let's see how far you get.
17∑Gary or James or you or Amy?                             17∑∑∑∑Q.∑∑Okay.∑And the taller officer, the one
18∑∑∑∑A.∑∑No.∑Not to me, no.                                18∑that you said was six foot with a -- maybe a
19∑∑∑∑Q.∑∑Okay.∑Can you describe Officer                    19∑flattop, was he dressed similar to Officer
20∑Olszewski?                                               20∑Olszewski?
21∑∑∑∑A.∑∑He's -- back then a Caucasian man, at             21∑∑∑∑A.∑∑No.∑He was dressed in black.
22∑least maybe -- I want to say maybe like five foot        22∑∑∑∑Q.∑∑When you say "dressed in black," what
23∑two maybe.∑I don't know.                                 23∑do you mean?
24∑∑∑∑∑∑∑∑∑The other gentleman, he was a tall               24∑∑∑∑A.∑∑He had like really dark clothes.∑He

                                                 Page 163                                               Page 165
∑1∑guy.∑He's least like six foot maybe, I want to           ∑1∑didn't have nothing like a white color or anything
∑2∑say.∑Tall, skinny guy.                                   ∑2∑of a -- of a light color on him.
∑3∑∑∑∑Q.∑∑Okay.                                             ∑3∑∑∑∑Q.∑∑Okay.∑Was he also wearing more of a
∑4∑∑∑∑A.∑∑Looked like he had like a flattop, but            ∑4∑collared shirt or something else?
∑5∑I'm not sure.                                            ∑5∑∑∑∑A.∑∑From the -- from the distance, I
∑6∑∑∑∑Q.∑∑Anything other than Olszewski being a             ∑6∑couldn't really tell, but it looked like he had a
∑7∑white guy, maybe five two?                               ∑7∑jacket on.
∑8∑∑∑∑A.∑∑No.∑That's all I could think of.                  ∑8∑∑∑∑Q.∑∑Okay.∑Gary and James Garcia, were they
∑9∑∑∑∑Q.∑∑Okay.∑And how was he dressed when you             ∑9∑gang members?
10∑first met him when you -- when you said you were         10∑∑∑∑MS. HAGY:∑Objection; form, foundation.
11∑pulled over with Gary and James Garcia?                  11∑∑∑∑MS. BONJEAN:∑Join.
12∑∑∑∑A.∑∑It was -- when I was with Gary, it was            12∑∑∑∑THE WITNESS:∑James was I believe a Dragon.
13∑dark outside so -- but it looked like he had a           13∑Gary, I think as -- he was as well, but I really
14∑collared shirt.                                          14∑don't know during the time if Gary got out or what.
15∑∑∑∑Q.∑∑When you're saying "collared shirt,"              15∑BY MR. ENGQUIST:
16∑are you talking like a polo, like what --                16∑∑∑∑Q.∑∑And when was this first encounter with
17∑∑∑∑A.∑∑No.                                               17∑Officer Olszewski?
18∑∑∑∑Q.∑∑-- you're wearing right now or are you            18∑∑∑∑A.∑∑That was in 1994, I want to say, around
19∑talking --                                               19∑maybe in August.
20∑∑∑∑A.∑∑No.                                               20∑∑∑∑Q.∑∑Beginning of August, end of August, mid
21∑∑∑∑Q.∑∑All right.∑I'm sorry.∑Let me finish.              21∑August?∑What do -- what do you think?
22∑∑∑∑∑∑∑∑∑Are you talking more like a more                 22∑∑∑∑A.∑∑I would say around the middle to the
23∑kind of formal kind of almost like what you would        23∑beginning.
24∑wear underneath a suit?                                  24∑∑∑∑Q.∑∑And how long was this interaction you


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                                                                                                                     YVer1f
WILLIAM NEGRON, 09/27/2021                                                                 Page 166..169
                                               Page 166                                               Page 168
∑1∑and the Garcia brothers -- I'm sorry.∑Are they         ∑1∑looked and everything.∑It was more like a
∑2∑brothers?                                              ∑2∑receiving section.
∑3∑∑∑∑A.∑∑Yes.                                            ∑3∑∑∑∑Q.∑∑Okay.∑Was this on the first floor, the
∑4∑∑∑∑Q.∑∑The Garcia brothers, how long was the           ∑4∑second floor?∑Where was this?
∑5∑interaction you guys had with Officer Olszewski and    ∑5∑∑∑∑A.∑∑I would say on the first.
∑6∑his tall partner?                                      ∑6∑∑∑∑Q.∑∑Okay.∑And this receiving area that
∑7∑∑∑∑A.∑∑I would say matter of within                    ∑7∑you're talking about, can you describe how big it
∑8∑15 minutes.                                            ∑8∑was?
∑9∑∑∑∑Q.∑∑Were you ever arrested that night?              ∑9∑∑∑∑A.∑∑I -- I really can't describe it.
10∑∑∑∑A.∑∑He took us to the police station.               10∑it's -- it's -- it -- I know it was -- it was kind
11∑∑∑∑Q.∑∑When you say he took you to police              11∑of like painted white.∑The surrounding are all
12∑station, how did you get to the police station?        12∑white.∑The bench looked like it was painted white.
13∑∑∑∑A.∑∑He informed us to follow him.                   13∑∑∑∑Q.∑∑And what --
14∑∑∑∑Q.∑∑Okay.∑So the 15 minutes, is that                14∑∑∑∑A.∑∑And it --
15∑15 minutes on the street or 15 minutes total?          15∑∑∑∑Q.∑∑I'm sorry.
16∑∑∑∑A.∑∑15 minutes I would say in the street.           16∑∑∑∑A.∑∑It looked like it was like one way in,
17∑∑∑∑Q.∑∑Okay.∑And then he said he -- you were           17∑one way out.∑Soon as you come out of it, to the
18∑to follow him to the police station?                   18∑left is where we -- you would take the pictures.
19∑∑∑∑A.∑∑Yes.                                            19∑∑∑∑Q.∑∑Okay.∑When you were brought to this
20∑∑∑∑Q.∑∑Okay.∑And -- and, I'm sorry, were you           20∑room, was it all four of you together?
21∑driving or was Gary or James driving?                  21∑∑∑∑A.∑∑Yes.
22∑∑∑∑A.∑∑No.∑That was Gary's car.∑Gary was               22∑∑∑∑Q.∑∑Okay.∑Were any of you handcuffed?
23∑driving.                                               23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑And so did Gary do that; did Gary               24∑∑∑∑Q.∑∑Who was handcuffed?

                                               Page 167                                               Page 169
∑1∑follow him to the police station?                      ∑1∑∑∑∑A.∑∑I was handcuffed.∑Jimmy was
∑2∑∑∑∑A.∑∑Yes.                                            ∑2∑handcuffed, Gary.
∑3∑∑∑∑Q.∑∑And which police station was that?              ∑3∑∑∑∑Q.∑∑What about Amy?
∑4∑∑∑∑A.∑∑I believe it was Grand and Central.             ∑4∑∑∑∑A.∑∑As far as I could recall, all of us
∑5∑∑∑∑Q.∑∑And once you got to the police station,         ∑5∑were handcuffed.
∑6∑what happened next?                                    ∑6∑∑∑∑Q.∑∑Okay.∑When were you handcuffed?
∑7∑∑∑∑A.∑∑They put us in some type of room.∑It            ∑7∑∑∑∑A.∑∑As soon as we got to the station.
∑8∑was like -- it was different than when I was           ∑8∑∑∑∑Q.∑∑Okay.∑How big was this receiving room?
∑9∑charged.∑It didn't really have bars.∑It was more       ∑9∑∑∑∑A.∑∑Again, I -- I really can't explain. I
10∑like a receiving section.∑They put us there.           10∑would say maybe a like the size of this room that
11∑They -- they sat us down and everything.∑And it        11∑I'm in now.∑I really don't know the size of this
12∑was -- he was informing some other detectives, I       12∑room, but it's -- it's kind of a big -- not that
13∑don't know from what, but it was based on to obtain    13∑big, but it's a -- it's a good, decent size.
14∑pictures.                                              14∑∑∑∑MR. ENGQUIST:∑Okay.∑Lindsay, since I'm not
15∑∑∑∑Q.∑∑Okay.∑Now, when you were brought to             15∑there, can you -- is there any way I can get an
16∑the station, did you come -- did you go to the         16∑idea of the size of that room?
17∑front of the police station or the back of the         17∑∑∑∑MS. HAGY:∑Well, we could show the camera
18∑station?                                               18∑around and we could measure it with our feet to
19∑∑∑∑A.∑∑We went through the back, if I recall           19∑know the perimeter.
20∑correct.                                               20∑∑∑∑∑∑∑∑∑Willie, you want so go stand over
21∑∑∑∑Q.∑∑When you came in through the back,              21∑there so we can try to show?
22∑where did you go next?                                 22∑∑∑∑∑∑∑∑∑So probably like 20 by 22.
23∑∑∑∑A.∑∑He -- he took us into the -- to the             23∑∑∑∑MR. ENGQUIST:∑That -- actually, I was going
24∑holding area where I was explaining to you how it      24∑to say 20, but, yeah, that makes sense.


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                                                                                                                  YVer1f
WILLIAM NEGRON, 09/27/2021                                                                 Page 170..173
                                            Page 170                                                   Page 172
∑1∑∑∑∑MS. HAGY:∑Sorry.∑I ...                             ∑1∑where you would take the picture and then you
∑2∑BY MR. ENGQUIST:                                      ∑2∑advance the frame, then you take another --
∑3∑∑∑∑Q.∑∑And besides -- you said there was a            ∑3∑∑∑∑MS. BONJEAN:∑Object to the -- are you
∑4∑bench.∑Was it just one bench in the room or more      ∑4∑testifying or --
∑5∑than one bench?                                       ∑5∑∑∑∑MR. ENGQUIST:∑No.∑I'm asking if this is was
∑6∑∑∑∑A.∑∑It looked like two, if I recall                ∑6∑it is, Jennifer.∑Let me --
∑7∑correctly.                                            ∑7∑∑∑∑MS. BONJEAN:∑Okay.∑Ask --
∑8∑∑∑∑Q.∑∑Okay.∑Anything else in the room other          ∑8∑∑∑∑MR. ENGQUIST:∑-- ask the question.
∑9∑than a couple benches?                                ∑9∑∑∑∑MS. BONJEAN:∑-- him if he knows what a --
10∑∑∑∑A.∑∑Could have been a restroom.                    10∑∑∑∑MR. ENGQUIST:∑No.
11∑∑∑∑Q.∑∑In the room?                                   11∑∑∑∑MS. BONJEAN:∑-- 35 millimeter --
12∑∑∑∑A.∑∑Yeah.∑It could have been a restroom,           12∑∑∑∑MR. ENGQUIST:∑Stop.
13∑but I'm not sure.                                     13∑∑∑∑MS. BONJEAN:∑-- is.
14∑∑∑∑Q.∑∑Was there a toilet in the room?                14∑∑∑∑MR. ENGQUIST:∑Let me ask the question.
15∑∑∑∑A.∑∑That's what I mean.                            15∑You're not objecting.∑You're interpreting.
16∑∑∑∑Q.∑∑Okay.∑So how long were you waiting in          16∑∑∑∑MS. BONJEAN:∑Well, I don't like -- I do not
17∑this room, the four of you?                           17∑think you're asking a fair question.∑It lacks
18∑∑∑∑A.∑∑We -- we stood there for quite some            18∑foundation.∑Here's my objection.∑Carry on.
19∑time.∑Maybe like 25 minutes, within.                  19∑∑∑∑MS. HAGY:∑Join.
20∑∑∑∑Q.∑∑And then what happened next?                   20∑∑∑∑MR. ENGQUIST:∑Thank you.
21∑∑∑∑A.∑∑They -- he -- it looked like Olszewski         21∑BY MR. ENGQUIST:
22∑was talking to some other guy.∑He looked --           22∑∑∑∑Q.∑∑Sir, back to the camera.
23∑bald-headed guy.∑He looked towards us and then he     23∑∑∑∑∑∑∑∑∑Was it the kind we were talking
24∑left.∑I overheard one of them ask him, Why did you    24∑about, you know, back in the day before digital

                                            Page 171                                                   Page 173
∑1∑bring them here?∑It sounded like he told them it      ∑1∑where you would take the pictures, then you would
∑2∑was for pictures.∑Then they -- shortly after that,    ∑2∑advance the film, then take another picture and
∑3∑we were getting called to be taking pictures and      ∑3∑advance the film, have a roll of pictures -- roll
∑4∑that was it.                                          ∑4∑film in it?
∑5∑∑∑∑Q.∑∑And where were the pictures taken?             ∑5∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑6∑∑∑∑A.∑∑As I explained, when you come on out,          ∑6∑∑∑∑THE WITNESS:∑It looked like the ones that
∑7∑to the left, there -- you would go and there's        ∑7∑they just come on out.
∑8∑like -- I guess like a mugshot or something that      ∑8∑BY MR. ENGQUIST:
∑9∑were taking pictures, but there was a guy there who   ∑9∑∑∑∑Q.∑∑Like an instant?
10∑was just taking our pictures.                         10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑Okay.∑Now, you were processed there            11∑∑∑∑Q.∑∑Like a Polaroid?
12∑before too, correct?∑The guy took your picture        12∑∑∑∑A.∑∑Yeah.
13∑when you were processed there, mugshots?              13∑∑∑∑Q.∑∑And how many pictures were taken of
14∑∑∑∑A.∑∑Yeah, but this one was difference.             14∑you?
15∑∑∑∑Q.∑∑Okay.∑How was it different?                    15∑∑∑∑MS. HAGY:∑Objection; form, foundation.
16∑∑∑∑A.∑∑It looked like he just had a regular           16∑∑∑∑THE WITNESS:∑I just know they took one of
17∑camera compared to the other one that's -- I don't    17∑me.∑I believe they took pictures of Gary and
18∑know.∑I want to say it looked like it was on a        18∑James, but I really didn't ask them.∑They were
19∑tripod or something, but it's -- it's more bigger     19∑just calling us one at a time.
20∑than when I was being processed.                      20∑BY MR. ENGQUIST:
21∑∑∑∑Q.∑∑Okay.∑And when you say "regular                21∑∑∑∑Q.∑∑Did they take pictures of -- or take a
22∑camera," like a 35 millimeter camera?                 22∑picture at least of Amy?
23∑∑∑∑A.∑∑Something like that, yeah.                     23∑∑∑∑MS. HAGY:∑Objection; form, foundation.
24∑∑∑∑Q.∑∑The one where you -- well, digital now,        24∑∑∑∑THE WITNESS:∑I really don't know if they


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                                                                                                                  YVer1f
WILLIAM NEGRON, 09/27/2021                                                                       Page 174..177
                                              Page 174                                                   Page 176
∑1∑called her, to be honest, for -- for a picture or     ∑1∑extremely young.∑If anyone has a 17-year-old son,
∑2∑questioning.                                          ∑2∑I'm sure they would agree.
∑3∑BY MR. ENGQUIST:                                      ∑3∑BY MR. ENGQUIST:
∑4∑∑∑∑Q.∑∑Was this the first time you'd ever had         ∑4∑∑∑∑Q.∑∑And how long were you at the police
∑5∑your picture taken at the police department?          ∑5∑station, sir?
∑6∑∑∑∑MS. HAGY:∑Objection.                               ∑6∑∑∑∑A.∑∑I would say about 25 minutes roughly.
∑7∑∑∑∑MS. BONJEAN:∑I'm going to object to the            ∑7∑∑∑∑Q.∑∑And what happened after that?
∑8∑foundation of that question.∑Foundation, form of      ∑8∑∑∑∑A.∑∑We were informed to -- that we could --
∑9∑that question.                                        ∑9∑we were being released.
10∑∑∑∑MS. HAGY:∑Join.                                    10∑∑∑∑Q.∑∑And I believe you said the next time
11∑BY MR. ENGQUIST:                                      11∑you saw the person you say is Officer Olszewski was
12∑∑∑∑Q.∑∑Go ahead.                                      12∑at the Grand and Fullerton car wash, correct?
13∑∑∑∑MS. BONJEAN:∑It's not a fair question.∑It's        13∑∑∑∑MS. HAGY:∑Objection, form.
14∑not a fair question.∑There's not enough foundation    14∑∑∑∑THE WITNESS:∑Yes.∑I was driving down
15∑to answer that question.                              15∑Fullerton passing Narraganset.∑I seen him on
16∑BY MR. ENGQUIST:                                      16∑Narraganset.∑As I continued going toward to where
17∑∑∑∑Q.∑∑Okay.∑Go ahead, sir.                           17∑Grand and Fullerton meet, he -- he turned right
18∑∑∑∑A.∑∑I don't -- I don't believe that was the        18∑behind me, hit the lights, pulled me over, informed
19∑only time.∑As you already know, I was charged for     19∑me to step out of the car.∑I stepped out of the
20∑auto theft when I was a juvenile.                     20∑car.∑Informed me to get on the passenger side.
21∑∑∑∑Q.∑∑Okay.∑And was your picture taken               21∑His partner was standing by his door looking at me.
22∑during that time when you were charged as a           22∑Olszewski just asked me where am I headed to.∑And
23∑juvenile?                                             23∑I said, I'm -- I'm just driving to go see a friend.
24∑∑∑∑MS. HAGY:∑Objection; form, foundation.             24∑He -- he says, No, go the other way.


                                              Page 175                                                            Page 177
∑1∑∑∑∑MS. BONJEAN:∑His picture?                          ∑1∑BY MR. ENGQUIST:
∑2∑∑∑∑MR. ENGQUIST:∑I said picture.                      ∑2∑∑∑∑Q.∑∑Okay.∑Did you have any other contact
∑3∑∑∑∑MS. BONJEAN:∑Photograph or picture,                ∑3∑with him after that point?
∑4∑painting, a statue?                                   ∑4∑∑∑∑A.∑∑After that point, no.
∑5∑BY MR. ENGQUIST:                                      ∑5∑∑∑∑Q.∑∑Okay.∑Do you know who Kennelly Saez
∑6∑∑∑∑Q.∑∑Sir, you can answer the question.              ∑6∑is?
∑7∑∑∑∑A.∑∑I believe they took a picture, if I            ∑7∑∑∑∑A.∑∑I don't know him personally, no, just
∑8∑recall correctly.                                     ∑8∑only on the case.
∑9∑∑∑∑Q.∑∑Okay.∑When your picture was taken on           ∑9∑∑∑∑Q.∑∑Did you know who Jorge Rodriguez was
10∑other occasions, were they ever taken with            10∑before this case?
11∑Polaroids or were they always taken with a bigger     11∑∑∑∑A.∑∑No.
12∑camera on a tripod, as you described earlier?         12∑∑∑∑Q.∑∑What about Jacqueline Grande?
13∑∑∑∑MS. HAGY:∑Objection; form, foundation.             13∑∑∑∑A.∑∑No.
14∑∑∑∑MS. BONJEAN:∑And I'm going to object also.         14∑∑∑∑Q.∑∑Amy Merkes?
15∑There are other ways to get pictures taken, which     15∑∑∑∑A.∑∑No.
16∑you know, at the police station.∑So objection.        16∑∑∑∑Q.∑∑Okay.∑Do you know who -- who Kiki is?
17∑∑∑∑THE WITNESS:∑To be honest, I really can't          17∑∑∑∑A.∑∑No.
18∑recall each time of what type of camera it was from   18∑∑∑∑Q.∑∑Okay.∑Roberta Rivera, does that name
19∑when I was extremely young like that.                 19∑ring a bell?
20∑BY MR. ENGQUIST:                                      20∑∑∑∑A.∑∑No.
21∑∑∑∑Q.∑∑Extremely young.∑You were 17, correct?         21∑∑∑∑Q.∑∑Okay.
22∑∑∑∑A.∑∑I'm talking about the -- to comparing          22∑∑∑∑MS. HAGY:∑I'm so sorry.∑Can we take a
23∑like from the auto theft.                             23∑really fast break?∑I forgot I have a doctor's
24∑∑∑∑MS. BONJEAN:∑And -- and 17 is young,               24∑appointment and they keep calling me.∑I just need


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WILLIAM NEGRON, 09/27/2021                                                                                 Page 178..181
                                                       Page 178                                                        Page 180
∑1∑to tell them -- -                                              ∑1∑believe, if I had to guess.
∑2∑∑∑∑MR. ENGQUIST:∑That's fine.∑Then I'm going                   ∑2∑∑∑∑Q.∑∑Have you ever seen this document
∑3∑to step out too.∑So why don't we take a good five              ∑3∑before?
∑4∑minutes.                                                       ∑4∑∑∑∑A.∑∑Not that I could recall.
∑5∑∑∑∑THE VIDEOGRAPHER:∑We're off the record at                   ∑5∑∑∑∑Q.∑∑Did you ever sign a document similar to
∑6∑3:25 p.m.                                                      ∑6∑this?
∑7∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)                                      ∑7∑∑∑∑A.∑∑Something kind of similar, but it
∑8∑∑∑∑THE VIDEOGRAPHER:∑We're back on the record                  ∑8∑wasn't this.
∑9∑at 3:42 p.m.                                                   ∑9∑∑∑∑Q.∑∑And what document that was kind of
10∑BY MR. ENGQUIST:                                               10∑similar did you sign?
11∑∑∑∑Q.∑∑Let me show you what I'm going to mark                  11∑∑∑∑A.∑∑Basically it was a form that was in
12∑as Exhibit Number 7.∑It was produced under Negron              12∑Pontiac, if I'm correct.∑They were -- it was based
13∑32437 through 32438.                                           13∑on renunciation for any type of gang activity, but
14∑∑∑∑∑∑∑∑∑Okay.∑Can you see that, sir?                           14∑this is definitely not my signature.
15∑∑∑∑A.∑∑Yes.                                                    15∑∑∑∑Q.∑∑Okay.∑Sir, Gary Garcia, do you still
16∑∑∑∑Q.∑∑Okay.∑I don't know if you've got a                      16∑keep in touch with him?
17∑hardcopy there.∑I just want to kind of read                    17∑∑∑∑A.∑∑No.
18∑through it and I want then to ask you a question               18∑∑∑∑Q.∑∑When's the last time you spoke to him?
19∑about it.∑It's only about two pages.                           19∑∑∑∑A.∑∑I spoke to him when I was in Dixon.
20∑∑∑∑∑∑∑∑∑Do you have a hardcopy there?                          20∑His brother was there at Dixon with me in -- right
21∑∑∑∑A.∑∑Yes.                                                    21∑before I was released.
22∑∑∑∑Q.∑∑Then you know what, I'll -- does                        22∑∑∑∑Q.∑∑So James was incarcerated there?
23∑everybody else have a hardcopy?                                23∑∑∑∑A.∑∑Yes.
24∑∑∑∑MS. BONJEAN:∑I don't have it handy.∑Can you                 24∑∑∑∑Q.∑∑Is James still in Dixon?

                                                       Page 179                                                        Page 181
∑1∑just scroll up real quick, though, please?∑So I                ∑1∑∑∑∑A.∑∑As far as I know, no.
∑2∑can just see what it -- I'm sorry, down, so I can              ∑2∑∑∑∑Q.∑∑I'm sorry?
∑3∑see what it is.                                                ∑3∑∑∑∑A.∑∑I don't -- I don't think so.
∑4∑∑∑∑MR. ENGQUIST:∑Tell me when to move forward                  ∑4∑∑∑∑Q.∑∑Do you know what James was in Dixon
∑5∑again.                                                         ∑5∑for?
∑6∑∑∑∑MS. BONJEAN:∑Yeah.∑Go ahead, go ahead, go                   ∑6∑∑∑∑A.∑∑I just -- I believe it was a felony.
∑7∑ahead.∑Keep going.                                             ∑7∑∑∑∑Q.∑∑Do you remember what type of felony it
∑8∑∑∑∑∑∑∑∑∑Okay.∑Thank you.                                       ∑8∑was.
∑9∑∑∑∑MR. ENGQUIST:∑Sure.                                         ∑9∑∑∑∑A.∑∑I don't know if it was a murder or
10∑BY MR. ENGQUIST:                                               10∑attempted murder.∑I don't know.
11∑∑∑∑Q.∑∑Okay.∑Sir, have you had a chance to                     11∑∑∑∑Q.∑∑Back when you knew Gary and James --
12∑read through it?                                               12∑actually, after you were arrested in this case, did
13∑∑∑∑A.∑∑I'm -- I'm in the last page.                            13∑you ever have any contact with Gary and James?
14∑∑∑∑Q.∑∑Okay.∑Let me know when you're ready.                    14∑∑∑∑A.∑∑After?∑Just when I was in Dixon. I
15∑∑∑∑A.∑∑You could continue.                                     15∑was also with James in Stateville.
16∑∑∑∑Q.∑∑Okay.∑This exhibit, which is 7, I                       16∑∑∑∑Q.∑∑Did you know if James's case involved
17∑believe, it's titled Affidavit of Methods.∑If you              17∑any of the people that you're suing in your case?
18∑go to the last page, or the second page, is that               18∑∑∑∑A.∑∑No.∑I wouldn't -- I wouldn't know
19∑your signature, sir?                                           19∑that.
20∑∑∑∑A.∑∑No.∑This is not my signature.                           20∑∑∑∑Q.∑∑Okay.∑And when you knew James and Gary
21∑∑∑∑Q.∑∑Okay.∑Then my question for you,                         21∑before you were incarcerated, do you remember where
22∑because this was produced by your attorneys, do you            22∑they lived?
23∑know what this is?                                             23∑∑∑∑A.∑∑I just -- I really -- during the time
24∑∑∑∑A.∑∑I believe it's a -- a renunciation, I                   24∑before I got incarcerated, I believe they were


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WILLIAM NEGRON, 09/27/2021                                                                   Page 182..185
                                            Page 182                                                      Page 184
∑1∑staying by -- I know it was by Fullerton. I         ∑1∑BY MR. ENGQUIST:
∑2∑believe it was Fullerton and Kedzie.                ∑2∑∑∑∑Q.∑∑Okay.∑We will mark this as Number 8.
∑3∑∑∑∑Q.∑∑Do you know how old James is?                ∑3∑If you have a -- want to have a chance just to read
∑4∑∑∑∑A.∑∑He's around the same age as me, maybe        ∑4∑through it.∑I think you have a hardcopy in front
∑5∑younger.                                            ∑5∑of you.
∑6∑∑∑∑Q.∑∑And I'm sorry.∑How old are you right         ∑6∑∑∑∑A.∑∑Yeah.∑I have a hardcopy.
∑7∑now?                                                ∑7∑∑∑∑Q.∑∑Okay.∑I'll take it down.
∑8∑∑∑∑A.∑∑44.                                          ∑8∑∑∑∑∑∑∑∑∑Okay.∑Sir, do you know what this
∑9∑∑∑∑Q.∑∑And do you know roughly how old Gary         ∑9∑is?
10∑is?                                                 10∑∑∑∑A.∑∑Yes.
11∑∑∑∑A.∑∑He could be around 45, I think, 46.          11∑∑∑∑Q.∑∑Okay.∑Did you ever get interviewed by
12∑∑∑∑Q.∑∑And Amy Carrillo, have you kept in           12∑somebody from Northwester or anyone people from
13∑contact with her at all?                            13∑Northwestern regarding your case or cases?
14∑∑∑∑A.∑∑No.                                          14∑∑∑∑A.∑∑The only closest what I've ever got
15∑∑∑∑Q.∑∑When's the last time you spoke with Amy      15∑interviews from them is over correspondence through
16∑Carrillo?                                           16∑the mail.∑Or if not, there was -- if possibly
17∑∑∑∑A.∑∑I haven't talked to Amy since, I             17∑through the phone, but majority was through the
18∑believe, if I recall correctly, before I was        18∑mail.
19∑incarcerated, before that day we were together in   19∑∑∑∑Q.∑∑Okay.∑When you say "majority," did you
20∑the car.                                            20∑send back -- was it more than one letter you sent
21∑∑∑∑Q.∑∑And how old would Amy Carrillo be            21∑back and forth?
22∑today?                                              22∑∑∑∑A.∑∑I believe it was more than one, yes.
23∑∑∑∑A.∑∑Around -- I would say maybe a year           23∑∑∑∑Q.∑∑Okay.∑Do you have any of that
24∑younger than me or the same age.                    24∑correspondence?

                                            Page 183                                                      Page 185
∑1∑∑∑∑Q.∑∑And do you remember where she lived          ∑1∑∑∑∑A.∑∑I might have.∑To be honest, though, it
∑2∑back in 1994?                                       ∑2∑would be in my mother's house.
∑3∑∑∑∑A.∑∑I believe it was on Normandy.                ∑3∑∑∑∑Q.∑∑Okay.∑Do you recall anything that you
∑4∑∑∑∑Q.∑∑Okay.∑Did James and Gary also go to          ∑4∑discussed with Northwestern?
∑5∑the same high school as you?                        ∑5∑∑∑∑A.∑∑As far as with Northwestern, they --
∑6∑∑∑∑A.∑∑No.                                          ∑6∑they just wanted information pertaining or anything
∑7∑∑∑∑Q.∑∑Okay.∑Do you remember what high school       ∑7∑that could help out against -- well, about the
∑8∑they went to?                                       ∑8∑misconduct with Detective Guevara or anything that
∑9∑∑∑∑A.∑∑I believe they went to Steinmetz.            ∑9∑I know about on regards to this.∑So I was kind of
10∑∑∑∑Q.∑∑Okay.∑And what about Amy Carrillo?           10∑in correspondence with them, but majority I believe
11∑∑∑∑A.∑∑I think she went the same, but I'm not       11∑it was with Ms. Perez.
12∑sure.                                               12∑∑∑∑Q.∑∑Okay.∑Did Northwestern ever represent
13∑∑∑∑Q.∑∑Okay.∑I believe we're on Exhibit             13∑you in any way?
14∑Number 8.∑I'm going to show what's marked -- it     14∑∑∑∑A.∑∑No.
15∑was produced in one of the -- the big productions   15∑∑∑∑Q.∑∑Okay.∑And you said you had tele- --
16∑before, but it's under the Bloom -- a Bloom         16∑I'm sorry.∑I don't want to put words in your
17∑heading.∑Bloom 42713.                               17∑mouth.
18∑∑∑∑MS. BONJEAN:∑Wait.∑You sent it earlier?          18∑∑∑∑∑∑∑∑∑Did you have telephone conversation
19∑∑∑∑MR. ENGQUIST:∑I did.                             19∑with people from Northwestern?
20∑∑∑∑MS. HAGY:∑You -- did you send it in a big        20∑∑∑∑A.∑∑That's what I mean.∑If I ever did, it
21∑packet of things.∑I don't --                        21∑would be maybe, if anything, it could have been
22∑∑∑∑MR. ENGQUIST:∑No.∑Just a single letter.          22∑maybe one.∑But to my extent of knowledge, I don't
23∑∑∑∑MS. HAGY:∑Oh, yeah.∑Okay.                        23∑even really recall.∑But majority, yes, I did have
24                                                     24∑correspondence with them.


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                                                                                                                     YVer1f
WILLIAM NEGRON, 09/27/2021                                                                     Page 186..189
                                                    Page 186                                               Page 188
∑1∑∑∑∑Q.∑∑Okay.∑Do you remember any of the                     ∑1∑∑∑∑MS. BONJEAN:∑-- to foundation.
∑2∑specifics of the correspondence, other than -- I            ∑2∑∑∑∑∑∑∑∑∑Yeah, sorry.∑Go ahead.
∑3∑know you already gave the generality of what you            ∑3∑∑∑∑MS. HAGY:∑Objection; form, foundation.
∑4∑discussed.∑Do you remember any specifics of what            ∑4∑∑∑∑MS. BONJEAN:∑Yeah, join in that objection.
∑5∑you discussed with Northwestern in your                     ∑5∑∑∑∑THE WITNESS:∑Should I answer?
∑6∑correspondence?                                             ∑6∑∑∑∑MS. HAGY:∑If you know.
∑7∑∑∑∑A.∑∑Majority was based on like things that               ∑7∑∑∑∑THE WITNESS:∑Based on my answer, I did not
∑8∑I have discussed with you as far as like possible           ∑8∑have any type of proof besides the print coming
∑9∑foul play, in which I believe was foul play,                ∑9∑back negative of -- of the case.∑So of course I
10∑misconduct from Guevara.∑Anything that I would              10∑contested as no because I would be still under
11∑know about, I would reveal to them.∑But majority            11∑conviction and I have no other further evidence to
12∑was because of the case at hand and having                  12∑show based on innocence.
13∑knowledge of how Guevara is.                                13∑∑∑∑MR. ENGQUIST:∑Okay.∑Can I have that answer
14∑∑∑∑Q.∑∑Did you ever discuss your other case,                14∑read back, please?
15∑the Baez murder case?                                       15∑∑∑∑∑∑∑∑∑∑∑(The record was read as follows:
16∑∑∑∑A.∑∑No.∑It seemed like they were --                      16∑∑∑∑∑∑∑∑∑∑∑∑Q. Based on my answer, I did
17∑according to the letter, it was from Area 5                 17∑∑∑∑∑∑∑∑∑∑∑∑not have any type of proof
18∑misconduct.∑So the Baez case was Area 4.∑So it              18∑∑∑∑∑∑∑∑∑∑∑∑besides the print coming back
19∑seemed like they were more interested into the              19∑∑∑∑∑∑∑∑∑∑∑∑negative of the case.∑So of
20∑Area 5 misconduct.                                          20∑∑∑∑∑∑∑∑∑∑∑∑course I contested as no
21∑∑∑∑Q.∑∑Okay.∑I believe this will be Number 8.               21∑∑∑∑∑∑∑∑∑∑∑∑because I would still be under
22∑If you have them, it's Defendant Halvorsen's --             22∑∑∑∑∑∑∑∑∑∑∑∑conviction and I have no other
23∑it's Plaintiff's Response to Defendants Halvorsen's         23∑∑∑∑∑∑∑∑∑∑∑∑further evidence to show based
24∑Interrogatories.                                            24∑∑∑∑∑∑∑∑∑∑∑∑on innocence.)

                                       Page 187                                                            Page 189
∑1∑∑∑∑THE COURT REPORTER:∑Number 9 is next.                    ∑1∑∑∑∑MR. ENGQUIST:∑Okay.∑Also, Ms. Hagy,
∑2∑∑∑∑MR. ENGQUIST:∑I'm sorry.∑Number 9.∑Thank                 ∑2∑before -- when I was going through this, I couldn't
∑3∑you.                                                        ∑3∑find the copy of his signature for these
∑4∑BY MR. ENGQUIST:                                            ∑4∑interrogatories, for the first set of inter-
∑5∑∑∑∑Q.∑∑What I want to do is just move to                    ∑5∑rogatories.∑If you can send that along, I'd
∑6∑page -- page 10.                                            ∑6∑appreciate it, just so I have the final set.
∑7∑∑∑∑A.∑∑This has to be 14.∑This got to be 10.                ∑7∑∑∑∑MS. HAGY:∑So you're saying you -- you want
∑8∑∑∑∑∑∑∑∑∑Okay.                                               ∑8∑the final set of our interrogatories?
∑9∑∑∑∑Q.∑∑Okay.∑And it'll be the question to                   ∑9∑∑∑∑MR. ENGQUIST:∑No.∑I -- I have his signature
10∑number 14.                                                  10∑page for these second set of I think Olszewski's,
11∑∑∑∑∑∑∑∑∑The question was:∑Do you contend                    11∑but when I was digging through my file I couldn't
12∑that you're innocent of the murder of Antonio Baez?         12∑find his -- his attestation for the first set of
13∑If your answer is yes, please state all facts,              13∑interrogatories from Halvorsen, Olszewski, or
14∑witnesses, and evidence that would support this             14∑Mingey.∑So I want to make sure I have those just
15∑contention.                                                 15∑because I didn't -- I didn't see them in here and
16∑∑∑∑∑∑∑∑∑The response being:∑No.                             16∑they were done a couple years ago, so I just want
17∑∑∑∑∑∑∑∑∑Do you see that, sir?                               17∑to make sure.
18∑∑∑∑A.∑∑Yes.                                                 18∑∑∑∑MS. HAGY:∑Okay.
19∑∑∑∑Q.∑∑Okay.∑Sir, earlier today you -- you                  19∑∑∑∑MR. ENGQUIST:∑If you can forward those over
20∑indicated that you did not commit the murder of             20∑just so I can put them in my file, I'd appreciate
21∑Antonio Baez.∑So I'm kind of wondering why did you          21∑it.
22∑respond no in these interrogatories?                        22∑∑∑∑MS. HAGY:∑Okay.
23∑∑∑∑MS. BONJEAN:∑I'm going to object --                      23∑∑∑∑MR. ENGQUIST:∑Thanks.
24∑∑∑∑MS. HAGY:∑Objection.                                     24


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WILLIAM NEGRON, 09/27/2021                                                              Page 190..193
                                             Page 190                                              Page 192
∑1∑BY MR. ENGQUIST:                                     ∑1∑∑∑∑MS. HAGY:∑Objection --
∑2∑∑∑∑Q.∑∑And, sir, before you answered question        ∑2∑∑∑∑MR. ENGQUIST:∑Yes.
∑3∑number 14, did you review it?                        ∑3∑∑∑∑MS. HAGY:∑-- foundation.
∑4∑∑∑∑A.∑∑Yes.                                          ∑4∑∑∑∑THE WITNESS:∑He just tapped me on the head.
∑5∑∑∑∑Q.∑∑Okay.∑Sir, do you know a Dr. James            ∑5∑My cousins and I were fighting.∑He just tapped me
∑6∑Garbarino?                                           ∑6∑in the head.∑He didn't really give a hard blow.
∑7∑∑∑∑MS. HAGY:∑Objection; form, foundation.            ∑7∑BY MR. ENGQUIST:
∑8∑BY MR. ENGQUIST:                                     ∑8∑∑∑∑Q.∑∑Was it more of a playful tap?
∑9∑∑∑∑Q.∑∑It's G-a-r-b-a-r-i-n-o.                       ∑9∑∑∑∑A.∑∑Yeah.
10∑∑∑∑A.∑∑I think so.∑It was -- it was based            10∑∑∑∑Q.∑∑Okay.∑If -- so wouldn't characterize
11∑on -- if I'm correct, it was based on the            11∑it as being physically assaulted?
12∑sentencing for -- under a murder claim for Antonio   12∑∑∑∑A.∑∑No.
13∑Baez.                                                13∑∑∑∑Q.∑∑Okay.∑What about being punched with a
14∑∑∑∑Q.∑∑Okay.∑And do you remember speaking to         14∑fist by your uncle?
15∑this doctor?                                         15∑∑∑∑A.∑∑That was -- yeah.∑He had broke my
16∑∑∑∑A.∑∑Yes.∑We had problems at first from            16∑tooth when I was young.
17∑him coming in at first to come and conduct the       17∑∑∑∑Q.∑∑How young?
18∑interview.∑I don't know if it was something          18∑∑∑∑A.∑∑I was around within 7 -- 6 or 7 years
19∑going on I guess with the IDOC or some type of       19∑old.
20∑communication, but we eventually got in              20∑∑∑∑Q.∑∑And do you know how that -- I know this
21∑communication.                                       21∑is a long time ago because you were 6 or 7 years
22∑∑∑∑Q.∑∑Okay.∑And how many times did you meet         22∑old.
23∑with him?                                            23∑∑∑∑∑∑∑∑∑Do you have memory of what
24∑∑∑∑A.∑∑If I'm correct, it was just one.              24∑precipitated this being struck with a fist by your

                                             Page 191                                              Page 193
∑1∑∑∑∑Q.∑∑Okay.∑And how long was your meeting?         ∑1∑uncle?
∑2∑∑∑∑A.∑∑I don't know.∑I want to say within           ∑2∑∑∑∑MS. HAGY:∑Objection; form, foundation, and I
∑3∑30 minutes.                                         ∑3∑really don't see the relevance of this or how like
∑4∑∑∑∑Q.∑∑And do you remember what you discussed?      ∑4∑a 6 year old could know the causation.
∑5∑∑∑∑A.∑∑Based on -- it was just talking about        ∑5∑∑∑∑MS. BONJEAN:∑Join.
∑6∑like in general life, as far as -- if I recall      ∑6∑BY MR. ENGQUIST:
∑7∑correctly.                                          ∑7∑∑∑∑Q.∑∑Go ahead, sir.
∑8∑∑∑∑MR. ENGQUIST:∑All right.∑I know we just          ∑8∑∑∑∑A.∑∑If I recall correctly, it was because I
∑9∑took a break, but I'm just going to take another    ∑9∑had called him a bastard.∑I had snuck out of the
10∑break to make sure I don't have anything else to    10∑house to go get some candy.∑I had some change on
11∑cover.∑And if I don't, I'll pass the torch on to    11∑me.∑They were like one cents per candy back then.
12∑somebody else.∑Okay?∑I just need five minutes.      12∑So I snuck out of the house and he caught me with
13∑∑∑∑THE VIDEOGRAPHER:∑We're off the record at        13∑my brother.∑And he had his graduation ring and he
14∑4:01 p.m.                                           14∑just tapped me on the mouth, but the graduation
15∑∑∑∑∑∑∑∑∑∑∑(Recess taken.)                           15∑ring chipped a tooth.
16∑∑∑∑THE VIDEOGRAPHER:∑We're back on the record. 16∑∑∑∑Q.∑∑Okay.
17∑Time is 4:09 p.m.                                   17∑∑∑∑A.∑∑But he didn't punch me.
18∑BY MR. ENGQUIST:                                    18∑∑∑∑Q.∑∑Did not punch you?
19∑∑∑∑Q.∑∑Okay.∑I just want to ask you about a         19∑∑∑∑A.∑∑Yes.
20∑couple things that show up in a report here just to 20∑∑∑∑Q.∑∑Just to be clear, you've never engaged
21∑see if it's correct.                                21∑in substance abuse, correct?
22∑∑∑∑∑∑∑∑∑Is it true that you were physically         22∑∑∑∑A.∑∑Just in the programs that I -- I
23∑assaulted by your grandfather with a hammer?        23∑explained to you.
24∑∑∑∑A.∑∑When I was young?                            24∑∑∑∑Q.∑∑Yeah.∑I understand you said you went


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WILLIAM NEGRON, 09/27/2021                                                                  Page 194..197
                                             Page 194                                                   Page 196
∑1∑to the programs, but I just want to be clear:∑You     ∑1∑times.
∑2∑never engaged in abusing substances?                  ∑2∑∑∑∑Q.∑∑Okay.∑And when were the other times?
∑3∑∑∑∑A.∑∑No.                                            ∑3∑∑∑∑MS. HAGY:∑Objection; form, foundation,
∑4∑∑∑∑MS. HAGY:∑Objection; form, foundation.             ∑4∑relevancy.
∑5∑BY MR. ENGQUIST:                                      ∑5∑∑∑∑THE WITNESS:∑The other time was on -- by
∑6∑∑∑∑Q.∑∑Have you ever attempted suicide?               ∑6∑Fairfield close by Chicago.∑And another time was
∑7∑∑∑∑MS. HAGY:∑Objection; form, foundation,             ∑7∑in -- I believe it was on Fairfield and Augusta.
∑8∑scope, relevancy.                                     ∑8∑BY MR. ENGQUIST:
∑9∑∑∑∑THE WITNESS:∑No.                                   ∑9∑∑∑∑Q.∑∑And Fairfield and Chicago, what year
10∑∑∑∑MS. BONJEAN:∑Join.                                 10∑was that?
11∑BY MR. ENGQUIST:                                      11∑∑∑∑A.∑∑Fairfield and Chicago was in 1993.
12∑∑∑∑Q.∑∑Okay.∑Would you describe the area              12∑∑∑∑Q.∑∑And Fairfield and Augusta, when was
13∑where you grew up to be a war zone?                   13∑that?
14∑∑∑∑MS. HAGY:∑Objection; form, foundation.             14∑∑∑∑A.∑∑That was in 19 -- I believe it was the
15∑∑∑∑THE WITNESS:∑It was kind of a little crazy         15∑same year.
16∑at times.∑As far as a war zone, I guess it could      16∑∑∑∑Q.∑∑'93?
17∑be described as that.∑It was -- back then it was a    17∑∑∑∑A.∑∑Yes.
18∑lot of shootings around the area.                     18∑∑∑∑Q.∑∑On either of those occasions, was
19∑BY MR. ENGQUIST:                                      19∑anyone injured?
20∑∑∑∑Q.∑∑Okay.∑Were you ever witness to anyone          20∑∑∑∑A.∑∑No.
21∑being shot?                                           21∑∑∑∑Q.∑∑Earlier when we were taking about
22∑∑∑∑A.∑∑As far as I recall, it was just an             22∑firearms, you mentioned maybe a baseball bat. I
23∑incident with a particular vehicle, but I didn't      23∑don't want to take anything out of context there,
24∑see anybody's face.                                   24∑but were you involved in any physical altercations

                                             Page 195                                                   Page 197
∑1∑∑∑∑Q.∑∑And when was this incident?                    ∑1∑with other gang members?
∑2∑∑∑∑A.∑∑That was in roughly around beginning of        ∑2∑∑∑∑A.∑∑Just we -- I've gotten into arguments
∑3∑'94, around I would say March, April.                 ∑3∑before when I was young.∑I had -- on Division and
∑4∑∑∑∑Q.∑∑And you said there was a vehicle.∑Can          ∑4∑California, I got into it with some other guy. I
∑5∑you describe what occurred?                           ∑5∑don't know.∑He was -- I didn't know the guy.∑He
∑6∑∑∑∑A.∑∑It was a black van.∑It drove down              ∑6∑recognized me as being from a different gang, so
∑7∑through Augusta, stopped in front of us across the    ∑7∑him and I, we got into an argument.
∑8∑street.∑I looked.∑I couldn't see who it was. I        ∑8∑∑∑∑Q.∑∑And when was that?
∑9∑thought he was asking for something.∑And I was        ∑9∑∑∑∑A.∑∑That was in 1992, I believe.
10∑like, Who's that?∑He didn't do anything.              10∑∑∑∑Q.∑∑When you say you "got into an
11∑∑∑∑∑∑∑∑∑Another individual that was behind            11∑argument," did it ever get physical?
12∑me, he was maybe like 12 feet away, and he just hid   12∑∑∑∑A.∑∑Not with him, but his friend.∑His
13∑behind the garbage cans.∑And that's when the guy      13∑friend decided to try to come from behind me.
14∑started shooting, so I just ran, yeah.                14∑∑∑∑Q.∑∑Okay.∑And what happened with that
15∑∑∑∑Q.∑∑Was anybody injured during that time?          15∑altercation?
16∑∑∑∑A.∑∑No.                                            16∑∑∑∑A.∑∑The guy, he just stood there.∑As far
17∑∑∑∑Q.∑∑Okay.∑Was that the only time you were          17∑as the other guy he tried to jump on me.∑And I
18∑ever shot at?                                         18∑ducked and he kind of like went over me.∑I guess
19∑∑∑∑MS. HAGY:∑Objection; form, foundation.             19∑he tried to tackle me or something.∑So I just ran
20∑∑∑∑THE WITNESS:∑No.∑It wasn't the only time.          20∑behind him and I just pushed him and he just slid
21∑BY MR. ENGQUIST:                                      21∑on the floor.∑I just --
22∑∑∑∑Q.∑∑And how many other occasions were you          22∑∑∑∑Q.∑∑Anything else -- I'm sorry.
23∑shot at?                                              23∑∑∑∑A.∑∑I had left after that.
24∑∑∑∑A.∑∑I would estimate like three, three             24∑∑∑∑Q.∑∑Okay.∑Any other physical altercations


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WILLIAM NEGRON, 09/27/2021                                                                                 Page 198..201
                                                       Page 198                                                        Page 200
∑1∑other than this pushing this person down with                  ∑1∑Detective Halvorsen talking to each other?
∑2∑another gang -- with I guess a rival gang member?              ∑2∑∑∑∑A.∑∑No.∑He was on the phone talking to my
∑3∑∑∑∑MS. HAGY:∑Objection, form.                                  ∑3∑mother.∑He had a big -- this thing went off
∑4∑∑∑∑THE WITNESS:∑No.∑That's -- that's about it.                 ∑4∑again -- he had a big phone like the old ones and
∑5∑∑∑∑MR. ENGQUIST:∑Okay.∑All right.∑I don't                      ∑5∑he was busy talking to my mother on the way.∑And I
∑6∑think I have anything else at this time.∑I can                 ∑6∑just heard him say, Sara, we got him, don't worry
∑7∑pass the torch to somebody else if anybody else has            ∑7∑about it.
∑8∑questions.                                                     ∑8∑∑∑∑Q.∑∑Okay.∑And he -- he was trying to
∑9∑∑∑∑MS. CARNEY:∑The City doesn't have any                       ∑9∑reassure your mother; is that correct?
10∑questions.                                                     10∑∑∑∑A.∑∑I believe so.
11∑∑∑∑MS. McGRATH:∑Nothing at this time for                       11∑∑∑∑∑∑∑∑∑This thing is going in and out.
12∑Guevara.                                                       12∑∑∑∑∑∑∑∑∑I -- I believe so, he was trying to
13∑∑∑∑MR. ENGQUIST:∑Jennifer?                                     13∑reassure her that -- that he has me.
14∑∑∑∑MS. BONJEAN:∑I just have a couple of                        14∑∑∑∑Q.∑∑And did he do that with an earshot,
15∑questions.                                                     15∑like could -- he was in the front seat with
16∑∑∑∑∑∑∑∑∑∑∑EXAMINATION                                          16∑Detective Halvorsen; is that right?
17∑BY MS. BONJEAN:                                                17∑∑∑∑A.∑∑Correct.
18∑∑∑∑Q.∑∑Mr. Negron, you testified earlier about                 18∑∑∑∑Q.∑∑Okay.∑And you were where in the car,
19∑when Detectives Guevara, Halvorsen, and another                19∑in the back seat?
20∑detective, who I think you thought maybe was                   20∑∑∑∑A.∑∑I was directly behind him.
21∑someone named Polinski or something of that nature;            21∑∑∑∑Q.∑∑Okay.∑So you -- you were able to hear
22∑is that right?                                                 22∑him?
23∑∑∑∑A.∑∑Correct.                                                23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑You're pretty confident it was Guevara                  24∑∑∑∑Q.∑∑Okay.∑And Detective Halvorsen was

                                              Page 199                                                                 Page 201
∑1∑and Halvorsen who picked you up when they arrested             ∑1∑sitting next to him; is that right?
∑2∑you, right?                                                    ∑2∑∑∑∑A.∑∑Correct.
∑3∑∑∑∑A.∑∑A hundred percent.                                      ∑3∑∑∑∑Q.∑∑Okay.∑So presumably Detective
∑4∑∑∑∑Q.∑∑Okay.∑And that's when they bought you                   ∑4∑Halvorsen would have been hearing the same thing
∑5∑back to Grand and Central, Area 5.∑And you                     ∑5∑you were hearing; is that correct?
∑6∑interacted with Guevara primarily at Area 5; is                ∑6∑∑∑∑MR. ENGQUIST:∑Objection, foundation.
∑7∑that right?                                                    ∑7∑∑∑∑THE WITNESS:∑Correct.
∑8∑∑∑∑A.∑∑Correct.                                                ∑8∑BY MS. BONJEAN:
∑9∑∑∑∑Q.∑∑I think you testified that once at Area                 ∑9∑∑∑∑Q.∑∑Okay.∑And at any point did you hear
10∑5, that Detective Guevara told you, Don't talk to              10∑Detective Halvorsen say, You know what, Rey, you
11∑the state's attorney; just talk to me.∑Is that                 11∑know, this is inappropriate, we're not -- we're not
12∑what you were saying?                                          12∑going to be putting a case on this kid; did you
13∑∑∑∑A.∑∑Correct.                                                13∑hear him say anything like that?
14∑∑∑∑Q.∑∑Okay.∑So it wasn't that he was telling                  14∑∑∑∑A.∑∑No.
15∑you not to talk.∑He was telling you not to talk to             15∑∑∑∑MR. ENGQUIST:∑Objection; leading.
16∑the state's attorney, but to talk to him.∑Is that              16∑BY MS. BONJEAN:
17∑fair?                                                          17∑∑∑∑Q.∑∑Okay.∑Did you --
18∑∑∑∑A.∑∑I would say fair, yeah.                                 18∑∑∑∑MR. ENGQUIST:∑Argumentative.
19∑∑∑∑Q.∑∑Okay.∑And he -- he did, in fact, ask                    19∑BY MS. BONJEAN:
20∑you questions and talked to you while you were at              20∑∑∑∑Q.∑∑Did you hear Detective Halvorsen say
21∑Area 5; is that right?                                         21∑absolutely anything that suggested that he was
22∑∑∑∑A.∑∑Correct.                                                22∑uncomfortable with the tactics that were being used
23∑∑∑∑Q.∑∑Now, on the car ride there to Grand and                 23∑by Detective Guevara?
24∑Central, did you hear Detective Guevara and                    24∑∑∑∑MR. ENGQUIST:∑Objection, argumentative.


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WILLIAM NEGRON, 09/27/2021                                                                       Page 202..205
                                                Page 202                                                       Page 204
∑1∑∑∑∑THE WITNESS:∑No.∑I didn't hear him object            ∑1∑violence against him?
∑2∑to anything pertaining to Guevara tactics of how he     ∑2∑∑∑∑MS. McGRATH:∑Objection, form.
∑3∑handled the case.                                       ∑3∑∑∑∑THE WITNESS:∑No.∑The only -- the only thing
∑4∑BY MS. BONJEAN:                                         ∑4∑I've ever heard was just based on conversations
∑5∑∑∑∑Q.∑∑Okay.∑One other thing.∑You talked                ∑5∑from my mother based on how he -- other allegations
∑6∑about conversations with what -- and I'm not sure I     ∑6∑pertaining to, like you described, of whatever is
∑7∑got this right, but this is a -- either a son or a      ∑7∑going on between him and his other women that he
∑8∑stepson of Guevara's?                                   ∑8∑ever had with.
∑9∑∑∑∑A.∑∑Yeah.∑Tony.                                      ∑9∑BY MS. BONJEAN:
10∑∑∑∑Q.∑∑Okay.∑Tony.∑That's right.                        10∑∑∑∑Q.∑∑Okay.∑All right.∑And one other kind
11∑∑∑∑∑∑∑∑∑And is this a stepson?                          11∑of area I wanted to touch on.
12∑∑∑∑A.∑∑It's a stepson, yes.                             12∑∑∑∑∑∑∑∑∑You testified about how you
13∑∑∑∑Q.∑∑Okay.∑And it sounds like you had a               13∑essentially called out Detective Guevara for being
14∑number of conversations with Tony and then also         14∑a corrupt police officer prior to your arrest; is
15∑with Tony's mother, right?                              15∑that fair?
16∑∑∑∑A.∑∑Yes.                                             16∑∑∑∑A.∑∑Yes.
17∑∑∑∑Q.∑∑Okay.∑What -- how did -- how did                 17∑∑∑∑MS. McGRATH:∑Objection, form.
18∑Detective Guevara treat his stepchildren?               18∑∑∑∑MR. ENGQUIST:∑Yeah.∑Argumentative.
19∑∑∑∑A.∑∑He was --                                        19∑BY MS. BONJEAN:
20∑∑∑∑MS. McGRATH:∑Objection, form.                        20∑∑∑∑Q.∑∑And as a young kid, a teenager, you did
21∑∑∑∑THE WITNESS:∑They were kind of like scared           21∑this in part to the neighbors who lived right next
22∑of him.∑That also made me uncomfortable in seeing       22∑door to Guevara; is that right?
23∑how uncomfortable they are, especially living with      23∑∑∑∑A.∑∑Correct.
24∑him.∑And his -- her other big daughter, Marcy, as       24∑∑∑∑MS. McGRATH:∑Objection to form.

                                                Page 203                                                       Page 205
∑1∑far as not wanting to live with her -- with them.       ∑1∑BY MS. BONJEAN:
∑2∑And also how he was like trying to seclude me away      ∑2∑∑∑∑Q.∑∑Okay.∑And is that because the
∑3∑from Dominic, which is his biological son.              ∑3∑neighbors were there and that was the closest
∑4∑BY MS. BONJEAN:                                         ∑4∑adults other than, you know, maybe Guevara's family
∑5∑∑∑∑Q.∑∑So do you know how old Dominic was when          ∑5∑that you could tell this to?
∑6∑you had your interactions with Guevara prior to         ∑6∑∑∑∑A.∑∑Correct.∑I knew, like I said, the ones
∑7∑your arrest?                                            ∑7∑on the right, they had some Mexicans that were
∑8∑∑∑∑A.∑∑I would say roughly maybe like 12, 13.           ∑8∑there, and what I heard, pertaining to the
∑9∑∑∑∑Q.∑∑Okay.∑And you're saying Detective                ∑9∑conversations with Mary and my mother, that he got
10∑Guevara was the one who kind of tried to keep you       10∑rid of them.∑So the only one that was still
11∑separated from Dominic?                                 11∑available was this man.∑Yes, correct.∑He was the
12∑∑∑∑A.∑∑Yes.                                             12∑only adult that I could think of that was so close
13∑∑∑∑MS. McGRATH:∑Objection; form, calls for              13∑that I could run to.
14∑speculation.                                            14∑∑∑∑Q.∑∑Okay.∑Now, did I get this right, that
15∑BY MS. BONJEAN:                                         15∑Detective Guevara said, Listen, if you have a
16∑∑∑∑Q.∑∑All right.∑Do you know how many                  16∑complaint with me, you can tell my sergeant, right?
17∑children in total Reynaldo Guevara had back in '94,     17∑∑∑∑MS. McGRATH:∑Objection, form.
18∑I -- you know, I guess?                                 18∑∑∑∑THE WITNESS:∑Correct.
19∑∑∑∑A.∑∑I've heard that he has quite a bit.              19∑BY MS. BONJEAN:
20∑I -- as far as a number, I really don't know,           20∑∑∑∑Q.∑∑And did he tell you or suggest to you
21∑to be honest.                                           21∑that you should try to talk to either Sergeant
22∑∑∑∑Q.∑∑All right.∑And do you know whether or            22∑Biebel or Sergeant Mingey?
23∑not any of Detective Guevara's wives and/or             23∑∑∑∑A.∑∑Correct.
24∑girlfriend's have made accusations of domestic          24∑∑∑∑Q.∑∑Okay.∑And did you get the impression


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WILLIAM NEGRON, 09/27/2021                                                                    Page 206..209
                                                  Page 206                                               Page 208
∑1∑that if you told your complaint to Sergeant Mingey,       ∑1∑∑∑∑MS. BONJEAN:∑All right.∑I have nothing
∑2∑that they would have taken that complaint                 ∑2∑further for Mr. Negron.∑Thank you.
∑3∑seriously?                                                ∑3∑∑∑∑MS. HAGY:∑Okay.∑I do have a few questions.
∑4∑∑∑∑MR. ENGQUIST:∑Objection, leading.                      ∑4∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
∑5∑∑∑∑THE WITNESS:∑I don't think that it would               ∑5∑BY MS. HAGY:
∑6∑have been taken seriously.∑I think that it would          ∑6∑∑∑∑Q.∑∑When you talked about how you had this
∑7∑have been taken as a joke.∑These are friends of           ∑7∑confrontation with Guevara and he said you better
∑8∑his.                                                      ∑8∑hope I don't get this case.
∑9∑∑∑∑∑∑∑∑∑Based on his -- what I've witnessed               ∑9∑∑∑∑A.∑∑Yes.
10∑from him saying in 1991 of the African-American man       10∑∑∑∑Q.∑∑Did you know what he meant by that?
11∑stating that where would it go even if he would           11∑∑∑∑MS. McGRATH:∑Objection, form.
12∑have put a complaint.∑So I knew that regardless of        12∑∑∑∑THE WITNESS:∑I took it as it was like sort
13∑my complaint, it would have been going to deaf            13∑of like a threat.∑That once he gets it, he's --
14∑ears.                                                     14∑he's got his own twist to it.∑Since Almodovar's
15∑BY MS. BONJEAN:                                           15∑name as his description pertaining to the phone
16∑∑∑∑Q.∑∑When you overheard that conversation               16∑conversation, that he was going to definitely go
17∑that Detective Guevara was having about the               17∑after Mr. Almodovar.∑So somehow since I was
18∑African-American man that had made a complaint            18∑showing a total friendship and defending
19∑against him, did it sound as if Guevara was taking        19∑Mr. Almodovar, that I was automatically tied to
20∑the complaint very seriously?                             20∑whatever happened to Mr. Almodovar was going to
21∑∑∑∑MS. McGRATH:∑Objection, form.                          21∑happen to me.
22∑∑∑∑THE WITNESS:∑No.∑He -- he actually laughed             22∑BY MS. HAGY:
23∑about it and he just stated that like -- he just          23∑∑∑∑Q.∑∑And did he say anything about how he
24∑made the comment, quote, Like it's going do go            24∑would get the case?

                                                  Page 207                                               Page 209
∑1∑anywhere.                                                 ∑1∑∑∑∑A.∑∑He always said like -- well, he stated
∑2∑BY MS. BONJEAN:                                           ∑2∑that he could always talk to Mingey or Biebel.
∑3∑∑∑∑Q.∑∑And, by the way, did he say                        ∑3∑∑∑∑Q.∑∑Talk to them in order to get a case?
∑4∑African-American or did he use another name for the       ∑4∑∑∑∑A.∑∑In order to basically take hands of --
∑5∑African-American man?                                     ∑5∑control of the case and have the case.
∑6∑∑∑∑A.∑∑He used --                                         ∑6∑∑∑∑MS. HAGY:∑And then I have a couple of
∑7∑∑∑∑MS. McGRATH:∑Objection, leading.                       ∑7∑documents responding to some of the questions that
∑8∑∑∑∑THE WITNESS:∑He used another name.∑And                 ∑8∑I -- they are from the IDOC file.
∑9∑that's what also caused like more of an alarm and         ∑9∑∑∑∑∑∑∑∑∑So, counsel, can I give you the
10∑of a red flag, in resemblance to their kids and,          10∑Bates stamps for these documents or do you want me
11∑you know, them living under him and everything.           11∑to send you a PDF?
12∑But he used Black.                                        12∑∑∑∑MR. ENGQUIST:∑Well, you're going to have to
13∑BY MS. BONJEAN:                                           13∑send a PDF later on if you're going to want it
14∑∑∑∑Q.∑∑Okay.∑And you're saying that some of               14∑attached.∑But why don't you give them to us and
15∑his children or stepchildren were -- were darker          15∑just give me a second so I can pull it up.
16∑complected than him?                                      16∑∑∑∑MS. HAGY:∑Okay.∑So I'd like to look at the
17∑∑∑∑A.∑∑Just Marcy and Myra are kind of like on            17∑IDOC -- sorry.∑Just trying to figure out which way
18∑the darker side.∑Tony is more of a lighter                18∑this goes here.
19∑complexion, but their father is, biological,              19∑∑∑∑∑∑∑∑∑IDOC Master File 192 to 193.
20∑African-American.                                         20∑∑∑∑MR. ENGQUIST:∑And where was that produced?
21∑∑∑∑Q.∑∑I see.                                             21∑What's the Bates?
22∑∑∑∑∑∑∑∑∑So the stepfather of his                          22∑∑∑∑MS. HAGY:∑Sorry.∑That's -- you know what,
23∑stepchildren is an African-American man?                  23∑let's not --
24∑∑∑∑A.∑∑Yes.                                               24∑∑∑∑MR. ENGQUIST:∑Because I don't have master


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WILLIAM NEGRON, 09/27/2021                                                                      Page 210..213
                                           Page 210                                                          Page 212
∑1∑file IDOC production.∑I have -- I have a mass of      ∑1∑BY MS. HAGY:
∑2∑stuff in your production, which isn't labeled that    ∑2∑∑∑∑Q.∑∑And were you aware whether having a
∑3∑way.                                                  ∑3∑sentence of natural life affected your security
∑4∑∑∑∑∑∑∑∑∑Is there a Negron Bates stamp on it?          ∑4∑status in prison?
∑5∑∑∑∑MS. HAGY:∑There is not, but that's okay.           ∑5∑∑∑∑MR. ENGQUIST:∑Objection; calls for
∑6∑Let's -- let's not worry about it.                    ∑6∑speculation, foundation.
∑7∑∑∑∑MR. ENGQUIST:∑Well, I --                           ∑7∑∑∑∑THE WITNESS:∑Yes.∑My -- based on the staff,
∑8∑∑∑∑MS. BONJEAN:∑Didn't you guys subpoena that?        ∑8∑my -- my security level when I first come in, it's
∑9∑∑∑∑MR. ENGQUIST:∑No.∑We were never able to get        ∑9∑automatically high.∑There's four levels of
10∑that.∑If you have the master file, I thought we       10∑identifications that we receive.∑It's from an ID
11∑would be -- we have bits and pieces of IDOC records   11∑from the having a white, which is extremely low
12∑within the Negron production.∑I can't remember        12∑security, blue is moderate, red is high, and green
13∑exactly where.∑But if you have something there        13∑is extremely high, which is -- majority it's for
14∑that's from the master file that's there, you         14∑escapes or individuals who received an additional
15∑probably should have that produced.                   15∑case while incarcerated.
16∑∑∑∑MS. HAGY:∑Okay.∑Let me check that. I               16∑∑∑∑∑∑∑∑∑I was given a red.∑My security
17∑thought that we had produced that, but I did, you     17∑level was at high due to the sentence that I was
18∑know, come into the case after things have been       18∑received.
19∑produced.∑So I will -- I'll sort that out.            19∑∑∑∑MS. HAGY:∑Okay.∑All right.∑That's all my
20∑∑∑∑MR. ENGQUIST:∑I mean, it could be, because         20∑questions.
21∑what's happened before, it's hard o tell where the    21∑∑∑∑MR. ENGQUIST:∑Okay.∑I kind of want to go
22∑documents came from in your productions because       22∑back to something.
23∑they're not labeled.∑So it could be in there.∑If      23
24∑they're -- if they are in there, just let us know     24

                                           Page 211                                                          Page 213
∑1∑what Bates numbers you're talking about.∑If they      ∑1∑∑∑∑∑∑∑∑∑FURTHER EXAMINATION
∑2∑aren't in there, could you please produce what you    ∑2∑BY MR. ENGQUIST:
∑3∑have for the master file?                             ∑3∑∑∑∑Q.∑∑You were just asked some questions by
∑4∑∑∑∑MS. HAGY:∑Yes, I will.                             ∑4∑Ms. Bonjean having to do with the car ride.∑I just
∑5∑∑∑∑∑∑∑∑∑So we won't worry about that.                 ∑5∑want to be clear about Detective Halvorsen.
∑6∑BY MS. HAGY:                                          ∑6∑∑∑∑∑∑∑∑∑You said you saw Detective Halvorsen
∑7∑∑∑∑Q.∑∑So when -- when you were at Pontiac,           ∑7∑when you were pulled over by Detective Guevara,
∑8∑you did sign affidavit of status renouncing any       ∑8∑correct?
∑9∑gang affiliation, correct?                            ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑A.∑∑Correct.                                       10∑∑∑∑Q.∑∑Halvorsen was driving the vehicle,
11∑∑∑∑Q.∑∑And do you know, when you were asked           11∑correct?
12∑about how your sentences affected the security        12∑∑∑∑A.∑∑Yes.
13∑level that you were assigned to at prison, did        13∑∑∑∑Q.∑∑Okay.∑He never spoke to you, correct?
14∑you -- well, first of all, would you have not         14∑∑∑∑A.∑∑No.
15∑gotten natural life if it had not been for the        15∑∑∑∑Q.∑∑Okay.∑You never spoke to Detective
16∑prior conviction?                                     16∑Halvorsen, correct?
17∑∑∑∑MR. ENGQUIST:∑Objection; calls for                 17∑∑∑∑A.∑∑No.
18∑speculation, foundation.                              18∑∑∑∑Q.∑∑And from the what you saw, the only --
19∑∑∑∑THE WITNESS:∑What I was -- what I witnessed,       19∑only actions that Detective Guevara did in front of
20∑yes, I was facing no more than, if anything,          20∑Detective Halvorsen was when you were around.∑Was
21∑90 years, and I was under 50 percent, and that        21∑that -- he got -- he stopped you and put you in the
22∑would have been the max.∑But most likely I would      22∑car.∑He got on the phone with your mom to let you
23∑have been getting lenient sentence because it was     23∑know -- let her know that it was going to be okay,
24∑based on a first adult conviction.                    24∑that he was taking you into the -- in custody,


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                                                                                                                        YVer1f
WILLIAM NEGRON, 09/27/2021                                                                         Page 214..217
                                               Page 214                                                        Page 216
∑1∑correct?                                               ∑1∑just him and I, like I said, in the -- in the
∑2∑∑∑∑A.∑∑Correct.                                        ∑2∑interrogation room.
∑3∑∑∑∑MS. HAGY:∑Objection, leading.                       ∑3∑∑∑∑MR. ENGQUIST:∑Okay.∑I have nothing further.
∑4∑BY MR. ENGQUIST:                                       ∑4∑∑∑∑MS. BONJEAN:∑I just have a couple questions
∑5∑∑∑∑Q.∑∑And then walked you into the police             ∑5∑based on that.
∑6∑station; is that right?                                ∑6∑∑∑∑∑∑∑∑∑FURTHER EXAMINATION
∑7∑∑∑∑A.∑∑To be explicit, little bit more detail.         ∑7∑BY MS. BONJEAN:
∑8∑When he pulled me over, Halvorsen was directly         ∑8∑∑∑∑Q.∑∑Mr. Negron, do you have any knowledge
∑9∑right behind me of the vehicle, pointing his gun       ∑9∑about what Mr. Guevara and Mr. Halvorsen may have
10∑towards my head.∑His -- the other individual was       10∑spoken about before you were arrested?
11∑in the passenger side pointing his gun towards me.     11∑∑∑∑A.∑∑No.
12∑I turned around with my hands still on the steering    12∑∑∑∑Q.∑∑Okay.∑And do you know who wrote the
13∑wheel and I looked over my left shoulder and I seen    13∑police reports that allegedly reported the
14∑Guevara standing on the passenger side of the squad    14∑investigative actions that were taken in the case
15∑car that they were in.                                 15∑that ultimately resulted in your wrongful
16∑∑∑∑∑∑∑∑∑I informed Guevara as showing of               16∑conviction?
17∑acknowledge that I know him and I said, What's         17∑∑∑∑A.∑∑If I had to assume, it would have to be
18∑going on, Rey?∑And Guevara said, That's -- That's      18∑Guevara, but I really don't know.
19∑him, get him out of the car.∑And that's when I got     19∑∑∑∑Q.∑∑Right.∑You don't know who actually sat
20∑out of the car.∑And he said, Come towards me.∑The      20∑at the typewriter and wrote up those reports, do
21∑other two detectives searched the car.∑They backed     21∑you?
22∑up the car into a corner, almost on top of the         22∑∑∑∑A.∑∑Correct.
23∑sidewalk.∑Mr. Guevara -- I asked Mr. Guevara           23∑∑∑∑Q.∑∑Okay.∑And I'm assuming you weren't
24∑during the time when all this was happening, What      24∑privy to any meetings that might have taken place


                                               Page 215                                                  Page 217
∑1∑is this about?∑And he said, This has to do with        ∑1∑between Detective Guevara and Detective Halvorsen
∑2∑your mother.∑And it's like he didn't want to go        ∑2∑at any point during also the investigation, right?
∑3∑into any detail during the time.∑That's when the       ∑3∑∑∑∑A.∑∑Correct.
∑4∑individuals were walking back.∑He put the cuffs on     ∑4∑∑∑∑Q.∑∑And that would be true of Sergeant
∑5∑me; put me in the car.                                 ∑5∑Mingey as well.∑Do you have any knowledge about
∑6∑∑∑∑Q.∑∑So I just want to be clear, the things          ∑6∑whether -- personal knowledge about whether or not
∑7∑that Mr. Halvorsen -- or Detective Halvorsen was       ∑7∑Guevara may have spoken do Detective -- or Sergeant
∑8∑around for when talking about actions by Detective     ∑8∑Mingey prior to your arrest?
∑9∑Guevara, okay, that you were around for too, is        ∑9∑∑∑∑A.∑∑No.∑I don't have any knowledge of
10∑that he was there when you were pulled over, like      10∑that.
11∑you described, correct?                                11∑∑∑∑Q.∑∑Okay.∑Did Detective -- did Detective
12∑∑∑∑A.∑∑Yes.                                            12∑Guevara share with you all the ways in which he was
13∑∑∑∑Q.∑∑He was there when you were put in the           13∑going to carry out his -- his wrongful arrest and
14∑car, put - placed into custody and put in the car      14∑prosecution of you and Mr. Almodovar?
15∑by Guevara, correct?                                   15∑∑∑∑MR. ENGQUIST:∑Objection.
16∑∑∑∑A.∑∑Correct.                                        16∑∑∑∑MS. McGRATH:∑Form.
17∑∑∑∑Q.∑∑And he was there when Guevara was on            17∑∑∑∑MR. ENGQUIST:∑Form, argumentative, leading.
18∑the phone with your mom, right?                        18∑∑∑∑THE WITNESS:∑It was based on 1994.∑That's
19∑∑∑∑A.∑∑Correct.                                        19∑how I took it.∑When he stated that I better not
20∑∑∑∑Q.∑∑But he wasn't there for anything after          20∑get this case, it was more towards leading toward
21∑that point, after you got inside the police            21∑Mr. Almodovar of -- of going after Mr. Almodovar.
22∑station; is that right?                                22∑In defending Mr. Almodovar, I was automatically
23∑∑∑∑MS. HAGY:∑Objection; form, foundation.              23∑tied.
24∑∑∑∑THE WITNESS:∑As far as I recall, no.∑It was         24∑∑∑∑∑∑∑∑∑Beyond that, whatever conversations


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                                                                                                                          YVer1f
WILLIAM NEGRON, 09/27/2021                                                                            Page 218..220
                                           Page 218                                                              Page 220
∑1∑happened with the individuals of Mingey, Biebel,      ∑1
                                                         ∑∑∑∑∑∑∑∑∑∑REPORTER'S CERTIFICATE
∑2∑Halvorsen, or whoever else, I really don't know as    ∑2
                                                         ∑∑∑∑∑I, Kathleen A. Hillgard, do hereby certify
∑3∑to why all of this was occurring as to us getting
                                                         ∑3∑that WILLIAM NEGRON was duly sworn to testify the
∑4∑wrongfully convicted.                                 ∑∑whole truth, that the foregoing deposition was
                                                         ∑4∑recorded stenographically by us and was reduced to
∑5∑∑∑∑MS. HAGY:∑All right.∑I have nothing                ∑∑computerized transcript under my direction, and
∑6∑further.∑Thank you.                                   ∑5∑that said deposition constitutes a true record of
                                                         ∑∑the testimony given by said witness.
∑7∑∑∑∑MR. ENGQUIST:∑I have nothing based off that.       ∑6
∑8∑∑∑∑∑∑∑∑∑Anybody else?                                 ∑∑∑∑∑I further certify that the reading and
                                                         ∑7∑signing of the deposition was waived by the
∑9∑∑∑∑MS. McGRATH:∑Nothing based on that.                ∑∑deponent.
10∑∑∑∑MR. ENGQUIST:∑All right.∑Waive or reserve,         ∑8
                                                         ∑∑∑∑∑I further certify that I am not a relative or
11∑Lindsay?                                              ∑9∑employee or attorney or counsel of any of the
12∑∑∑∑MS. HAGY:∑The court reporter has been              ∑∑parties, or a relative or employee of such attorney
                                                         10∑or counsel, or financially interested directly or
13∑writing this all down.∑And then you can either        ∑∑indirectly in this action.
14∑look at the transcript and make like small changes,   11
                                                         ∑∑∑∑∑IN WITNESS WHEREOF, I have hereunto set my
15∑like really like name corrections; or we can waive    12∑hand of office at Chicago, Illinois, this 12th day
16∑and trust that she worked really hard and we          ∑∑of October 2021.
                                                         13
17∑don't -- we just don't sign it.                       14
                                                         15∑∑∑∑∑∑∑∑∑∑∑____________________________
18∑∑∑∑THE WITNESS:∑Depends on you.
                                                         ∑∑∑∑∑∑∑∑∑∑∑∑Illinois CSR No. 084-004093
19∑∑∑∑MS. HAGY:∑I'd waive.                               16
                                                         17
20∑∑∑∑THE WITNESS:∑Okay.                                 18
21∑∑∑∑MS. HAGY:∑Do you want to say waived?               19
                                                         20
22∑∑∑∑THE WITNESS:∑Yeah.                                 21
23∑∑∑∑MS. HAGY:∑Okay.∑We're going to waive.              22
                                                         23
24∑∑∑∑THE VIDEOGRAPHER:∑This concludes the               24


                                           Page 219
∑1∑deposition.∑We're off the record at 4:40 p.m.
∑2∑∑∑∑∑∑∑∑∑∑∑(The proceedings adjourned at
∑3∑∑∑∑∑∑∑∑∑∑∑∑4:42 p.m.)
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13
14
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16
17
18
19
20
21
22
23
24

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                                                                                 Index: 00235–4:40
WILLIAM NEGRON, 09/27/2021                                                                       ·

                                      18 5:13 6:14 7:6 143:16             20th 47:9 48:2
              Exhibits
                                      1871 61:2                           219 113:2 117:8
 1 Negron 092721-1 46:1 54:3          1873 62:13                          22 169:22
 2 Negron 092721-2 60:20,22           1875 64:9                           220 113:2 117:9
 3 Negron 092721-3 61:1               1876 61:3                           221 117:4
 4 Negron 092721-4 112:23,24          19 77:16 80:9 196:14                222 117:4
 5 Negron 092721-5 114:21             192 209:19                          225 114:22
  116:10                              193 209:19                          226 114:22
 6 Negron 092721-6 116:12             1976 7:6                            2341 5:13
 7 Negron 092721-7 178:12             1990 100:2                          24th 55:18 56:22
 8 Negron 092721-8 183:13,14          1991 73:22 75:4 76:17 77:16 78:21   25 104:11 170:19 176:6
                                       83:6,18 84:23 94:9 113:7 114:23
                                                                          26-footer 13:7
                  0                    206:10
                                                                          2701 6:14
                                      1992 116:14 197:9
 00235 45:21                                                              27th 5:6
                                      1993 76:16 83:15,20,23 84:16,20,
 00254 45:22                           21,23 85:2,6,9,15 86:4,6,13 87:4   2:51 158:13
                                       88:4 91:18 196:11
 00SAO 45:22
 07/19/1991 114:23                    1994 23:1,2 35:23,24 36:3,12,16                       3
                                       39:19 40:2,7 47:9 48:2 59:22
                                       80:10,14 88:8,18 92:13 99:20       3 61:1 62:13 113:17
                  1                    110:24 111:2 128:13 161:2 165:18
                                       183:2 217:18                       30 191:3
 1 46:1 54:3 61:22                    1996 61:15                          32437 178:13
 10 187:6,7                           1997 100:2,15,17,20 102:16 108:1    32438 178:13
 10:05 5:7                            1999 146:21                         35 171:22 172:11
 11 28:18,19                          19th 114:23                         38 136:3,5,6,10
 11:00 45:10                          1:06 14:18 15:4                     3:00 161:14,16,17
 11:01 45:12                          1:31 99:16                          3:02 158:16
 11:16 45:15                          1st 128:13                          3:25 178:6
 12 28:18 195:12 203:8                                                    3:42 178:9
 12:01 79:22                                            2                 3A 41:21
 12:08 80:1
                                      2 46:19 60:20,22
 12:37 99:13                                                                                4
                                      20 104:10 169:22,24
 12th 119:10                                                              4 48:3 112:21,24 186:18
                                      2000 142:9,10 143:2,4,16 146:21
 13 23:7 25:19 28:11,16 35:20 203:8    156:14                             42713 183:17
 14 21:12 187:7,10 190:3              2010 22:21                          44 56:3 182:8
 140 14:17                            2013 143:3,4                        45 99:7,11,12 182:11
 15 21:12 166:8,14,15,16              2018 55:18 56:9,22,24 57:4 144:2    46 182:11
 15th 56:9                            2019 16:14 113:2                    4:01 191:14
 17 20:2 175:21,24                    2020 14:4,7,8,11 15:11,14,15        4:09 191:17
 17-year-old 176:1                    2021 5:6 16:7,9                     4:40 219:1



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                           Index: 4:42–anymore
WILLIAM NEGRON, 09/27/2021                                                                   ·

 4:42 219:3                        absolutely 45:3 201:21              afraid 84:1
                                   abuse 58:16,18,20,23 59:16,20       African-american 78:1 80:20,21
                   5                60:3,9,11 148:19,20 193:21          94:13 206:10,18 207:4,5,20,23
                                   abusing 194:2                       age 21:12 23:6 28:15 34:11 35:20
 5 64:8 110:7,10 114:21 116:10                                          182:4,24
  159:14 186:17,20 199:5,6,10,21   accept 100:9 106:19,20,24
                                                                       agencies 13:19 17:9,16,22 18:6
 50 211:21                         accidentally 53:6
                                                                        118:10
 57th 75:6                         accompany 66:1,13
                                                                       agency 16:16 17:21 18:2,3
 5:00 161:14,18                    accusation 98:16 103:9
                                                                       agree 103:5 176:2
 5th 144:1                         accusations 87:22 97:1 108:10
                                                                       agreements 129:12
                                    133:22 203:24
                                                                       ahead 30:1 67:6 109:14 129:5
                   6               accuse 72:4,16 103:8
                                                                        142:2 174:12,17 179:6,7 188:2
                                   accused 102:19 103:1                 193:7
 6 116:11,12 192:18,21 193:4
                                   accusing 97:1 108:17                Ainsworth 56:17
 60707 57:15
                                   acknowledge 103:1 214:17            alarm 89:13 207:9

                   7               acknowledged 103:3                  alarming 78:24 80:18
                                   acquainted 74:4                     alcoholic 10:4
 7 178:12 179:16 192:18,21                                             Alfredo 48:19
                                   acted 95:18
 716.529.7661 138:15               actions 213:19 215:8 216:14         allegations 94:19 96:17 97:4
 7327 57:10                                                             204:5
                                   activities 64:13 65:24 66:11 69:7
                                                                       allegedly 216:13
                                   activity 180:13
                   8                                                   Almodovar 5:10,24 27:17 28:6,7,
                                   adamant 154:19                       21 32:2 33:2 91:3,9 95:8,22
 8 183:14 184:2 186:21             additional 153:14 212:14             125:19,20 135:7 144:5,8,18,22
 88 70:1                                                                208:17,19,20 217:14,21,22
                                   address 12:2 25:12 57:7,9,11
                                                                       Almodovar's 31:5 144:21 208:14
                                   adjourned 219:2
                   9                                                   altercation 197:15
                                   adjusted 150:3
                                                                       altercations 196:24 197:24
 9 41:21,23 52:18 187:1,2          admit 58:10 160:1 162:10
                                                                       Amos 119:2
 90 211:21                         admitted 48:4 59:8
                                                                       amount 156:10 158:1,3
 93 84:24 196:16                   admitting 55:11 66:22 71:24 73:7
                                                                       Amy 119:2 124:7 134:23 159:18
 94 36:10,14 88:22 161:1 195:3     adolescent 34:13                     162:17 169:3 173:22 177:14
  203:17
                                   adult 150:22 205:12 211:24           182:12,15,17,21 183:10
 97 102:1 141:9
                                   adults 205:4                        and/or 203:23
 98 141:9 142:10
                                   advance 172:2 173:2,3               angry 38:15 94:14
 9:00 14:17
                                   advocate 129:10                     answering 9:3,7,13 90:7
 9th 61:15 113:7
                                   affect 10:8                         Antonio 40:24 41:2,3,7,15,16 42:7
                                                                        43:4,5,7,20 44:1 47:19 134:17,22
                   A               affected 211:12 212:3                136:19 138:2 139:5,7,10 187:12,21
                                   affidavit 179:17 211:8               190:12
 a.m. 5:7 14:17 45:15              affiliated 37:8 38:12,16            anxiety 149:16 150:14,15,17 151:3
 Abel 36:20,21                     affiliation 211:9                   anybody's 194:24
 ability 10:9                                                          anymore 80:15 81:14 88:11 94:4



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                            Index: apartment–beat
WILLIAM NEGRON, 09/27/2021                                                                      ·

  147:18 156:16                        Associates 5:5                        71:20,24 73:1,7,15 76:3,5,15,18,
                                                                             19,21,22 78:21 79:18,24 83:20,23
 apartment 40:13,14                    associating 38:17
                                                                             86:13 90:21,22 94:19 99:12,15
 apologize 58:15 137:14                association 5:4                       100:16 102:15 110:19,24 121:13
                                                                             123:2 124:21 126:6 131:1 143:11
 app 42:5                              assume 8:18 137:8 216:17
                                                                             146:2 150:9 156:5 158:10,15
 apparently 10:20                      assumed 93:13                         159:5,23 161:24 162:21 167:17,19,
                                                                             21 172:22,24 178:8 181:11 183:2
 appeals 104:21 105:1                  assuming 9:10 13:8 30:9 77:19         184:20,21 188:9,14,18 191:16
                                        88:23 135:14 137:10,18 146:23        193:11 194:17 199:5 200:19
 appellate 104:21 105:9
                                        216:23                               203:17 212:22 215:4
 application 29:5,7
                                       attached 209:14                      backed 214:21
 appointment 177:24
                                       attacked 147:2                       backwards 26:19
 apprehended 115:21,22
                                       attempt 74:3                         bad 58:9
 approved 67:6
                                       attempted 119:3 181:10 194:6         Baez 43:2,4,5,7,20 44:1,21 47:19
 approximately 25:19 121:6,19                                                48:5 49:18 54:9 55:12 66:21 68:3,
                                       attempting 115:17
 April 13:13 15:11,16 55:18 56:22                                            13,15,24 70:3,4,20,21 102:7
                                       attempts 71:5                         104:13 107:3 140:4 152:12,16
  195:3
                                       attention 73:15 135:24                153:3,24 154:1,9 186:15,18
 area 24:18 28:23 36:2,5,9 37:18                                             187:12,21 190:13
  48:3 63:14 66:17 70:7,8,10,19 95:1   attestation 189:12
  110:7,10 127:5,15 130:21,23,24                                            Baez's 67:5
                                       attorney 45:18 48:2 49:17 56:16
  131:2,3,6 135:12 159:14 167:24                                            bags 75:23
                                        67:17 68:3,6,18 70:23 71:9,15
  168:6 186:17,18,20 194:12,18
                                        103:20,21 104:19 105:9,15 123:22    bald-headed 170:23
  199:5,6,9,21 204:11
                                        127:22,23 128:1,4,9,14,20,21
 argument 197:7,11                      129:11,19,20 130:20 131:14          ballistics 136:3
                                        153:24 199:11,16                    ballpark 28:17
 argumentative 53:20 201:18,24
  204:18 217:17                        attorney's 130:10                    Bam 141:20
 arguments 197:2                       attorney/client 67:9,16,23 71:10     bars 167:9
                                        133:12 134:9 137:9 139:16
 Arman 74:16 82:3 89:23                                                     Barth 114:8
                                       attorneys 5:15 66:20 67:4 107:16
 Armitage 116:20                                                            base 153:19
                                        133:1,15 134:11 137:21 139:13
 arrest 40:10 42:18 59:21 65:3 83:6     179:22
                                                                            baseball 196:22
  110:4,8 111:2 118:19 120:12 121:2
                                       August 36:14,16 165:19,20,21         based 14:14 15:3,23 102:2 111:20
  123:7 203:7 204:14 217:8,13
                                       Augusta 24:23 33:16 34:2,8 40:23      124:24 130:2 136:1 149:14 150:17
 arrested 20:13,22 23:2 79:13,14                                             152:1,2,16 153:3,23 154:1 167:13
                                        88:17,21 90:24 110:22 114:15
  80:10 111:3 118:4,9 119:1,7,14,15                                          180:12 186:7 188:7,12,16,23
                                        195:7 196:7,12
  120:21 121:7,20 122:2,10 123:10                                            190:10,11 191:5 204:4,5 206:9
  166:9 181:12 199:1 216:10            auto 111:10,12,24 118:2 174:20        211:24 212:7 216:5 217:18 218:7,9
                                        175:23
 arrests 112:1,4,11                                                         basically 15:4 19:3,8,15 20:5
                                       automatically 95:5 147:9 208:19       26:21 27:16 29:14 48:12 69:10,14
 arrived 92:15,22
                                        212:9 217:22                         82:17 86:21 135:19 151:1 180:11
 arts 155:12,15                                                              209:4
                                       Avenue 10:17 74:2,6,13,21
 assaulted 191:23 192:11                                                    bastard 193:9
                                       aware 47:16 106:12 110:23 212:2
 asserts 61:24                                                              bat 52:13 196:22
 assessment 61:2                                        B                   Bate 113:1
 assigned 211:13                                                            Bates 56:2 61:2 62:13 64:9 117:2
                                       Baby 52:22 139:7
 assistance 17:13 147:13                                                     209:10,21 210:4 211:1
                                       back 29:16 31:8,12 38:17 40:1,5,6
 assistant 48:2 49:17 127:22            45:10,14 47:9 63:22 64:23 65:2,5,   beat 9:17 112:15
  130:19 131:14                         18,24 66:11 68:17,21 69:3 70:7,13


Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                                Index: beaten–cards
WILLIAM NEGRON, 09/27/2021                                                                        ·

 beaten 62:5                          Bonjean 5:23 6:3 14:23 25:13,24       bullpen 68:17
                                       27:13 29:23 30:18 31:15,21 32:4,
 bedroom 88:12                                                              bullying 22:4
                                       13,24 34:10,18,20 35:1,15 52:10
 begin 60:2 63:23 65:7                 55:23 56:1 59:4 67:15 72:2,10,12     bumped 84:8
                                       91:10 106:2,4 107:9,21 109:7,12,
 beginning 61:20 160:24 165:20,                                             bumper 90:22
                                       14 111:18 112:6,13 117:2,5,7,10
  23 195:2
                                       124:22 125:10,12,23 128:23           bumping 84:3
 behalf 5:17,19,21,23 6:1              129:23 132:3,13,20 133:4 134:3
                                       137:2,6,12 138:9,14,16,20 139:4,     business 15:22
 Belden 32:16,19,22 33:11,21 34:4,     17 145:4,8 153:5 165:11 172:3,7,9,   Busse 49:13
  16                                   11,13,16 174:7,13 175:1,3,14,24
                                       178:24 179:6 183:18 187:23 188:1,    busy 200:5
 believes 154:20
                                       4 193:5 194:10 198:14,17 201:8,      button 116:22
 bell 35:9 177:19                      16,19 202:4 203:4,15 204:9,19
 Belle 25:5,6,11 40:8 119:17           205:1,19 206:15 207:2,13 208:1
                                       210:8 213:4 216:4,7                                    C
 belong 23:2,8
                                      books 157:6,21 158:6                  Cacioppo 114:10,11,12
 belonged 41:5 43:8 141:22
                                      boss 19:7                             cafeteria 20:16
 bench 168:12 170:4,5
                                      bottom 45:21 46:13,14,23 57:17,       cages 127:18
 benches 170:9                         19 113:24
 benefits 62:21 63:7,8,10                                                   caliber 136:3,5
                                      bought 74:4 199:4
 Biebel 98:11 103:19 108:6,7                                                California 15:21 159:21 197:4
                                      Bowen 5:4
  109:6,24 110:1 205:22 209:2 218:1                                         call 30:5 41:13 88:9 90:14 91:16
                                      box 158:2,4                            96:8 100:2,9,21 101:7 102:16
 Biebel's 103:22 108:6
                                      Boy 51:16,18 141:17                    104:9,17 105:10,19,24 106:14
 big 114:2 127:8,17,19,20 150:19                                             107:1 137:20 138:13,16 141:13,15,
  158:2 168:7 169:8,12,13 183:15,20   bragging 68:14,22 69:3                 17,18 153:24
  200:3,4 202:24                      break 8:2,6 44:23 45:17 98:22         called 6:20 13:4,21,23 14:13 15:18
 bigger 171:19 175:11                  99:18 114:17 115:17 158:9 177:23      17:18 18:11,14 24:18 33:7 49:5
                                       191:9,10                              90:15 91:2 100:1 114:17 171:3
 Bill 82:3 95:3,4
                                      bring 15:21 71:22 73:4,9 103:9         174:1 193:9 204:13
 biological 81:21 82:4 203:3           154:13 171:1
  207:19                                                                    calling 100:8,17 173:19 177:24
                                      bringing 48:17                        calls 67:15 106:13,14 203:13
 birth 7:5
                                      broad 140:7                            211:17 212:5
 bit 9:17 26:19 60:15 78:1,7,9,10
  93:3,20 99:3 129:15 140:7 150:6     broke 161:15 192:15                   camera 169:17 171:17,22 172:22
  151:19 152:8 203:19 214:7                                                  175:12,18
                                      broken 146:11
 bits 210:11                                                                Campell 51:16,18
                                      brother 38:5,9,14 39:8,17 40:2,4,
 black 122:13 164:21,22 195:6          19,20 103:17,22 108:6 180:20         candy 193:10,11
  207:12                               193:13                               cans 195:13
 blew 123:24                          brother's 38:11 64:5                  capable 154:7
 block 58:13 119:17                   brothers 33:5 49:23 166:1,2,4         car 69:19,22 88:15,20 89:9,11
 Bloom 183:16,17                      brought 20:14 47:23 75:11,14,24        90:16,19 92:6 93:2 98:17 113:18,
                                       94:7,8 95:3 167:15 168:19             22 114:16,18 115:16,20,24 120:1
 blow 192:6                                                                  122:23 123:9,14,15 135:3,11
                                      brownish 97:16,18                      136:8,10,12 159:19,23 160:10,15,
 blown 49:6
                                      budge 134:8                            23 161:5,7,22 162:6 164:10 166:22
 blue 70:1 114:5 212:12                                                      176:12,19,20 182:20 199:23
                                      Bug 141:14,21                          200:18 213:4,22 214:15,19,20,21,
 Bodiqua 141:15
                                      Buick 90:18                            22 215:5,14
 bond 129:12
                                                                            cards 157:17



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                          Index: Carlos–concerns
WILLIAM NEGRON, 09/27/2021                                                                     ·

 Carlos 110:12 118:14                 changing 139:3                      co-defendant 50:5 135:7
 Carney 5:19 198:9                    characterize 192:10                 co-plaintiff 144:5
 Carrier 13:4,5,12,16 15:12,13,16,    characterizes 129:1                 coat 164:6
  17 19:23
                                      charge 34:15                        Cobra 136:20
 Carrillo 159:18 182:12,16,21
                                      charged 42:23 49:4 73:11 118:22     Cobras 41:6 136:17
  183:10
                                       131:5 132:7,8 167:9 174:19,22
                                                                          code 57:13
 carry 172:18 217:13
                                      charges 64:2 111:12
                                                                          collapsed 147:17
 case 5:9,11,13 6:13 42:18 50:5
                                      check 210:16
  54:7,9 58:10 59:10 66:21 68:3,15                                        collarbone 146:11,12,13
  69:7,10,13,15,17 73:11 81:1,9       checked 19:9
  82:22,24 94:6 95:15 101:12 102:7
                                                                          collared 163:14,15 165:4
  104:13 107:3,4 113:7,14 114:22,23
                                      Chevy 161:6
                                                                          collect 100:2,9,18,21 102:16
  116:7 117:9 118:22 119:1,4 125:1    Chicago 5:20 6:14 10:13 70:9         104:9,17 105:10,19 106:24
  132:9 134:23 135:2,9,13 136:24       111:4 118:4,10 196:6,9,11
  139:11,22 140:4 143:14 152:1,16,                                        color 90:18 165:1,2
  17 154:6,9,14,17 177:8,10 181:12,   chiefs 87:11
                                                                          comfortable 10:19 85:22
  16,17 184:13 186:12,14,15,18        child 82:2 96:24
  188:9,19 201:12 202:3 208:8,24                                          comment 145:7,8,9 206:24
  209:3,5 210:18 212:15 216:14        children 203:17 207:15
                                                                          commercial 13:9 22:15
  217:20                              chipped 193:15
                                                                          commit 100:13 187:20
 cases 82:16,20 111:15 140:1          choice 85:24
  184:13                                                                  committed 43:14
                                      choose 103:6
 Casper 51:12                                                             communicate 41:12
                                      Cindy 12:18,19
 catch 109:8                                                              communication 133:6,12 139:16
                                      City 5:20 6:13 25:15 198:9           190:20,21
 Caucasian 97:15,17 162:21
                                      claim 190:12                        communications 67:16 134:10
 caught 94:2 117:15 193:12                                                 137:9,20
                                      clarify 15:3
 causation 193:4                                                          commute 33:18
                                      class 13:10 18:11,15 22:3
 caused 21:15,22 81:13 207:9                                              companies 17:13
                                      clean 20:8
 CCSA 45:20                                                               company 13:4,21 15:18 18:11,14
                                      clear 6:9 7:17 19:2 29:12 82:19
 CCSAO 45:21,22 61:2 62:13 113:1                                           19:10
                                       134:6 137:17 152:10 193:20 194:1
  114:21 117:4                         213:5 215:6                        compared 152:16 153:3 171:17
 CCSAO.38 56:2                        clearer 9:4                         comparing 150:4,22 175:22
 cell 127:8                           Clemente 21:5,11 62:1               complained 103:6
 cellmate 141:11 157:9,22             client 44:20                        complaint 77:24 78:7,15 94:13
 cellmates 141:11 142:13                                                   205:16 206:1,2,12,13,18,20
                                      clippers 157:10,15
 celly 142:15                                                             complaints 98:11
                                      cloning 20:9
 Central 75:9 115:22 167:4 199:5,                                         complected 207:16
                                      close 10:16 12:20 28:22 37:23
  24                                   75:9 84:5 85:12 103:23 116:20      complete 58:16 59:16
 cents 193:11                          148:23 159:22 161:13 196:6
                                                                          completed 14:21 58:16
                                       205:12
 cetera 38:20 150:23                                                      complexion 207:19
                                      closer 103:19
 chairs 126:6                                                             computer 114:19
                                      closes 138:21
 chance 44:12 115:5 179:11 184:3                                          concentrating 76:6
                                      closest 184:14 205:3
 change 193:10                                                            concerned 95:13
                                      clothes 164:24
 changed 79:10,12 82:17                                                   concerns 86:3



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                            Index: concludes–darker
WILLIAM NEGRON, 09/27/2021                                                                        ·

 concludes 218:24                     convict 153:21                         corruption 96:20
 condition 152:5                      convicted 42:14 102:6 154:17           Cortez 63:17,21,24
                                       218:4
 conduct 79:8 190:17                                                         counsel 72:18 209:9
                                      conviction 107:3 152:22 154:13
 conduct's 87:23                                                             counseling 148:19
                                       188:11,22 211:16,24 216:16
 confessing 70:2                                                             count 14:21
                                      convince 26:22
 confident 198:24                                                            County 20:4,11,14,20 41:4,21,23
                                      Cook 20:4,11,14,20 41:4,21,23
                                                                              63:19 64:2 100:18 105:11 118:20,
 conflict 103:11                       42:11 63:18 64:1 100:18 105:11
                                                                              21,23 131:8 132:10 134:16 136:23
                                       118:20,21,23 131:8 132:10 134:16
 confront 121:5                                                               146:4,6 148:10
                                       136:23 146:4,6 148:10
 confrontation 120:20 121:15                                                 couple 113:24 170:9 189:16
                                      cop 79:2 98:2,6
  122:1 132:18 133:1,15 208:7                                                 191:20 198:14 209:6 216:4
                                      cope 149:19 150:18
 confronted 68:19 121:1 133:22                                               court 5:11 6:16 8:22 44:20 45:19
                                      copy 45:18 101:16 189:3                 46:10 49:10,13 52:17 53:10 56:8
 confusing 9:20                                                               60:19 67:3 73:2 109:9,10 112:20,
                                      Cordelia 49:13
 confusion 84:23                                                              21 116:11 121:10 132:10 140:17,
                                      corner 96:2,6 214:22                    20 187:1 218:12
 Congratulations 12:12
                                      Corolla 116:3                          cousin 30:23
 considered 150:14
                                      correct 11:17 12:6,7 13:9 15:8         cousins 30:20 192:5
 consist 154:18                        16:20 18:3,4 19:19 20:12 25:20
                                                                             cover 145:1 191:11
 consolidated 6:12                     26:12 27:7,9 29:10,17 30:11 31:8
                                       41:18 42:6,15,16,21 43:3,15,24        COVID 19:1,4,6
 construction 17:12                    45:22 47:6,11,23 51:7 53:12 56:19,
                                                                             crazy 93:6 194:15
 contact 34:3 65:12 87:2 122:6         20 57:12 58:18 61:18,19 62:2,8,24
  138:2 139:1,14 160:6,16 162:13       70:3,11 76:16 80:7 83:7 85:13         creative 155:11,15
  177:2 181:13 182:13                  86:20 87:13 92:13,14 100:18
                                       102:22,23 105:8 106:17,18 107:4
                                                                             credit 150:23
 contacted 64:6                        108:14,19,20,23 119:10 121:16,17,     crime 43:23 48:18 70:6 71:24 73:8
 contend 187:11                        20,23 123:18 124:8 127:6 131:9,        95:11 100:13 120:11 121:12
                                       14,15 133:20 134:18,19 136:6,20,       135:13,20
 contention 187:15                     21 137:21 138:2 140:1,2,4,5
                                       148:20,21 151:23 152:12,13            crimes 120:14
 contest 43:14,17
                                       153:11 154:11,14,15 156:13            criminal 47:18 54:6 68:3 104:12
 contested 188:10,20                   167:20 171:12 175:21 176:12            132:17 134:1,10
 context 196:23                        180:12 190:11,24 191:21 193:21
                                       198:23 199:8,13,22 200:9,17           cross 75:7
 continual 73:12                       201:2,5,7 204:23 205:6,11,18,23       crude 57:14
 continue 151:7 160:12 179:15          211:9,10 213:8,11,13,16 214:1,2
                                       215:11,15,16,19 216:22 217:3          cuffs 215:4
 continued 80:24 103:5 160:2                                                 culinary 155:19,21 156:5,8,11,12,
  162:7 176:16                        Correction 20:21
                                                                              13,16
 contracted 19:6                      Correctional 140:15
                                                                             Cusack 114:8
 control 209:5                        corrections 41:17 42:12 58:17
                                       59:18 157:18 218:15                   custody 20:10 213:24 215:14
 conversation 37:20 84:7,18 85:4                                             CV 5:13 6:14
  88:24 89:1 90:4 91:24 92:5 105:18   correctly 24:23 43:13 111:7
  107:7,17 108:1 130:18,19 185:18      115:20 116:23 119:8 136:18 141:8
  206:16 208:16                        144:1 157:16 170:7 175:8 182:18                        D
                                       191:7 193:8
 conversations 78:11,20 105:15
  108:2 122:19,22 123:2,6 158:21      correspondence 64:3 158:2              dark 39:15 70:1 122:15 136:10
  202:6,14 204:4 205:9 217:24          184:15,24 185:10,24 186:2,6            163:13 164:4,9,24

 convey 136:22                        corrupt 204:14                         darker 207:15,18




Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                             Index: date–driver's
WILLIAM NEGRON, 09/27/2021                                                                      ·

 date 5:6 7:4 14:3 61:15 65:17,20     Depends 145:3 218:18                  186:4,5,8 191:4
  83:12 92:11
                                      deposition 7:8 8:4,21 9:11 10:23     discussing 127:24
 dates 16:5                            11:20,21 219:1
                                                                           discussion 102:20
 dating 63:21,23                      depressed 149:17
                                                                           disengage 53:5
 daughter 202:24                      depression 151:22,24
                                                                           disorders 150:11
 day 13:23 15:18 16:3 20:8 54:23      depth 104:7
                                                                           distance 165:5
  69:5 77:23 92:8 94:20 100:14
                                      describe 122:12 126:2 150:15
  119:6 138:21 159:9 161:12 162:7,8                                        District 5:11,12
                                       162:19 168:7,9 194:12 195:5
  172:24 182:19
                                                                           Diversey 57:10 159:22
                                      describing 69:19,20 135:1,16
 days 120:19,22,23 121:7,19 122:2
                                                                           division 5:12 41:21,23 104:21
                                      description 69:15 70:6 135:4
 deadlines 14:20                                                            197:3
                                       208:15
 deaf 73:12 206:13                                                         Dixon 140:16 143:17,19,22,23,24
                                      descriptions 89:10 135:19,22
                                                                            144:11,22 145:22 155:6 180:19,20,
 deal 38:13 105:2,3 123:11,12
                                      detail 104:4 140:10 214:7 215:3       24 181:4,14
 dealing 16:22 38:4 63:14 110:7
                                      details 135:3                        doctor 190:15
 dealings 110:9
                                      detective 48:3 111:3 119:16,19       doctor's 177:23
 Dean 33:6,7                           120:3,6,7 122:9 123:7 124:5 131:4
                                                                           document 47:17 64:9 180:2,5,9
                                       159:1,14 160:7,8 161:7 185:8
 Dean's 19:9
                                       198:20 199:10,24 200:1,16,24        documents 10:24 11:4,8 44:6
 death 43:8 67:5                       201:3,10,20,23 202:18 203:9,23       62:13 101:17 209:7,10 210:22
                                       204:13 205:15 206:17 213:5,6,7,
 December 16:17 61:15 119:10           15,19,20 215:7,8 217:1,7,11
                                                                           domestic 203:24
  143:15,24
                                      detectives 112:10 167:12 198:19      Dominic 92:21 93:2 203:3,5,11
 decent 169:13                         214:21                              door 95:6 96:17,24 97:7,13 126:16,
 decided 25:5 71:17 85:23 91:24       devil's 129:10                        18 130:15 176:21 204:22
  92:1 98:9 101:7 153:24 197:13
                                      difference 152:20 171:14             doubt 29:6 34:12
 deciding 24:7
                                      digging 189:11                       downstairs 127:2,4,13 130:21
 Deck 17:24 18:2
                                      digital 171:24 172:24                Dragon 23:4 34:22 43:11 48:18
 defendant 5:20,22 186:22                                                   52:4,12,23 93:22,23 94:2 110:18
                                      Dino 49:24 50:1,3                     162:11 165:12
 Defendant's 57:20 58:2
                                      diploma 22:18                        Dragons 23:6,9,10 25:18,23 26:14
 defendants 5:18 186:23
                                                                            27:11 28:12 29:3,20 30:13,17 31:2,
                                      direct 91:8
 defender's 104:20                                                          11,14,20 32:3,11,22 33:14,20 34:3
                                      directly 200:20 214:8                 35:13,22 36:13,16 37:6,11 38:10,
 defending 208:18 217:22                                                    24 39:7 50:7,16 51:14 52:8 62:19
                                      disappear 19:3
 defense 54:6 68:3 134:11                                                   63:4,12 64:20,21 87:13,16 117:23
                                      discharged 14:22 15:8                 160:1,3
 definition 14:15
                                      Disciple 142:4                       dressed 163:9 164:19,21,22
 deliveries 14:16 15:24
                                      disciplined 157:2                    drew 89:13 135:24
 delivery 13:6 16:19 18:20,21
                                      disclose 133:5                       drink 10:5
 Delores 63:17,21,24 64:4,7
                                      discovered 105:3,4                   drive 89:10 90:17,23 91:24 92:2
 Delta 70:1                                                                 114:15
                                      discovery 6:13 138:21
 dep 11:1 12:15 138:19                                                     driven 159:7
                                      discuss 65:14 100:12 105:14,15
 department 20:17,20 41:17 42:12       186:14                              driver 13:6 14:1,11 16:19 18:20,21
  58:17 59:17 98:6 111:4 118:11                                             122:16
  130:2,8,16,17 131:13 145:19 174:5   discussed 36:21 65:19 74:12
                                       86:22 100:4,14 104:22 105:13,21     driver's 13:9 22:15
 departments 15:24                     106:20 108:9 137:5 156:3 185:4



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                                 Index: driving–fair
WILLIAM NEGRON, 09/27/2021                                                                         ·

 driving 74:11 93:16 113:18,22          39:16 43:1,12,18 44:5,7,10,17,19      208:4 213:1 216:6
  115:21 116:1 117:15 161:5 166:21,     45:2,8,16 48:9 50:10 51:4 52:15
                                                                             examined 6:21
  23 176:14,23 213:10                   53:9,15,21 54:1,20 55:8,15,21,24
                                        56:2,4 59:12 60:1,8,18,21,23 65:1,   excess 158:3
 drove 34:5 88:16,20 89:11 92:24
                                        16 67:2,11,14,20,24 68:1 70:17
  159:2 195:6                                                                excessive 157:10
                                        71:13 72:7,11,19,21 73:1,13 75:1
 drug 10:7                              80:2 88:3 89:20 91:15 98:19 99:2,    exemptions 21:19
                                        7,11,17 101:15,20,21 105:16
 drunk 54:15,23                         106:11 107:15,23 109:18 111:22       exhibit 46:1 54:3 60:20,22 61:1,6
                                        112:9,17,22 116:12,13 117:4,6,8,      112:19,23 114:21 116:10 178:12
 ducked 197:18
                                        13 125:6,14 126:1 129:4 130:4         179:16 183:13
 due 56:23 130:12 212:17                132:5,15,22 133:8,13 134:6,13,15     exhibits 44:11
 duly 6:20                              137:10,16,23 138:11,18,23 139:9,
                                        20 140:21 142:1 145:6,9,10 149:21    exonerated 152:20
 Dungerea 50:2                          151:11 152:23 153:18 155:14,20       expand 16:16
                                        156:7 158:7,17 165:15 169:14,23
                                        170:2 172:5,8,10,12,14,20,21         expelled 21:16,20,22
                  E
                                        173:8,20 174:3,11,16 175:2,5,20      experience 106:9 107:13
                                        176:3 177:1 178:2,10 179:4,9,10
 earlier 26:10 29:13 44:11 118:13                                            Experiences 61:22
                                        183:19,22 184:1 187:2,4 188:13
  128:18 143:17 145:1 155:22
                                        189:1,9,19,23 190:1,8 191:8,18       explain 26:7 54:23 95:18 116:19
  175:12 183:18 187:19 196:21
                                        192:2,7 193:6 194:5,11,19 195:21      169:9
  198:18
                                        196:8 198:5,13 201:6,15,18,24
 ears 73:12 206:14                      204:18 206:4 209:12,20,24 210:7,     explained 89:5,17 130:3 135:2
                                        9,20 211:17 212:5,21 213:2 214:4      171:6 193:23
 earshot 200:14
                                        216:3 217:15,17 218:7,10             explaining 117:12 167:24
 Eastern 5:12
                                       enhance 154:2                         explicit 214:7
 educate 60:15
                                       ensure 154:3                          Express 17:23 18:1
 educated 60:10
                                       entertain 87:1                        expressing 84:12
 education 22:10,11,23 154:22
                                       entire 25:1                           extent 67:15 137:7,19 185:22
 educational 60:7,16 61:22 153:15
                                       entitled 5:9 8:2                      extra 61:11
 Edwin 31:5,13 144:22
                                       escalated 22:6                        extremely 58:14 175:19,21 176:1
 eliminated 156:15                                                            212:11,13
                                       escapes 212:14
 Elmwood 57:10                                                               eyes 103:13
                                       essentially 204:13
 emerged 150:24
                                       estimate 120:23 141:2 143:9
 emotional 148:12 152:5                 149:24 161:17 195:24                                  F
 employed 13:1,14                      et al 5:10 6:14
                                                                             fabricated 48:13,23
 employment 15:10 17:3,23 18:1,        events 59:1
                                                                             face 109:5,17 194:24
  6,7 20:3,15,18,21
                                       eventually 156:19 190:20
                                                                             Facebook 42:5
 encounter 165:16
                                       Everflora 13:18 16:11,12,13 17:5,
                                                                             facilities 140:12 155:22
 end 13:23 165:20                       6,8
                                                                             facility 41:20 144:4,8 147:23
 ended 16:17 84:2                      everything's 28:11
                                                                              153:17,21 154:7
 ending 99:19                          evidence 105:3,5 187:14 188:11,
                                                                             facing 164:10 211:20
                                        23
 engaged 193:20 194:2
                                                                             fact 43:14 199:19
                                       evidentiary 108:12
 engaging 128:11
                                                                             factor 23:19
                                       exact 28:8 83:11 92:11 116:2
 Engquist 5:17 6:8,23 15:1 25:17
                                        135:2                                facts 69:12,16 187:13
  26:6,9 27:18 30:6,22 31:18 32:1,7,
  17 33:4 34:14,21 35:3,17 37:15       EXAMINATION 6:22 198:16               fair 8:18,19 12:22,24 27:8 103:12



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                           Index: Fairfield–gang
WILLIAM NEGRON, 09/27/2021                                                                     ·

  123:5 132:6 172:17 174:13,14        financially 151:18                   foul 186:9
  199:17,18 204:15
                                      find 39:7 55:9 71:2,6,16 72:15       found 80:18 93:10 111:1
 Fairfield 24:23 33:15 34:2,7          151:1 189:3,12
                                                                           foundation 14:23 25:13 26:1
  110:22 196:6,7,9,11,12
                                      finds 87:10 94:16                     27:12 29:21 30:18 31:15 32:4,13,
 fall 85:12 86:14 87:4 88:4 91:18                                           23 34:9,24 35:14 37:12 42:22 43:9,
                                      fine 8:1 10:22 26:7 45:3 55:22
                                                                            16 44:3 48:6 50:8 51:2 52:10 53:7,
 false 52:19                           178:2
                                                                            13,19 54:17 55:6,13 59:6,23 60:4,
 familiar 47:24 68:10 113:12          finish 109:7,8 163:21                 12 64:18 65:9 66:23 67:8 70:15
                                                                            72:3 74:22 87:19 89:2 91:10 106:5
 families 58:15                       firearms 196:22
                                                                            107:10,20 111:16 112:6,12 124:23
 family 30:12,16 31:5 64:21 91:2      fired 19:13                           125:11,23 129:22 132:4,12 134:2
  205:4                                                                     137:2 141:24 149:13 151:4 152:18
                                      fist 192:14,24                        155:5,23 165:10 172:18 173:5,15,
 famous 162:3                                                               23 174:8,14,24 175:13 188:1,3
                                      Flaco 90:9,10 91:1,2,3
 fast 177:23                                                                190:7 192:3 193:2 194:4,7,14
                                      flag 207:10                           195:19 196:3 201:6 211:18 212:6
 faster 99:6                                                                215:23
                                      flattop 163:4 164:19
 father 37:9,13 64:24 65:4,13 82:4                                         four-door 161:6
                                      flight 65:14
  207:19
                                      floor 147:17,19 168:3,4 197:21       fracture 146:12
 father's 64:13
                                      Flores 12:18                         frame 95:7,21 96:21,22 126:5
 fear 82:11                                                                 172:2
                                      focus 73:14
 fears 152:8                                                               framing 133:23
                                      follow 162:7 166:13,18 167:1
 feel 10:19,21 23:20 29:14 58:14                                           free 124:14
  85:22                               food 13:21,23 15:24 20:8
                                                                           frequently 49:3 70:7
 feels 103:10                         foot 162:22 163:1 164:18
                                                                           freshman 24:10,20,22 25:2,9
 feet 169:18 195:12                   footing 151:1
                                                                           Friday 12:9,10
 fellow 38:3 39:6 48:18               force 79:7
                                                                           friend 42:8,21 50:23 51:19 52:24
 felony 181:6,7                       forgot 177:23                         77:2,3 176:23 197:12,13
 felt 22:4 54:24 103:4 156:21         form 14:23 25:13,24 27:12 29:21      friends 35:18 39:3 50:11 77:11
                                       30:18 31:15 32:4,12,23 34:9,24       85:18 206:7
 field 107:14 151:20
                                       35:14 37:12 42:22 43:9,16 44:3
 fight 21:15,17,20,21 22:1 29:16       48:6 50:8 51:2 52:10 53:7,13,19     friendship 208:18
                                       54:17 55:6,13 59:4,23 60:4,12       front 93:11 102:20 103:2,9 108:17
 fighting 21:14 64:2 192:5
                                       64:18 65:9 66:23 67:8 70:15 72:2     120:20 167:17 184:4 195:7 200:15
 fights 21:16                          74:22 87:19 89:2 91:10 106:5         213:19
                                       107:9 111:16 124:22 125:11
 figure 123:10 151:8 209:17            132:12 134:2 140:19 141:24          Fullerton 115:22 160:10,15
 figured 73:10 82:14 85:24 91:21       149:13 151:4 152:18 153:5 155:5,     176:12,15,17 182:1,2
  96:13 100:5                          17,23 165:10 173:5,15,23 174:8,24   fun 22:2
                                       175:13 176:13 180:11 188:3 190:7
 file 56:9 66:20 189:11,20 209:8,19    193:2 194:4,7,14 195:19 196:3       funds 65:13
  210:1,10,14 211:3                    198:3 202:20 203:13 204:2,17,24
                                                                           furniture 75:21
 filed 5:11 56:8 67:3 107:2            205:17 206:21 208:11 215:23
                                       217:16,17                           future 151:16
 filing 29:4
                                      formal 22:11,23 163:23
 filings 107:8,19                                                                            G
                                      format 46:5
 film 173:2,3,4
                                      forward 17:14 164:12 179:4           G-A-R-B-A-R-I-N-O 190:9
 final 158:8 189:6,8                   189:19
                                                                           gain 129:8
 finally 62:5 152:11                  forwarded 104:20
                                                                           gang 22:7 23:3,8,17,21 24:13



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                           Index: gangs–handwriting
WILLIAM NEGRON, 09/27/2021                                                                        ·

  25:10 30:10 36:2,4,9 38:3 39:19     Grande 42:20 119:4 177:12               161:10 163:1,2,7 170:22,23 171:9,
  41:5 43:7 50:19,20 55:3 64:13                                               12 195:13 197:4,5,16,17
                                      grandfather 36:19 37:14,16,21
  65:24 66:9,11 87:9,10,11 120:11,
                                       38:14 39:1,22 66:2 191:23             guys 27:15 38:16 39:3 87:11
  14 141:22 165:9 180:13 197:1,6
                                                                              98:15,16 166:5 210:8
  198:2 211:9                         grandfather's 37:1,7
                                                                             Guzman 40:24 41:2,3,8,16 42:7
 gangs 62:16 87:9                     grandmother 19:5 65:11,21 66:2
                                                                              134:17,22 136:4,11,13,19 138:2,24
                                       90:24 152:4
 garbage 195:13                                                               139:5,7,11
                                      grandparents 38:7,20,23 39:9
 Garbarino 190:6
                                       40:21 66:13
                                                                                               H
 Garcia 159:17,18 160:4 163:11
                                      gray 115:20,21 116:3,15,16 117:14
  165:8 166:1,4 180:15
                                      grayish 122:14                         Haddon 84:5
 Gary 159:17,22 161:11 162:6,10,
  14,17 163:11,12 165:8,13,14         great 45:8                             Hagy 6:1 25:14 26:2 27:12 29:21
  166:21,22,24 169:2 173:17 180:15                                            30:19 31:16,22 32:5,12,14,23 34:9,
  181:11,13,20 182:9 183:4
                                      green 212:12                            19,24 35:14 37:12 39:10 42:22
                                      grew 30:4 194:13                        43:9,16 44:3,14,18,22 45:6 48:6
 Gary's 166:22                                                                50:8 51:2 52:9 53:7,13,19 54:17
 gave 55:4 58:24 78:13 80:22 186:3    ground 7:11                             55:6,13,20 59:6,23 60:4,12 64:18
                                                                              65:9 66:23 67:8,13,19,20 70:15
 GED 22:20,22                         grounds 145:24
                                                                              71:10 74:22 79:20 87:19 89:2
 general 145:19 191:6                 guess 21:18 24:3,11 25:22 26:4          91:11 98:24 99:1,5,10 101:18
                                       34:6 36:2,22 37:17,18 59:9 75:16,      105:14 107:11,20 111:16 112:8,12
 generality 186:3                      21 76:2 81:19 98:4 127:2 149:16        125:9,11 129:3,21 132:12 133:7,10
                                       152:19 156:20 171:8 180:1 190:19       134:2,12,14 137:18,22 139:15,19
 generated 56:22
                                       194:16 197:18 198:2 203:18             140:13,19 141:24 149:13 151:4
 gentleman 22:3 122:18 130:14                                                 152:18 153:9 155:5,17,23 158:11
                                      Guevara 5:10,22 49:5 73:17,19
  161:9 162:24                                                                165:10 169:17 170:1 172:19 173:5,
                                       77:17 78:8,21 80:9,11 81:8,12 82:7
                                                                              15,23 174:6,10,24 175:13 176:13
 George 24:19                          84:1 86:4,24 87:3 90:1 92:3,18,20,
                                                                              177:22 183:20,23 187:24 188:3,6
                                       21 93:4,5,11,14,19 94:5 95:7 96:17
 Gibbons 68:5,18,19,21                                                        189:1,7,18,22 190:7 192:1,3 193:2
                                       97:21 98:2,4 99:21,23 100:7
                                                                              194:4,7,14 195:19 196:3 198:3
 girlfriend 63:17 64:5                 102:17 103:8 104:9,17 105:11,18
                                                                              208:3,5,22 209:6,16,22 210:5,16
                                       107:7,18 108:2,5,18 110:3 111:3
 girlfriend's 203:24                   112:3 119:16 121:1,2,8,15,22
                                                                              211:4,6 212:1,19 214:3 215:23
                                                                              218:5,12,19,21,23
 give 10:14 28:14 55:16 90:6 101:7     122:3,16 123:8,17,20 124:4,6,11,
  113:21 138:12 139:21 192:6 209:9,    12 125:1 127:24 128:19 129:18         hair 97:16,18 122:14
  14,15                                131:4,13,17,21 132:18 133:2,16,22
                                       154:1,9 158:22 185:8 186:10,13
                                                                             hairline 146:12
 giving 7:18 69:12 89:10               198:12,19,24 199:6,10,24 201:23       half 80:21 99:1,2
 glance 11:3,9 164:11                  202:2,18 203:6,10,17 204:13,22
                                       205:15 206:17,19 208:7 213:7,19       Halvorsen 5:18 119:18 122:9,20
 glanced 11:2                          214:14,16,18,23 215:9,15,17            159:1 189:13 198:19 199:1 200:1,
                                       216:9,18 217:1,7,12                    16,24 201:4,10,20 213:5,6,10,16,
 glass 126:5                                                                  20 214:8 215:7 216:9 217:1 218:2
 glasses 122:15                       Guevara's 76:8,24 80:5 84:15,20,
                                       24 85:3,6,10 86:5,13 88:5 91:19       Halvorsen's 186:22,23
 goal 79:4                             92:7 100:21 202:8 203:23 205:4        hammer 53:6 191:23
 Gonzales 51:7                        guilt 55:12 58:10 66:22                hand 61:12 64:14 101:9 186:12
 good 5:1 49:1 150:2 151:1 158:9      guilty 59:10                           handcuffed 168:22,24 169:1,2,5,6
  169:13 178:3
                                      gun 52:7,11 53:5 136:2 214:9,11        handle 52:7
 government 24:3
                                      guns 70:5,18                           handled 202:3
 grabbed 119:16
                                      guy 22:2,4 23:16 33:8 36:20 41:3       hands 44:22 209:4 214:12
 graduation 193:13,14                  69:4 70:2 77:24 80:20 93:7,21
                                       94:12,13 97:24 98:1,4 100:6           handwriting 46:14
 Grand 160:10,14 167:4 176:12,17
  199:5,23                             141:16,18,19 142:14,16,17,18



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                      Index: handwritten–injured
WILLIAM NEGRON, 09/27/2021                                                                     ·

 handwritten 46:7 47:11               Hilario 37:2,5,21                    identified 131:5
 handy 178:24                         hired 16:16                          identify 5:15
 hang 50:13 51:22 53:2 77:5 86:1      hit 116:22 131:20,21 162:16          IDOC 60:10 140:4,8,11 144:4,24
  88:21 89:12 90:10 91:13              176:18                               145:13,14 146:1,7 147:8 148:4,14,
                                                                            18 155:9 156:21,23 157:3 190:19
 hanged 77:6 86:16 88:15 89:9,15      hold 52:19 106:4 158:5
                                                                            209:8,17,19 210:1,11
  90:12
                                      holding 68:17 127:2,7,8,13,20
                                                                           illegals 96:11
 hanging 70:7 93:21                    157:9,22 158:6 167:24
                                                                           Illinois 5:12 20:20 41:17 42:12
 happen 44:19 58:11 65:14 101:1       home 64:13 75:3,5,11 76:13 86:5
                                                                            57:10 58:17 59:17
  146:15 208:21                        92:19 100:22 101:1 119:15 121:1,
                                       16 132:19 133:2,16,24               immediately 89:15
 happened 38:13 44:16 69:7 74:9
  111:11,14 114:14 126:23 128:12      homicide 153:22                      impression 205:24
  135:13,16 137:15 149:15 161:19
                                      honest 34:17 51:10 68:8 79:7         improper 133:6
  167:6 170:20 176:7 197:14 208:20
                                       118:1 174:1 175:17 185:1 203:21
  210:21 218:1                                                             improvise 151:19
                                      honeymoon 12:14
 happening 49:8 67:21 214:24                                               inappropriate 201:11
                                      hop 92:6
 harassing 162:5                                                           incarcerated 20:19,22 21:1 41:4,
                                      hope 94:6 95:14 208:8                 16 42:11 110:2 111:1 118:15,18
 hard 192:6 210:21 218:16
                                                                            150:20 152:9 153:17 159:20
                                      hopes 129:12
 hardcopy 178:17,20,23 184:4,6                                              180:22 181:21,24 182:19 212:15
                                      hoping 106:19
 harm 30:9 158:6                                                           incarceration 20:2 23:1
                                      hour 99:1,3,8
 Hassem 33:5,6                                                             incident 125:2 147:12,16,23
                                      hours 86:16                           148:7,8 194:23 195:1
 he'll 41:13
                                      house 40:13 51:21 74:4 75:13,14,     incidents 113:10
 head 7:16 150:24 192:4,6 214:10
                                       15,18 76:2,5,7,8,24 77:15 78:22
                                                                           incorrect 57:13 63:2 143:18
 headed 176:22                         80:17 81:22 83:20,21 84:2,15,20,
                                       24 85:3,7,10,15 86:7,13 87:3 88:5   indicating 67:4
 heading 93:1 183:17
                                       91:19 92:7,16 93:1,11 94:24 95:20
                                                                           individual 136:8 159:17 195:11
 health 148:15 149:8,12                96:1,3,4,13,14 97:21 101:14
                                                                            214:10
                                       102:10,18 103:2 108:17 120:20
 hear 80:13 89:21 90:2 106:13          121:6 122:1 130:13 185:2 193:10,    individuals 49:22 80:17 135:5,18
  139:6 156:2 199:24 200:21 201:9,
                                       12                                   136:14 144:16 146:24 147:2
  13,20 202:1
                                                                            212:14 215:4 218:1
                                      housed 140:11 144:7,20 145:15
 heard 43:11 52:6 78:9 80:4,8,10       155:4                               influence 72:5
  81:11,13 82:5,6,7 83:4,10 88:13
  89:3 94:9,17,18 96:9 108:10,21      houses 96:2                          inform 132:17,24
  130:7 200:6 203:19 204:4 205:8
                                      housing 144:14 151:16,17             information 134:22 135:15
 hearing 79:10 87:21 88:23,24                                               136:23,24 138:24 185:6
                                      hundred 199:3
  89:7,10 90:4 108:13 201:4,5
                                                                           informed 19:5,7 68:18 96:20
                                      hung 24:16 70:11 86:18 88:19
 hearings 121:10                                                            98:14 103:8 123:21 144:16 166:13
                                       89:22 90:2,7 91:9
                                                                            176:8,18,20 214:16
 heed 97:2
                                      husband 89:19
                                                                           informing 167:12
 held 52:11
                                                                           infuriating 72:12,13
 helped 29:19 76:1                                    I
                                                                           initiate 23:17,24 24:12,17 25:23
 helping 75:21,22 151:9
                                      ID 212:10                             26:11,18,20 29:20
 hid 195:12
                                      idea 28:14 83:9 125:7 147:12         initiated 26:3 27:14,16 29:1
 high 21:5 24:10,21 25:1 62:1 158:2    169:16                              initiating 27:5 148:22
  183:5,7 212:9,12,13,17
                                      identifications 212:10               injured 195:15 196:19
 highlight 114:4



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                              Index: injuries–knew
WILLIAM NEGRON, 09/27/2021                                                                       ·

 injuries 146:5,8 148:3                 181:16 196:24                       Jorge 119:3 124:7 177:9
 inmates 146:23 147:3 148:1            involving 38:6 134:23                Josh 5:17 60:19 145:5
 innocence 100:6 188:12,24             issue 65:12 138:20                   Jr 5:10 27:17 28:6,7,21 32:2 91:3,9
                                                                             95:22
 innocent 43:23 187:12
                                                         J                  Juan 5:3 64:13 65:3,5
 inquiring 151:21
                                                                            judge 9:24 59:2
 Insane 23:4,5,9,10 25:18,23 26:14     jacket 165:7
  27:11 28:12 29:3,20 30:13,17 31:2,                                        July 114:22
  10,14,20 32:3,11,21 33:14,20 34:2,   jackets 164:8
                                                                            jump 197:17
  22 35:13,22 36:13,16 37:5,10         Jackie 119:4
  38:10,23 39:7 43:11 50:7,16 51:14,                                        jumped 23:17 29:16 146:17,22
  16,17 52:4,8 62:18 63:11 87:13,16    Jacqueline 42:20 177:12               147:5 148:1 161:22
  110:18 117:23                        Jail 20:11,14,20 41:4,21,24 63:19    jumping 148:5
 inside 123:15 130:12 145:15 150:4      100:18 105:11 118:20,21,23 131:8
  215:21                                132:11 134:17 136:24 146:4,6        June 14:5 15:14 36:10 40:7
                                        148:10                               141:14,21
 instant 173:9
                                       James 159:17 160:3 162:17            juvenile 174:20,23
 institutions 144:12                    163:11 165:8,12 166:21 173:18
 instruct 133:8 139:15                  180:22,24 181:4,11,13,15,20 182:3                     K
                                        183:4 190:5
 instructing 67:11 105:14 137:19
                                       James's 181:16                       Kedzie 182:2
 inter- 189:4
                                       janitorial 20:5                      Keeping 94:24
 interacted 199:6
                                       January 16:8,9                       Kennelly 177:5
 interaction 133:23 162:9 165:24
  166:5                                Jaws 139:7                           kicked 21:8,11,13 62:9

 interactions 147:24 158:22 203:6      Jennifer 5:23 72:19 172:6 198:13     kid 201:12 204:20

 interest 103:11                       Jimmy 169:1                          kids 77:3,5 81:20 86:18 207:10

 interested 186:19                     job 16:23 18:3,20 19:3 95:1 98:4     Kiki 177:16
                                        145:5,16
 interpreting 172:15                                                        killed 44:2 68:24 110:24
                                       jobs 13:20 17:10,16,18,22 18:2,6
 interrogated 124:12                    144:24 145:12
                                                                            Kimball 25:5,6,11

 interrogation 123:21 131:19           John 48:3                            kind 7:11 13:22 28:11 29:2 30:4
  216:2                                                                      38:2,21 48:21 54:22 74:18 75:19
                                       Johnson 77:10,12 80:6,11,14 82:3      79:10 80:18,22 82:12,17 85:22
 interrogatories 11:10,17 186:24        92:21 95:3,4                         87:20,23 88:15,20 89:9,11 90:16
  187:22 189:4,8,13                                                          97:15,23 103:4 104:6 122:14
                                       join 23:5,15 26:2,22 27:13 30:3,19
 intersection 160:10                                                         123:24 127:16,17,19 135:3 146:4,8
                                        31:16,22 32:5,14 34:10,19 35:15
                                                                             147:17 148:11,15,23 149:2,7,8,11
 interview 101:3,4 190:18               59:6 63:11 91:11 107:11,21 111:18
                                                                             150:7,8,10,11,14 152:2,5,7 154:22
                                        112:8,13 129:3,23 132:13 133:7
 interviewed 184:11                                                          156:19 161:4 163:23 164:7,9
                                        134:3 165:11 172:19 174:10 188:4
                                                                             168:10 169:12 172:23 178:17
 interviews 184:15                      193:5 194:10
                                                                             180:7,9 185:9 187:21 194:15
 introduced 64:7 156:21                joined 25:18 28:12                    197:18 202:21 203:10 204:10
                                                                             207:17 212:21
 investigation 55:18 59:2 138:10,      joining 23:21 87:8 125:12
  13 157:17 217:2                                                           kinds 10:7 124:10
                                       Joint 29:24 32:24
 investigative 216:14                                                       kitchen 15:19 16:3 88:13 145:16
                                       joke 206:7
 involved 22:7 36:19 39:13 42:19                                            kitchens 145:15
                                       Joker 90:15
  48:5 54:14 55:4 62:16,20 63:5                                             knew 36:20 37:17 47:20 48:19
  64:20 68:7,22 70:20,24 89:7          Joliet 140:15,24
                                                                             63:13 74:15 77:3,7 95:18 96:5,19
  111:24 112:3,11 116:7 155:11,13                                            97:21 135:17 136:12,14,15 181:11,



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                                Index: knocked–mark
WILLIAM NEGRON, 09/27/2021                                                                        ·

  20 205:6 206:12                     letter 183:22 184:20 186:17            164:1,7,12,14 165:6 168:1,12,16
                                                                             170:6,21,22,23 171:16,18 173:6
 knocked 95:6 97:7,13                 letters 102:2
                                                                             195:8 214:13
 knocking 96:16                       letting 87:21
                                                                            lost 102:8
 knowing 100:7 117:21                 level 156:22 211:13 212:8,17
                                                                            lot 30:4 48:12,22 49:8 58:12 63:14
 knowledge 106:9 134:5 135:10         levels 212:9                           69:6,9 105:6 139:2 150:23 152:2
  185:22 186:13 216:8 217:5,6,9                                              194:18
                                      license 13:9 22:15 93:15,17
 Kreiter 68:5                                                               loud 7:20
                                      life 58:12 79:2,5 150:22 154:3
                                       191:6 211:15 212:3                   low 212:11
                   L
                                      light 165:2                           Lucky 28:1

 labeled 210:2,23                     lighter 207:18                        lunch 98:23

 labor 16:23                          lights 176:18                         lying 100:6

 lacks 172:17                         limit 158:4
                                                                                             M
 laid 76:5                            Lindsay 6:1 44:10 55:17 79:18
                                       101:15 134:6 137:8 139:18 169:14
 last-last 84:22                       218:11                               M-DOG 28:2
 late 16:8                            lineup 124:13 125:5,8,16,17 126:3,    made 19:3 38:7,19,22 39:4 48:11,
                                       7,14,21,23 127:10,12                  12 53:11 70:19 80:14 82:8 98:4,5
 Latin 142:3                                                                 100:21 130:13 202:22 203:24
 laughed 78:2 206:22                  lineups 124:10,15                      206:18,24

 laughing 90:19,20                    lingering 135:14                      mail 184:16,18
 laundry 145:18                       list 156:14,19                        maintain 134:9
 lawsuit 6:4,12                       listed 57:9                           majority 68:6 75:22 76:6 77:6
                                      listen 137:12 205:15                   85:20,23 86:16,22 87:1 124:4
 lawyer 9:12 11:23                                                           145:14 151:5 184:17,19 185:10,23
 lawyers 72:6                         live 12:3 24:20,24 40:6,9,12,15,19,    186:7,11 212:13
                                       22 58:11 65:3 203:1
 leader 34:7                                                                make 9:4 26:5 61:9 65:13 71:5
                                      lived 25:12 28:22 50:24 84:9           78:4 96:17 97:4 98:10,12,16 105:7
 leading 201:15 206:4 207:7 214:3      130:14 181:22 183:1 204:21            106:12 109:10 131:10 132:23
  217:17,20                                                                  137:16 158:8,22 189:14,17 191:10
                                      lives 41:11
 Leandro 35:6,10,12,18                                                       218:14
                                      living 24:23 57:11 81:23 96:13
 learn 118:17                                                               makes 169:24
                                       152:3 202:23 207:11
 learned 118:14 162:4                 locate 101:18                         making 22:2 97:1 129:11
 leave 18:24 64:19 65:23 66:10                                              man 19:8 24:1,12 26:10,17 29:14,
                                      location 84:3,4 122:10
  98:9                                                                       15 78:1,7,9,10 79:15 93:6 97:15,17
                                      lockdown 147:23                        162:21 205:11 206:10,18 207:5,23
 leaving 86:7,10
                                      lockup 127:5 130:21,22,24 131:3,6     man's 24:2 136:7
 left 19:2 23:18 66:15 86:19 93:23     132:7
  98:17 142:9 146:13 161:22 164:13,                                         Maniac 142:3
  15 168:18 170:24 171:7 197:23       long 11:5 12:19 13:11 17:15 18:21
                                       28:3 33:19,22 45:4 63:4,20 70:12
                                                                            March 16:7,9 113:7 114:24 195:3
  214:13
                                       74:20 86:12 91:14 96:7 98:23         Marcy 81:17 82:1,2,6,9,10 83:5,14,
 Left-hand 57:2                        104:8 141:1 142:8 143:7,12 149:22     24 84:7,18 85:5 202:24 207:17
 left-side 146:12                      156:15,19 165:24 166:4 170:16
                                       176:4 191:1 192:21                   Maria 35:9
 leg 146:11                                                                 Marilyn 159:18
                                      longer 75:3 99:3
 lenient 211:23                                                             Marin 35:8
                                      looked 59:10 94:14 97:14 122:14
 Leondro 35:8                          126:9 135:6,18 137:11 163:4,13       mark 61:1 178:11 184:2



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                         Index: marked–Narraganset
WILLIAM NEGRON, 09/27/2021                                                                       ·

 marked 45:24 183:14                    196:22                              mom 84:11 85:6,10 86:2,19 94:5
                                                                             213:22 215:18
 market 151:17 157:23                  Merkes 119:2 124:7 125:2 134:24
                                        139:22 152:17 153:3,22 154:5,14     money 157:24
 marking 60:19
                                        177:14
                                                                            month 17:19 36:11 83:11 141:3
 married 12:6,8
                                       messages 41:13
                                                                            months 15:19 16:4,6 17:18,20
 Mary 74:16 81:19 82:2 85:17 86:23
                                       messenger 41:14 42:2,4                18:23 33:23,24 143:8 150:1
  88:9 89:6,23 92:5,20 93:11 94:4,14
  95:4 96:7,9 100:13 205:9             met 41:3 69:5 73:20,23 74:1,5 75:2   Morey 18:12,14,16,18,22 19:16
                                        108:24 109:24 110:13,20,21
 mask 10:18,20,21                                                           morning 5:1
                                        134:17 163:10
 mass 210:1                                                                 mother 25:4 40:16 62:6 64:22
                                       methodology 138:22
                                                                             65:12 73:20,24 74:15 75:16,19
 master 209:19,24 210:10,14 211:3
                                       Methods 179:17                        76:21,22,23 85:1,3,16 88:8,14
 match 116:2                                                                 89:4,14,21 90:6 91:6,7,22 92:5
                                       Mexicans 205:7
                                                                             96:9 101:4,12,13 102:2,5 105:20
 matched 69:14 70:6 135:19
                                       mid 165:20                            123:11,12 133:14,18 137:4 146:18
 matter 33:22 120:22 166:7                                                   147:1 152:2,7 200:3,5,9 202:15
                                       middle 21:20 46:13 165:22             204:5 205:9 215:2
 max 153:15 156:22 211:22
                                       milk 18:12,14,16,19,22 19:10,16      mother's 89:1 102:10 185:2
 Maysonet 35:9
                                       millimeter 52:18 171:22 172:11       motions 107:3
 Mcgrath 5:21 198:11 202:20
                                       Milwaukee 74:2,5,13,21               motorcycle 74:2,6,10,18
  203:13 204:2,17,24 205:17 206:21
  207:7 208:11 217:16 218:9            mind 7:13 58:13 123:24               mouth 185:17 193:14
 means 30:1 91:4                       Mingey 5:18 98:12 108:19,22,24       move 25:5 33:13 65:8,17,18 76:1
                                        109:20,22 189:14 205:22 206:1
 meant 208:10                                                                98:19 115:9,10 124:19 179:4 187:5
                                        209:2 217:5,8 218:1
 measure 169:18                                                             moved 25:7 33:15 34:1
                                       Mingey's 11:12 98:12
 media 63:6 135:14,21                                                       moving 38:20 75:12,15 77:24
                                       minimal 155:9                         78:12,17
 medical 147:13 148:11
                                       minute 53:16 79:16                   mugshot 171:8
 medium 153:16,21 154:7 156:22
                                       minutes 45:4,5,6,8 79:18 99:7,11,    mugshots 171:13
 meet 11:19,23 14:20 28:5,21 73:21      12 104:11 158:10 166:8,14,15,16
  77:2 176:17 190:22                    170:19 176:6 178:4 191:3,12         murder 42:19,20,21,24 43:14,20
                                                                             44:21 47:18 48:5 49:18 54:15
 meeting 74:8,20 191:1                 Miquel 44:8                           55:12 66:21 68:13,15 69:3,12,18
 meetings 216:24                       mirror 126:6                          70:3,21 71:23 73:5 101:12 118:14
                                                                             119:3 124:6 134:23 139:22 140:1
 Megan 5:21                            misbehaved 81:2                       152:12 153:3,4 154:17 181:9,10
 member 31:2,4,10 33:9,20 35:13,       mischaracterizes 128:24 129:21        186:15 187:12,20 190:12
  22 36:12,15,18 37:5 38:10 50:6                                            murders 42:15 70:13
                                       misconduct 102:19 103:2 108:18
  51:13 52:8 55:3 87:12,16 160:1
                                        185:8 186:10,18,20                  Myra 77:8 81:16 86:16 87:1 207:17
  198:2
                                       misinterpreted 59:8
 members 30:12,13,17 32:18,21
  34:4 36:2,4,9 38:3,23 39:7 117:23    misquoted 59:14                                       N
  165:9 197:1
                                       missed 130:7 131:11 140:17
                                                                            N-E-G-R-O-N 7:3
 Memo 142:19
                                       misstates 14:24 60:13
 memory 192:23                                                              nail 157:9,15
                                       Mitchell 68:5
                                                                            named 30:23 141:19 142:17
 Menard 20:17 140:14 143:2,5,7,21
                                       mixed 68:11                           198:21
  144:13 156:2
                                       moderate 212:12                      names 27:24 90:6
 mental 148:15 149:8,12
                                       Mohammed 142:17                      Narraganset 176:15,16
 mentioned 108:5,16 151:22



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                              Index: natural–pain
WILLIAM NEGRON, 09/27/2021                                                                      ·

 natural 154:3 211:15 212:3         Nurudeen 33:6                          159:5,10 160:6,16 162:14,16,19
                                                                           164:17,19 165:17 166:5 176:11
 naturally 48:15
                                                                           204:14
                                                     O
 nature 89:12 93:9 100:8 198:21
                                                                          officer's 104:20 114:1
 nearby 84:9                        O'GRADY 48:3,4                        officers 111:23 112:14,15 113:24
 needed 17:13 20:8,9 75:17,23       object 9:18 128:23 137:6 172:3         114:13 116:7 122:6
  155:10                             174:7 175:14 187:23 202:1            officially 36:23
 negative 188:9,19                  objecting 9:19 172:15                 Olan 110:12
 Negron 5:14 6:2,11,13,19 7:2,4,7   objection 14:23 25:13,24 27:12        Olan's 118:14
  37:3 61:18 178:12 198:18 208:2     29:21,24 30:18 31:15 32:4,12,23
  210:4,12 216:8                     34:9,18,20,24 35:14 37:12 39:10      Oleander 10:17
 neighbor 95:6,23,24 96:21 97:4      42:22 43:9,16 44:3 48:6 50:8 51:2    Olszewski 5:18 159:10 160:2,6,7,
  102:21                             52:9,10 53:7,13,19 54:17 55:6,13      16 162:2,3,6,16,20 163:6 164:20
                                     59:4,23 60:4,12 64:18 65:9 66:23      165:17 166:5 170:21 176:11,22
 neighbor's 95:20                    67:8 70:15 72:2,8 74:22 87:19 89:2    189:13
 neighborhood 10:15 64:14 88:16      106:2,5 107:9 111:16,19 112:6,12
                                     124:22 125:9,10,12,23 129:21         Olszewski's 11:11 162:14 189:10
  89:8
                                     132:3,12,20 133:4 134:2 137:2        one's 117:14
 neighbors 96:16 204:21 205:3        140:13,18 141:24 145:6 149:13
                                     151:4 152:18 153:5 155:5,17,23       open 37:24 127:8 129:13 137:13
 newly 105:2,4
                                     165:10 172:18 173:5,15,23 174:6,
                                                                          operate 13:7
 news 39:24                          24 175:13,16 176:13 187:24 188:3,
                                     4 190:7 192:1 193:2 194:4,7,14       opinion 129:8 154:2
 nickname 31:7 34:23 50:15,18
                                     195:19 196:3 198:3 201:6,15,24
  51:11 110:16                                                            opposite 160:13 161:23
                                     202:20 203:13 204:2,17,24 205:17
 nicknames 27:24 141:13              206:4,21 207:7 208:11 211:17         oral 7:20
                                     212:5 214:3 215:23 217:15
 night 125:22 166:9                                                       orally 7:22
                                    objections 9:11,13,14,22 31:21
 Nobody's 109:21                                                          order 11:20 17:1 36:18 37:10
                                     54:24
                                                                           60:10 155:10 209:3,4
 nodding 7:15 106:16
                                    obliged 161:21
                                                                          ordered 56:23
 Normandy 32:16,19,22 33:12,21
                                    obstacles 151:8,13,14
  34:4,16 183:3                                                           Ordonez 5:3
                                    obtain 18:11 106:8 167:13
 Norridge 10:16 12:2                                                      originally 96:5
                                    obtaining 18:15
 Northern 5:12                                                            Ortiz 37:4 40:16
                                    occasion 68:12 99:20
 Northwester 184:12                                                       outburst 130:14
                                    occasions 99:19,22 117:18
 Northwestern 184:13 185:4,5,12,                                          overcome 151:3 152:7
                                     175:10 195:22 196:18
  19 186:5
                                                                          overheard 68:13 77:23 78:14 96:7
                                    occurred 48:15 69:10 95:11
 notes 101:4,6,8,11,23 102:3                                               170:24 206:16
                                     147:16 162:9 195:5
 notify 36:17                                                             owned 136:8,12
                                    occurring 218:3
 November 7:6 76:15,17 77:16
                                    October 16:14,17
  78:13,17,21 83:5 116:14                                                                    P
                                    odd 93:10 94:21
 number 5:13 45:20 46:1 54:3
  60:22 101:2,6 112:19,24 113:17    Offender 113:16                       p.m. 14:18 80:1 99:16 158:16
  138:5,12 178:12 183:14 184:2                                             178:6,9 191:14,17 219:1,3
                                    offenders 113:14 115:3
  186:21 187:1,2,10 190:3 202:14                                          packages 14:17
  203:20                            Offense 57:21 58:3
                                                                          packet 183:21
 numbers 113:3 211:1                office 130:10
                                                                          pages 46:22 47:13 178:19
 nurses 147:18                      officer 80:15 81:14 82:8,18 123:1,
                                     3,5 126:13,17 147:10 157:18          pain 147:18



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                     Index: painted–prescription
WILLIAM NEGRON, 09/27/2021                                                                     ·

 painted 168:11,12                     130:11,15,17 148:22 162:4,5          places 62:18
                                       181:17 184:12 185:19
 painting 175:4                                                             Plaine 25:5,6,12 40:8 119:17
                                      percent 199:3 211:21
 pandemic 19:3                                                              plaintiff 5:24 6:11
                                      Perez 185:11
 paper 61:13                                                                Plaintiff's 186:23
                                      perimeter 169:19
 paperworks 102:13                                                          planned 74:8
                                      period 75:3 121:8
 paragraph 57:24 58:5 61:23 63:16                                           planning 65:2
  64:11 65:22                         perjury 106:23
                                                                            play 186:9
 paralegal 44:14                      person 23:23 49:19 53:5 58:15
                                                                            playful 192:8
                                       59:1 68:21,23 69:2 71:6,20,23 73:6
 parents 65:21
                                       96:22 106:24 136:12 176:11 198:1     playing 129:10 157:17
 park 57:10 75:9 93:1,3 115:23
                                      person's 71:3 97:10                   point 42:1 47:13 87:12 127:21
 parked 93:2                                                                 151:10 177:3,4 201:9 215:21 217:2
                                      personal 129:8 217:6
 parole 152:21                                                              pointed 109:22
                                      personally 177:7
 part 32:11,19 58:1 69:8 89:1 94:3                                          pointing 6:4 53:4 214:9,11
                                      persons 23:22
  106:22 109:8 155:16,21 204:21
                                                                            Polaroid 173:11
                                      perspective 82:17
 part-time 13:20
                                                                            Polaroids 175:11
                                      pertaining 20:7 38:13 48:18 78:23
 partially 64:22 129:1
                                       89:6 108:10 125:1 185:6 202:2        police 55:5 80:15 81:14 82:8,18
 participants 126:14                   204:6 205:8 208:15                    98:6 111:4 118:4,10 122:6 123:7,
                                                                             13,15,16,19 125:21 126:12 131:13
 participate 148:23                   petition 105:4
                                                                             157:18 159:2,7 166:10,11,12,18
 participated 60:6                    phone 41:12 88:8,13 89:15,16           167:1,3,5,17 174:5 175:16 176:4
                                       91:16 92:5 96:8 101:6 102:16          204:14 214:5 215:21 216:13
 parties 62:17 108:11                  104:9,17 105:10,19,24 106:13
                                                                            policy 14:12,19 15:5 21:19
 partner 159:23 162:14 164:14          138:5,6,10,12 184:17 200:2,4
  166:6 176:21                         208:15 213:22 215:18                 Polinski 119:19,21,22 120:9
                                                                             198:21
 party 6:4                            phonetic 119:19 141:15
                                                                            polo 163:16
 pass 19:10 20:8 135:7 191:11         photograph 109:19 126:20 175:3
  198:7                                                                     Pontiac 20:17 140:15 141:5,7,11,
                                      photographs 80:17
                                                                             16 142:6,7,22 143:1,5,11,13,20
 passed 14:13 15:4 39:22              physical 30:9 52:14 81:19 146:5,8      156:4,10 180:12 211:7
 passenger 122:17 176:20 214:11,       148:3 149:3 196:24 197:11,24
                                                                            Popeye 110:17
  14
                                      physically 191:22 192:11
                                                                            pornographic 157:23
 passing 176:15                       picked 110:3 121:11 122:17
                                                                            position 153:13
 pattern 150:2                         124:13 199:1
                                                                            possession 102:4
 patting 164:10                       picking 22:6
                                                                            possibly 19:6 47:15 70:24 184:16
 pay 151:20                           picture 171:12 172:1 173:2,22
                                       174:1,5,21 175:1,2,3,7,9             post- 107:2
 PDF 209:11,13
                                      pictures 94:23 167:14 168:18          post-conviction 105:4 107:19
 Pedro 50:2                            171:2,3,5,9,10 173:1,3,13,17,21
                                       175:15
                                                                            precipitated 192:24
 peek 46:23
                                      piece 61:12                           precise 41:22
 Peer 62:11,15
                                      pieces 210:11                         preparation 10:24
 pending 8:5
                                      pissed 95:2                           prepare 11:20
 penitentiary 153:14,16
                                      place 13:15 42:19 75:6 84:7 91:24     prepared 64:12
 people 9:18 27:19,21 36:22 37:19
  39:12 49:20 72:4,16 82:16,20 90:3    108:12 110:2 126:3 140:23 156:8      prescription 10:8
  96:5,23 103:7,10 114:16 120:1        216:24



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                           Index: present–recall
WILLIAM NEGRON, 09/27/2021                                                                     ·

 present 5:8 44:1 92:3 120:12          193:22 194:1
  122:9                                                                                      Q
                                      project 15:20 16:15 17:10,16 18:5
 presentence 55:18 59:2
                                      promised 29:19                       question 8:5,6,8,14,17,22 9:3,8
 pretty 15:22 62:17 63:13 66:14                                             15:2 26:1,4 55:2 59:5 72:3 85:4
                                      pronounce 11:11
  70:22 162:3 198:24                                                        90:7 91:8,17 107:10 124:23 129:15
                                      proof 188:8,17                        153:6 172:8,14,17 174:8,9,13,14,
 prevalent 25:11
                                      prosecution 217:14                    15 175:6 178:18 179:21 187:9,11
 previous 37:20 162:7                                                       190:2
                                      prosecutors 71:19
 primarily 199:6                                                           questioned 131:2
                                      protection 63:15
 Primus 142:15                                                             questioning 7:19 174:2
                                      protective 66:17
 principal 21:18                                                           questions 8:9 10:2,9 48:14 59:9
                                      prove 100:6 154:12                    70:24 72:13,23 88:19 89:18 92:3
 print 44:12,15,24 45:1 188:8,18
                                                                            93:9,19 94:5 98:3,7 128:2,9 134:8
                                      provide 75:20 153:14
 printed 45:18                                                              150:24 198:8,10,15 199:20 208:3
                                      provided 132:4                        209:7 212:20 213:3 216:4
 prior 10:23 11:19 14:24 20:1,13
  59:21 60:13 65:3 80:14 86:4 111:2   PSI 55:23                            quick 46:23 130:18 179:1
  129:1 132:16 203:6 204:14 211:16
  217:8
                                      psychological 148:12                 quit 19:14,15

 prison 12:22 17:4 22:19,22 39:21     public 104:20                        quote 206:24
  57:6,12 102:9 104:15 149:1,4,6,12   Puerto 64:24 65:6,8,18               quotes 57:24 58:6 59:13
  152:11,16 153:2 155:2 211:13
  212:4                               Pulaski 116:20
                                                                                             R
 prisons 154:24                       pull 44:5 55:15 209:15

 privilege 67:9,23 134:9 139:17       pulled 120:1 159:16,21 160:9,11      raise 107:6,17
                                       161:4,10 162:8 163:11 176:18
 privileged 67:16                      213:7 214:8 215:10                  raising 93:20 94:19
 privy 216:24                         pulling 160:14,22                    ran 23:18 89:15 195:14 197:19
 pro 107:2                            punch 193:17,18                      range 14:3 25:4
 probation 111:21                     punch-in 14:16                       rank 31:13,19 32:3
 problem 22:5 59:21 60:3,5 148:20     punched 192:13                       reached 42:2
 problems 13:22 36:1,4,9 38:2         punching 159:24 162:10,14            read 53:16,22 58:8 73:1,3 115:6
  148:12 149:3,12 190:16                                                    178:17 179:12 184:3 188:14,15
                                      purport 49:12
 procedure 98:5                                                            ready 64:19 65:23 66:10 158:18
                                      purposes 6:12                         179:14
 proceedings 68:13 108:11 219:2
                                      pursuit 103:7                        real 35:4 68:14 179:1
 process 49:3 105:1
                                      push 158:8                           realize 49:11 101:16
 processed 127:3 171:11,13,20
                                      pushed 122:13 197:20                 reason 21:24 85:14 100:5 106:18
 produce 211:2                                                              128:20,22 129:19 134:8
                                      pushed-back 122:13
 produced 178:12 179:22 183:15                                             reasons 106:21
  209:20 210:15,17,19                 pushing 65:11 198:1
                                      put 21:18 47:12 54:3 77:24 81:9      reassure 200:9,13
 product 139:17
                                       82:22,24 83:3 94:12 124:10 157:12   recall 21:24 24:22 46:9,11 47:8
 production 16:22 210:1,2,12           167:7,10 185:16 189:20 206:12        49:16,21 52:5 53:4 54:11,12 55:11
                                       213:21 215:4,5,13,14                 66:19,24 68:2 110:6 111:7,14
 productions 183:15 210:22
                                      putting 20:18 22:14 81:1 82:16,20     112:10 115:20 117:17 118:3 119:6,
 program 156:20                                                             8 124:9 125:3 126:20,24 127:1
                                       91:16 201:12
 programs 59:17 60:6,7,16 148:21                                            135:22 141:8 144:1 145:21 148:9
  153:15 155:1,7,9,11,12,16 156:1                                           157:11,16,20 159:4,8 167:19 169:4




Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                               Index: receive–rough
WILLIAM NEGRON, 09/27/2021                                                                        ·

  170:6 175:8,18 180:4 182:18          remaining 155:9                       resulted 216:15
  185:3,23 191:6 193:8 194:22
                                       remember 16:6 17:21 24:2,15           retired 43:11
  215:24
                                        27:23 30:23 31:4 33:5 34:6,22
                                                                             return 103:8 160:3
 receive 212:10                         36:3,7 43:13 47:10 50:23 51:5
                                        54:2,5,16,18 75:7 83:13 85:11 92:9   reveal 34:12 186:11
 received 88:8 147:13 154:3
                                        97:9 100:15,20 110:15 111:23
  212:14,18
                                        113:13,18 114:13 120:3,11 124:20
                                                                             review 10:24 190:3
 receiving 167:10 168:2,6 169:8         126:17 127:21 128:8 136:18 141:6,    Rey 78:7 82:23 83:5 85:23 90:1
                                        10 142:12 146:19 181:7,21 183:1,7     103:22 120:20 201:10 214:18
 recently 12:6 102:4
                                        186:1,4 190:14 191:4 210:12
                                                                             Rey's 75:17 95:24
 recess 45:13 79:23 99:14 158:14       remorseful 58:14
  178:7 191:15                                                               Reynaldo 5:10 73:16,19 76:8,24
                                       remotely 5:8                           77:17 78:12,21 80:5,9,11 81:8,12
 recognized 125:18 197:6
                                                                              82:7 84:1,15,20 85:3,6,10 86:4,5,
                                       removed 62:6
 recollection 47:22 115:7 135:20                                              12 87:3 88:5 91:18 92:6,18,20
                                       renouncing 211:8                       96:17 99:21,23 100:21 104:9,17
 record 5:2,16 6:10 7:1,17 9:23
                                                                              105:10,18 107:7,18 108:2,5,17
  45:9,11,14,20 73:3 79:21,24 99:13,   renunciation 179:24 180:13
                                                                              112:3 121:1,2,8,15,22 122:3
  15 105:1 138:19 158:12,15 178:5,8
                                       repeat 8:10 72:24 109:10 130:6         123:17 128:18 129:17 131:13,17
  188:15 191:13,16 219:1
                                                                              132:18 133:2,16,21 154:8 158:22
                                       rephrase 8:10
 recorded 106:14 107:18,24                                                    203:17
                                       report 55:19 56:21 98:13 113:7
 recording 105:24                                                            Richmond 24:18
                                        114:22,23 117:9 147:7,10,12
 records 210:11                         191:20                               Rico 64:24 65:6,8,18
 recruit 29:3                          reported 44:20 45:19 46:10 52:17      rid 96:6,12 205:10
                                        53:11 216:13
 recruited 27:10                                                             ride 199:23 213:4
                                       reporter 6:16 8:23 49:13 60:19
 recruiting 26:23 27:6                                                       ridiculous 72:3
                                        73:2 109:9,10 112:20,21 116:11
 recruitment 29:2                       140:17,20 187:1 218:12               riding 74:9
 red 207:10 212:12,16                  Reporting 114:1                       ring 35:9 177:19 193:13,15
 reduction 66:20                       reports 216:13,20                     rival 198:2
 reference 5:9                         represent 185:12                      Rivera 177:18
 referring 144:9                       request 20:6                          Roberta 177:18
 refreshes 115:7                       resemblance 207:10                    Roberto 5:9,24 21:5,11 22:12
                                                                              27:16 28:5,7,21 30:16 32:2 33:2
 refused 129:20                        resembled 69:6
                                                                              91:3,9 95:8,22 135:7 144:9
 regular 112:15 171:16,21              reserve 218:10
                                                                             Rockwell 40:23
 relationship 62:17                    reside 10:11
                                                                             Rodriguez 119:3 120:15 124:7
 Relationships 62:11,15                resolved 143:14                        125:2 154:6 177:9

 relative 28:11                        respond 97:18 114:20 187:22           rogatories 189:5
 relatives 144:21                      responding 91:6,8 209:7               roll 173:3
 release 13:15 57:12 143:23 149:1,     response 186:23 187:16                roof 81:23
  6,23 150:16 151:23
                                       responsibilities 150:18,21            room 20:9 49:19,21 89:4 124:21
 released 12:22 13:18 17:4 42:3                                               126:2,9,11,13 127:2,7,20 128:5
                                       responsibility 67:5 150:21
  57:4,5,8 59:11 102:12 138:4                                                 158:1,4 167:7 168:20 169:8,10,12,
  145:23 152:4,11 176:9 180:21         rest 58:12                             16 170:4,8,11,14,17 216:2

 relevance 193:3                       restaurants 16:1                      rooms 127:18
 relevancy 111:17 194:8 196:4          restroom 170:10,12                    rough 151:7




Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                          Index: roughly–small
WILLIAM NEGRON, 09/27/2021                                                                   ·

 roughly 142:10 146:21 176:6         sense 23:21 140:7 169:24           show 60:24 169:17,21 178:11
  182:9 195:2 203:8                                                      183:14 188:12,23 191:20
                                     sentence 66:21 154:4 211:23
 Royals 25:16                         212:3,17                          showed 77:18 109:22
 rules 7:11                          sentenced 140:1                    showing 208:18 214:16
 run 164:16 205:13                   sentences 211:12                   shows 104:6
 running 96:24                       sentencing 140:3 154:10,11         shrugging 7:16
                                      190:12
 Russell 56:19                                                          shut 147:22 156:4,9
                                     separated 203:11
                                                                        side 22:14 57:2 88:24 90:4 96:3
                   S                 September 5:6 14:5,6,11 15:11,15    122:17 159:24 162:10 164:13
                                      47:9 48:2 88:22 92:12,13 99:20     176:20 207:18 214:11,14
 Saez 136:1 177:5                     128:13 143:24 160:24 161:2
                                                                        sidewalk 214:23
 safe 29:15 99:8                     sergeant 98:12 103:6,22 108:5,7,
                                                                        sign 48:24 180:5,10 211:8 218:17
                                      19,24 109:6,20,24 205:16,21,22
 salary 151:18                        206:1 217:4,7                     signature 46:16,19 47:1,13
 San 64:13 65:3,5                                                        179:19,20 180:14 189:3,9
                                     sergeants 110:7,10
 Sara 40:16 93:12 94:16 200:6                                           signature's 46:22 47:5
                                     Sergio 30:24 33:3
 Sarley 68:7,8,10                                                       signatures 47:1
                                     series 18:5 21:16
 sat 167:11 216:19                                                      signing 47:8
                                     Serrano 44:8
 saved 102:14                                                           Silent 51:24
                                     service 77:20
 sawed-off 94:1                                                         similar 164:19 180:5,7,10
                                     set 65:17 189:4,6,8,10,12
 scared 82:12 87:20,24 202:21                                           Simon 25:15
                                     Seth 68:4,5,9
 scene 123:6                                                            simpler 132:23
                                     share 55:17,21 112:18 116:22
 school 20:24 21:5,6 24:10,21 25:1    217:12                            single 183:22
  62:1,5 183:5,7                     shared 101:12                      sir 6:24 10:4,12 15:2 20:24 23:1
 scope 194:8                                                             42:14 45:17 46:2,16 47:8,24 49:11,
                                     sharing 44:13
                                                                         16 50:15 52:7 53:4 54:2 55:11 56:5
 scratch 14:13,14,19                 Shark 52:22                         57:6 58:24 61:4 64:10,17 66:5,8,19
 screen 38:1 44:13 55:17,21 56:6                                         68:12 72:22 73:16 79:14,16 80:3
                                     sheriff's 20:7
  112:18 113:4 114:2 137:12,14                                           81:15 99:18 113:4,11,19 115:3
                                     shifts 147:21                       129:5 139:24 158:18 172:22
 scroll 179:1                                                            174:17 175:6 176:5 178:14 179:11,
                                     shiny 136:2,5                       19 180:15 184:8 187:17,19 190:2,5
 searched 214:21
                                     shirt 163:14,15 165:4               193:7
 seat 90:21,23 159:6 200:15,19
                                     shoebox 80:18                      sit 126:7
 seclude 203:2
                                     shooter 68:15                      sitting 122:18 123:1 201:1
 section 24:15 32:10,19,22 33:13,
  20 34:2,4,7,16 35:12 61:23 62:12   shooting 42:20 48:5 62:20 195:14   situation 115:14
  64:10 98:20 167:10 168:2           shootings 63:5 194:18              size 169:10,11,13,16
 security 156:22 211:12 212:3,8,     short 74:23                        skinny 91:4 163:2
  12,16
                                     shortly 76:14 171:2                sleep 149:17 150:3,5,6
 seek 148:11,14,18
                                     shot 101:7 194:21 195:18,23        sleeping 150:2,11
 segregation 157:12,16
                                     shotgun 94:1,2                     slid 197:20
 semi 147:13,14
                                     shoulder 214:13                    slow 8:10
 send 183:20 184:20 189:5 209:11,
  13                                 shoulders 7:16                     small 137:13 156:10 218:14




Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                            Index: smiled–summary
WILLIAM NEGRON, 09/27/2021                                                                      ·

 smiled 97:23                         sport 164:5                           stayed 155:22
 snide 145:7,8,9                      spot 55:9                             staying 40:20 182:1
 Snoopy 50:17,21                      spots 47:6                            steering 214:12
 snuck 193:9,12                       squad 159:23 214:14                   Steinmetz 183:9
 soap 157:10                          square 126:9                          stem 149:3
 social 61:1 62:21 63:6,7,8,10        staff 147:9 212:7                     step 61:11 176:19 178:3
 socialize 52:3                       staffing 17:24 18:3                   stepchildren 202:18 207:15,23
 socialized 86:22                     stairs 94:18                          stepfather 82:22 207:22
 society 150:18 151:2,7               stamp 56:9 64:9 117:3 210:4           stepped 97:22 176:19
 solid 126:9                          stamped 56:2 61:2 62:13 113:1         steps 65:7 102:20 105:23
 son 80:4 176:1 202:7 203:3           stamps 209:10                         stepson 79:9 80:5 202:8,11,12
 sophomore 21:3,4,7,10 22:11          stand 124:19 169:20                   Stevenson 59:3
  25:2,3,7,9,20 62:1
                                      standing 114:16 115:15,16             sticking 90:21
 sort 103:11 149:15 208:12 210:19      126:16,18 176:21 214:14
                                                                            Stone 142:16
 sought 149:2,7 150:7,10              start 9:3,19 14:15 26:19 33:11
                                                                            stood 95:4 147:20 170:18 197:16
                                       40:13
 Soul 141:19
                                                                            stop 14:10 21:6 35:21,24 36:18
                                      started 11:5 16:13,17 18:8,10,20
 sound 119:10 206:19                                                         72:20 172:12
                                       32:16 36:1,4,8 39:18 64:6 84:10,12
 sounded 171:1                         90:19 93:24 94:19 103:14 149:19,     stopped 36:6,12,15 195:7 213:21
                                       22 150:1 195:14
 sounds 68:10 96:22 116:2 202:13                                            store 145:19
                                      starting 14:16 93:20
 Spanish 41:6 91:5 136:20                                                   story 55:1 78:14 139:2
                                      state 6:24 103:20 123:22 127:23
 Spaulding 119:16                      128:1,4 153:24 187:13
                                                                            street 23:3 75:8 84:19 85:5
                                                                             166:15,16 195:8
 speak 9:1,12 77:16 92:23 97:3        state's 48:2 49:17 103:21 127:22
  125:20 158:24
                                       128:9,20 129:19,20 130:9,19
                                                                            streets 24:18
 speaking 49:17,20 116:17 119:4        131:14 199:11,16                     strike 63:22
  127:22 131:17 190:14
                                      stated 6:6 89:16 124:12 130:12        struck 192:24
 specialist 120:15                     131:4 135:21 206:23 209:1 217:19
                                                                            Student's 61:22
 specialists 120:12                   statement 44:20 45:19 46:10
                                       47:20 48:1 52:17 53:11 54:14 55:5    stuff 76:4 93:23 158:8 210:2
 specific 135:23                       66:5,8                               subpoena 138:21 210:8
 specifically 100:11                  states 5:11 62:4,16,19 65:23          substance 58:16,18,20 59:16,20
 specifics 186:2,4                     129:20                                60:3,9,11 148:19,20 193:21
 speculation 153:9 203:14 211:18      Stateville 20:17 140:15 142:7,8,9,    substances 194:2
  212:6                                21,22 146:17 155:24 181:15
                                                                            suffer 146:4,8 149:11
 speed 15:6                           stating 136:2,13 206:11
                                                                            suffered 148:4 152:2
 spell 7:1                            station 122:23 123:7,17,19 125:21
                                       159:3,7 166:10,12,18 167:1,3,5,16,   suggest 205:20
 spend 41:15                           17,18 169:7 175:16 176:5 214:6       suggested 201:21
 spent 143:4 153:1                     215:22
                                                                            suicide 194:6
 spoke 77:18 99:20,23 102:16,24       statue 175:4
                                                                            suing 181:17
  123:17 131:12 132:8 138:1 180:18,   status 211:8 212:4
  19 182:15 213:13,15                                                       suit 163:24 164:2
                                      stay 81:17,22 131:3
 spoken 216:10 217:7                                                        summary 115:6



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                            Index: summertime–Tony
WILLIAM NEGRON, 09/27/2021                                                                       ·

 summertime 100:23                     teen 150:21                          threatening 81:20 82:12,24 95:1
 support 187:14                        teenager 204:20                      threats 38:7,19,22
 supposed 94:8 96:11 157:7,8           tele- 185:15                         Thursday 119:9
 supposedly 107:17                     telephone 107:24 185:18              tied 208:19 217:23
 surface 39:23                         telling 70:20 79:9 80:23 94:15       tight 35:19 40:5 50:12
                                        106:22 199:14,15
 surrounding 168:11                                                         till 143:24
                                       ten 45:4,6,8,10 158:10
 survived 15:23                                                             time 5:7 8:24 9:18 14:14,16 15:5
                                       tension 39:18                         16:21 24:10 25:1,8 30:14 31:3
 swear 6:16
                                                                             32:15 33:1 40:10,21 41:15 43:8
                                       term 26:13 118:19 156:24
 switching 147:21                                                            44:24 45:15 50:9 51:15 56:17
                                       terminated 156:20                     63:18 64:23 67:7 70:12 75:3 76:8,
 sworn 6:18,21                                                               12 77:14 78:12,13,17,22 79:6,15
                                       testified 6:21 154:9 198:18 199:9     80:1 82:18 83:1,21,23,24 84:11,22
                                        204:12
                  T                                                          85:9,11 86:8,23 87:24 88:11 91:4,
                                       testify 139:21                        23 93:17 95:16 96:8 98:20 99:3,9,
 tackle 197:19                                                               16 100:2 101:22,24 102:1,11,18
                                       testifying 54:3,5 154:16 172:4        104:19 108:21 113:19 120:24
 tactic 129:9                          testimony 9:19 14:24 54:11 60:13      121:5,8,24 122:1,22 124:20 125:4
 tactics 201:22 202:2                   118:8 129:2,22 136:1 139:22          131:20,24 132:2,8 137:24 144:3
                                        153:23 154:1,18                      146:3,7 147:22 149:3,12,19 152:3,
 tag 85:23                                                                   16 153:1,2 155:8 156:2,6,11,14,23
                                       text 41:13                            158:16 160:5,8,15,17,19,20 161:12
 taking 126:3 171:3,9,10 196:21
                                       that'll 9:3                           162:12 165:14 170:19 173:19
  206:19 213:24
                                                                             174:4,19,22 175:18 176:10 180:18
 talk 37:9 39:6 40:1 42:17 67:22       theft 111:10,12,24 113:7 116:15       181:23 182:15 191:17 192:21
  71:10,12 86:24 92:2 93:7 98:11        174:20 175:23                        195:15,17,20 196:5,6 198:6,11
  100:13 103:15 108:18 124:2 128:5,    thefts 118:2                          214:24 215:3
  12,14,19 129:18,20 130:1 133:11
  199:10,11,15,16 205:21 209:2,3       them-knew 136:15                     timeframe 16:3 24:6

 talked 22:4,16 27:4 29:1 30:3         there'll 8:20 9:10                   times 8:20 50:14 51:23 58:12
                                                                             70:13 76:10,11 110:13,21 111:6
  36:21 39:17 77:22 80:19 83:14,24     Theresa 5:19                          118:3 148:18 190:22 194:16 196:1,
  93:3 97:19,20 99:24 100:3 102:17
                                       thing 7:15 8:4 15:24 43:10 49:7,8     2
  122:8 123:20 131:2 133:14 139:10
  140:6 148:17 154:21 162:4 182:17      94:8,10 129:13 200:3,11 201:4       timetable 83:3
  199:20 202:5 208:6                    202:5 204:3
                                                                            tirade 72:11
 talking 11:16 26:14 27:5 28:13        things 7:12 17:1 29:2,18 37:24
  29:13 37:18 65:10 69:6,9,11,17        49:19 69:10,14 75:23,24 76:1 79:8   titled 17:11 179:17
  70:2,5,18 77:23 78:6,14 79:1 80:24    80:4,8,11 81:12,15 83:4,10 84:11    today 5:8 10:5,9 11:6 133:3 150:5
  84:10 88:12 89:5,14,23 90:13          88:14 89:12 90:21 94:21,22 98:1      182:22 187:19
  95:10,17,19,24 96:9 102:17,21         102:14 103:20 104:2,5,6,7 126:7
  103:7,21 104:3 113:11 115:15          130:7 139:3 140:8 149:19,22         toilet 170:14
  119:1,2 124:4 127:10 130:9 131:16     151:6,9,17,21 152:1 154:23 183:21   told 29:19 54:14 55:3 71:14 72:17
  139:4,6 140:7 151:12 162:13           186:7 191:20 210:18 215:6            78:13 81:5,6 84:1 86:7 89:15 90:18
  163:16,19,22 168:7 170:22 172:23     thinking 155:18                       91:7,13 93:7,16 94:3,4,9 95:4,6,21
  175:22 191:5 200:1,2,5 211:1                                               97:8 98:10 123:23 124:1,19 128:5
  215:8                                Thomas 48:4 68:4                      129:7 133:18 136:19 160:11
 tall 161:9 162:24 163:2 166:6         thought 18:8 93:13 118:14 195:9       161:19 164:12 171:1 199:10 206:1
                                        198:20 210:10,17                    toll 38:8,18 150:19 152:6
 taller 164:17
                                       threat 208:13                        Tony 50:24 51:11 77:7,11 80:6,11,
 tap 192:8
                                       threaten 132:1                        13,20 81:1,5,6,9,13 82:6,21 83:5,
 tapped 192:4,5 193:14                                                       17 86:1,17 87:1 92:21 93:2,4 95:1
                                       threatened 80:24 82:21                202:9,10,14 207:18
 taxes 151:15



Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                                Index: Tony's–West
WILLIAM NEGRON, 09/27/2021                                                                       ·

 Tony's 51:5 77:9 202:15                                                  viewing 46:9
                                                        U
 tooth 192:16 193:15                                                      violated 15:5 30:10
 top 56:10 61:14 214:22               uhn-uhn 7:17                        violence 204:1
 torch 191:11 198:7                   ultimately 216:15                   visit 64:6 84:15,19 85:6,17 86:4
                                                                           91:18 93:14
 total 49:6 166:15 203:17 208:18      um-hmm 7:16 56:11 160:21
                                       162:15                             vocational 60:17 148:24
 touch 41:7,24 42:10 180:16 204:11
                                      uncle 192:14 193:1                  voice 8:23 93:20
 Toyota 115:21 116:3,15,16 117:15
 tracks 75:10                         uncomfortable 86:3 201:22
                                       202:22,23                                           W
 tragedy 58:9
                                      underneath 61:23 63:16 163:24
 training 155:21                                                          W-I-L-L-I-A-M 7:2
                                      understand 8:8,11,14 26:4,7 29:4,
 transcript 9:4 49:12 52:16 218:14                                        wait 9:2,6 66:1,12 183:18
                                       5 153:7 193:24
 transformation 39:4                                                      waiting 114:19 170:16
                                      understanding 104:3 136:19
 transitioned 104:15                                                      waive 218:10,15,19,23
                                      understood 8:18
 transitioning 102:8                                                      waived 218:21
                                      unit 144:14
 transported 131:7                                                        walk-in 30:5,8
                                      United 5:11
 Travis 68:4,5,9                                                          walked 93:4 147:18 214:5
                                      unknown 148:1
 treat 202:18                                                             walker 99:6
                                      unpack 105:7
 treatment 58:18,20,21,23 60:10,                                          walking 84:8 98:9 215:4
                                      unrelated 42:24
  11 148:15 149:2,7,9 150:8,11                                            Walmart 17:11
                                      untrue 66:7
 trial 47:18,21 68:6,18 71:23 73:5,                                       Walter 142:14
  10 104:13 132:17 134:1              Updated 61:21
                                                                          Walton 51:1
 tripod 171:19 175:12                 Upper 17:24 18:2
                                                                          wanted 19:7,11 20:6 29:12 53:21
 Troken 120:4,6                       UPS 13:17,24 14:2,10 15:14,17
                                                                           64:22,23 66:1,12 70:23 77:1,2
                                       19:17,18,21
 trouble 157:1                                                             79:1,2,5,6 85:16 93:4,8 98:21
                                      upset 48:14,17,19,21 89:16 128:15    103:6 106:19 144:19 148:22 185:6
 truck 13:7 76:2,4                                                         204:11
                                      upstairs 131:1
 true 53:18 54:21 55:2 58:24 64:17,                                       wanting 66:17 203:1
  22 66:5 191:22 217:4                Urlaub 5:4
                                                                          war 194:13,16
 trust 129:9,11 130:1,8,9,11,16
  218:16                                                V                 wash 160:11,15,23 176:12

 truth 91:14 93:16                                                        Washtenaw 50:24 70:9 84:5
                                      vague 39:10 52:9
 turned 31:3 33:2 176:17 214:12                                           ways 106:23 175:15 217:12
                                      van 195:6
 twist 94:21 208:14                                                       weapon 77:19,20 136:5,9
                                      vary 17:19,20
 two-way 126:5                                                            weapons 69:20 135:4,19,22,24
                                      vehicle 113:7 116:15 136:7 194:23
 type 21:18 29:18 39:23 60:7 96:20     195:4 213:10 214:9                 wear 163:24
  107:13 129:9,12 155:12 157:21       version 57:21 58:2 59:1             wearing 163:18 164:5 165:3
  167:7 175:18 180:13 181:7 188:8,
  17 190:19                           victims' 58:15                      week 49:3

 typed 46:10 47:13 49:12              video 5:2                           weekend 12:14

 typewriter 216:20                    view 80:22                          Wert 49:14

 typing 49:19                         viewed 80:23 125:8                  West 57:10




Urlaub Bowen & Associates, Inc.· 312-781-9586
                                                                         Index: wheel–Zoom
WILLIAM NEGRON, 09/27/2021                                                               ·

 wheel 214:13                        wrongfully 218:4
 when's 84:10 101:22 102:11          wrote 216:12,20
  137:24 180:18 182:15
 whichever 116:18                                     Y
 white 141:17 163:7 165:1 168:11,
  12 212:11                          year 13:13 15:11,16 16:18 21:7
                                      22:11 24:5,10,21 25:2,3,20 28:8
 whoever's 8:9                        62:1 83:13 85:11 146:19 155:10
 wife 12:4 74:16                      182:23 193:4 196:9,15

 wife's 12:17                        years 12:20 25:19 62:19 85:1
                                      139:5 141:6 146:1 189:16 192:18,
 William 5:13 6:2,19 7:2 61:18,24     21 211:21
  62:16 64:12 65:23
                                     yell 131:23
 William's 99:5
                                     yelling 95:8
 Willie 106:6 169:20
                                     YLOD 23:11,13 24:8
 Wiora 120:17
                                     YLODS 23:15,20,24 24:13,16
 witnessed 81:19 206:9 211:19         26:11,18,22
 witnesses 72:5,16 125:8 187:14      young 28:8,10,13,14 48:23 65:20
 wives 203:23                         76:22 77:7 85:20,24 96:19,24
                                      150:20 175:19,21,24 176:1 191:24
 women 204:7                          192:16,17 197:3 204:20
 wondering 15:16 29:18 187:21        younger 182:5,24
 Woody 34:23 35:2
                                                      Z
 Woody's 35:4
 words 185:16                        zip 57:13,14
 work 13:17,18,19 14:2,20 16:12      zone 194:13,16
  17:11 19:9 20:6 112:24 139:17
  145:18                             Zoom 7:13
 worked 13:20 15:19 16:3 17:8
  20:16 38:14 130:17 145:14 218:16
 worker 145:17
 working 14:10 16:13 61:9 130:11
  145:23
 World 13:4,5,11,15 15:12,13,15,17
  19:23
 worry 56:14 124:14 200:6 210:6
  211:5
 worth 6:3 157:24
 would've 154:6
 wow 142:14
 writing 147:11 218:13
 written 29:6 49:2
 wrong 113:21
 wrongful 216:15 217:13



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